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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 STATE OF ILLINOIS,

              Plaintiff,
                                                Case No. 17-cv-6260
       v.
                                                Judge Rebecca R. Pallmeyer
 CITY OF CHICAGO,

              Defendant.


                       INDEPENDENT MONITORING REPORT 9

       The Independent Monitor Margaret A. Hickey and the Independent Monitoring Team
submit the attached Independent Monitoring Report 9.


Dated May 23, 2024                             /s/Margaret A. Hickey
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                               CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that, on May 23, 2024, she caused a true and correct
copy of the foregoing Independent Monitoring Report 9 to be filed electronically with the Court’s
CM/ECF system, which caused an electronic copy of this filing to be served on counsel of record.


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      INDEPENDENT MONITORING REPORT 9
                   (Reporting Period July 1, 2023, through December 31, 2023)




                                                                       May 23, 2024
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     This report, Independent Monitoring Report 9, provides our compli-
     ance assessments for efforts between July and December 2023. As de-
     tailed in this report, the City of Chicago (City) and the Chicago Police
     Department (CPD) increased compliance in various sections of the Con-
     sent Decree in those six months. Separate from the immediate compli-
     ance levels, however, the City and the CPD made earnest progress to-
     ward addressing issues that are instrumental to sustained compliance
     and long-term success. In our last report, we highlighted that there
     have been challenges that have caused disproportionate delays since
     the beginning of the Consent Decree. These challenges include delays
     developing a comprehensive, consistent, and transparent community         Monitor Maggie Hickey
     policing strategy and a transparent and data-driven staffing study to
     best allocate and prioritize personnel and resources. In the ninth reporting period, the City
     and the CPD made incremental progress toward both. While these efforts are ongoing—and
     will take time to affect change—many of the outcomes intended by the Consent Decree can-
     not be efficiently achieved without them.
     In our last report, we also emphasized the need for the CPD and the then-new Superintendent
     to prioritize transparency. And in late 2023, the CPD released a long-awaited update to its Body
     Worn Cameras policy. While important aspects of this policy are being litigated between the
     City and the Office of the Illinois Attorney General (OAG), the City, the CPD, the OAG, and the
     Independent Monitoring Team (IMT) agree that the new policy is an improvement over the
     older, pre-Consent Decree version of the policy.
     The new Body Worn Cameras policy should, among other things, help address lingering prob-
     lems with officers failing to appropriately record interactions. In the latest CPD Tactical Review
     and Evaluation Division (TRED) Report, 2023 Midyear Report (December 28, 2023), for exam-
     ple, TRED found that the most common issue warranting a debriefing continued to be body-
     worn-camera compliance, including late activation. The new policy—combined with new ef-
     forts for progressive discipline—should better ensure that interactions with police are appro-
     priately recorded. This will greatly improve any subsequent reviews or investigations by detec-
     tives, supervisors, TRED, the Bureau of Internal Affairs (BIA), the Civilian Office of Police Ac-
     countability (COPA), the Inspector General, the IMT, and the public.
     Further, since the beginning of the ninth reporting period, the City, the CPD, the OAG, and the
     IMT have worked to improve cooperation and streamline compliance efforts with critical Con-
                                 sent Decree requirements. In preparation for the 2024 Democratic
                                 National Convention, for example, the City, the CPD, the OAG, and
                                 the IMT have worked diligently to expedite updates to policies, re-
                                 porting procedures, and training. This includes addressing lessons
                                 learned from the IMT’s Special Report regarding the City’s and the
                                 CPD’s responses to protest and unrest in 2020, such as the need for
                                 significant improvements to on-scene communications, consistent
                                 supervision, improved use-of-force reporting, body-worn-camera
                                 compliance, and officer-wellness preparations. Currently, with guid-
                                 ance from the Court, the City, the CPD, the OAG, and the Coalition
                                 are working through relevant policies to ensure the CPD protects First
       Chief Rodney Monroe, Ret.
                                 Amendment rights and addresses other community concerns.
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     Other recent events in 2024 underscore the need to build on progress made in the ninth re-
     porting period. First, the City, the CPD, the OAG, and the Coalition worked throughout 2023 to
     improve the CPD’s search-warrant policy and practices. While the Parties and the Coalition
     ultimately reached impasse on seven issues, they reached agreement on at least 13 issues,
     including changes to avoid, mitigate, and repair harm and to provide additional protections
     for children and other vulnerable people. This month, the Court ruled on the issues at impasse,
     and we hope that the CPD will implement the updated policy and provide corresponding train-
     ing as soon as possible.
     Second, in late 2023, the Court, the IMT, the City, the CPD, and the OAG heard from community
     members and stakeholders regarding whether traffic stops should be added to the Consent
     Decree. This year, in 2024, a traffic stop led to the shooting of a CPD officer, the fatal shooting
     of Dexter Reed, and national discussions regarding the appropriate role of traffic stops.1 After
     the Superintendent made public statements in favor of adding traffic stops to the Consent
     Decree, we renewed our recommendation that the City and the OAG pursue an agreement on
     specific policy, training, and implementation requirements. As a result, they are seeking addi-
     tional community input during a public hearing next month on what specific traffic-stop-re-
     lated requirements should be added to the Consent Decree. We hope that the City, the CPD,
     and the OAG utilize this feedback—along with national best practices and expertise—to pro-
     vide the oversight necessary to ensure that the CPD optimizes its policies and practices and,
     ultimately, improves community interactions, trust, and safety.
     Finally, through all developments, delays, and lapses, Chicago officers continue to face dangers
     to their physical, psychological, and emotional health—before, during, and after their shifts.
     Every year, Chicago is reminded that officers are exposed “to significant danger, high stress,
     and a wide range of human tragedy” (Consent Decree ¶377). In April of this year, Officer Luis
     Huesca was tragically killed returning home from his shift in uniform.2 Just a year ago, Officer
     Aréanah Preston was murdered in similar circumstances. In the last two months, Chicago has
     lost two officers to suicide.
     In the coming months, Chicago will ask its officers to serve and protect
     during summer deployments in response to holidays and potential
     crime spikes, during First Amendment activities and other large gather-
     ings, and during the Democratic National Convention. As we have pre-
     viously reported, we often see the City lose or slow progress during sig-
     nificant summer demands. As the City and the CPD work to meet the
     unique challenges in 2024, we urge them to not lose focus on making
     deliberate progress on the Consent Decree, including the implementa-
     tion of the Suicide Prevention Initiative and other critical efforts to en-
     sure its officers are sufficiently equipped and supported to effectively
     and constitutionally protect and serve all Chicago communities.                 Dr. Theron Bowman




     1
         This incident also highlighted, for example, the City and the CPD’s ongoing efforts to update
         its Firearm Discharge Incidents - Authorized Use and Post-Discharge Administrative Procedures
         policy (G03-06) to comply with the Consent Decree.
     2
         Earlier this month, the CPD and the Cook County State’s Attorney’s Office announced first-
         degree murder charges.
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                        Monitoring Under the Consent Decree
  In August 2017, the Office of the Illinois Attorney General (OAG) sued the City of Chicago
  (City) in federal court regarding civil rights abuses by the Chicago Police Department (CPD).
  The lawsuit led to a Consent Decree, effective March 1, 2019.3 The same day, the federal
  court appointed Maggie Hickey as the Independent Monitor. Ms. Hickey leads the Inde-
  pendent Monitoring Team, which monitors the City of Chicago’s progress in meeting the
  Consent Decree’s requirements.

  Paragraph 2 of the Consent Decree sets out its overall purpose, which has guided and will
  continue to guide our monitoring efforts:

            2. The State, the City, and the Chicago Police Department . . . are committed to consti-
            tutional and effective law enforcement. In furtherance of this commitment, the Parties
            enter into this Agreement to ensure that the City and CPD deliver services in a manner
            that fully complies with the Constitution and laws of the United States and the State of
            Illinois, respects the rights of the people of Chicago, builds trust between officers and
            the communities they serve, and promotes community and officer safety. In addition,
            this Agreement seeks to ensure that Chicago police officers are provided with the train-
            ing, resources, and support they need to perform their jobs professionally and safely.
            This Agreement requires changes in the areas of community policing; impartial polic-
            ing; crisis intervention; use of force; recruitment, hiring, and promotions; training; su-
            pervision; officer wellness and support; accountability and transparency; and data col-
            lection, analysis, and management.4




  3
      For more information on the Consent Decree, see the Background section below. More information is
      also available on the Independent Monitoring Team’s website (cpdmonitoringteam.com/) and on the
      Illinois Attorney General Office’s Consent Decree website (chicagopoliceconsentdecree.org/about/).
  4
      We cite the relevant paragraphs of the Consent Decree throughout this Independent Monitoring Re-
      port. The Consent Decree is available on the Independent Monitoring Team’s website: cpdmonitoring-
      team.com/wp-content/uploads/2020/08/FINAL-CONSENT-DECREE-SIGNED-BY-JUDGE-DOW.pdf. See
      also Resources, CHICAGO POLICE CONSENT DECREE (“Consent Decree Approved by the Court on January 31,
      2019”), chicagopoliceconsentdecree.org/resources/.
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     Executive Summary
     As the Independent Monitoring Team (IMT), we assess the City of Chicago’s (City’s)
     compliance with the requirements of the Consent Decree. Specifically, we assess
     how relevant City entities—including the Chicago Police Department (CPD); the
     Civilian Office of Police Accountability (COPA); the Chicago Police Board; the City
     Office of Inspector General, the Deputy Inspector General for Public Safety (Dep-
     uty PSIG); and the Office of Emergency Management and Communications
     (OEMC)—are complying with the Consent Decree.5

     This is Independent Monitoring Report 9.6 As in previous monitoring reports, this
     is an update to the Court and the public on compliance efforts during the ninth
     reporting period: from July 1, 2023, through December 31, 2023.7 Among other
     things required by the Consent Decree, this report also includes the following:

     •   an updated compliance or status assessment from the previous reporting pe-
         riod;
     •   a summary of the principal achievements and challenges facing the City’s com-
         pliance with the Consent Decree; and
     •   an updated projection of upcoming work for the City, the Office of the Illinois
         Attorney General (OAG), and the IMT. See ¶661.8

     5
         As a party to the Consent Decree, the City is ultimately responsible for compliance. See ¶720.
         Unless otherwise specified, our references to the City typically include its relevant entities. See
         ¶736.
     6
         We provided a draft of this report to the City and the OAG on January 30, 2024, as required by
         ¶¶661–65. The City and the OAG provided initial feedback on February 23 and February 20,
         respectively. We provided a second draft of the report on March 19, 2024, and subsequent
         revisions on April 30 and May 7. The City and the OAG provided the attached final comments
         on May 13, 2024.
     7
         The Consent Decree generally prevents the IMT from making any public statements or issuing
         findings regarding any non-public information or materials outside of these reports (see ¶672).
         Because the Consent Decree will be in effect for a minimum of eight years, this is the ninth of
         at least 16 semiannual Independent Monitoring Reports. See Stipulation Regarding Search
         Warrants, Consent Decree Timelines, and the Procedure for “Full and Effective Compliance,”
         Illinois v. Chicago, Case No. 17-cv-6260 (March 25, 2022), https://cpdmonitoring-
         team.com/wp-content/uploads/2022/03/2022.03.25-Stipulation-Regarding-Search-War-
         rants-Consent-Decree-Timelin.._.pdf. Each year, we file a Monitoring Plan that sets out what
         we will assess during the year, and we file two semiannual Independent Monitoring Reports.
         The Independent Monitoring Plans and Reports are available on the IMT’s website. See Reports
         and Resources, https://cpdmonitoringteam.com/reports-and-resources/.
     8
         In August 2023, we filed the Monitoring Plan for Year Five, which outlined the projected mon-
         itoring efforts under the Consent Decree for Year Five (July 1, 2023, through June 30, 2024).
         The IMT’s Monitoring Plan for Year Five is available on the IMT’s website. See Reports, INDE-
         PENDENT MONITORING TEAM (August 21, 2023), https://cpdmonitoringteam.com/wp-content/up-
         loads/2023/08/2023.08.21-Monitoring-Plan-for-Year-5-filed.pdf. The Monitoring Plan for Year
         six is included in the Conclusion section of this report.


                                                       1
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      Per ¶661 of the Consent Decree, the IMT will issue semiannual reports until the
      Consent Decree ends—which is after the City has achieved full and effective com-
      pliance for each requirement for one to two years. See ¶¶693 and 714–15. With
      the agreement of the Parties, this report, Independent Monitoring Report 9, is an
      attempt to streamline the reporting process. The appendices for Independent
      Monitoring Report 9 include only paragraphs where (1) the City has achieved ad-
      ditional levels of compliance, (2) the City has failed to maintain compliance, or
      (3) the IMT is highlighting particular progress or lack of progress toward full and
      effective compliance. We look forward to feedback from the public and the Parties
      about how to further refine our reporting processes.

      This report represents a six-month assessment of the City’s compliance efforts
      from July 1, 2023, through December 31, 2023. It does not reflect all the efforts of
      the City, the CPD, or the other relevant City entities to date. While we report on
      the compliance efforts within defined reporting periods (see ¶661), we stress that
      work is ongoing by the City, its relevant entities, the OAG, the IMT, and Chicago’s
      communities. In many cases, relevant City entities have continued to develop pol-
      icies and train personnel after December 31, 2023, and before the date we submit
      this report. In this report, we have not assessed efforts made after December 31,
      2023. We will do so in the monitoring report for the tenth reporting period (Janu-
      ary 1, 2024, through June 30, 2024).

      Under the Consent Decree, the City, the CPD, or other relevant entities are not in
      compliance with any of the requirements of the Consent Decree until the IMT de-
      termines that the City provided sufficient proof that the City, the CPD, or other
      relevant entities are in compliance. See ¶720. Even if the City has made significant
      efforts toward complying with a requirement—which in some cases it has—the
      City still has the additional burden of providing sufficient proof of its efforts with
      sufficient time for the IMT and the OAG to review the information.

      We assess compliance at three levels: (1) Preliminary, (2) Secondary, and (3) Full.
      The Consent Decree requires the City and its entities to reach Full compliance and
      maintain that compliance for one to two years. See ¶¶714–15. These compliance
      levels allow us to share our assessments of the City’s progress throughout the du-
      ration of the Consent Decree. Typically, these levels correspond with whether the
      City or its relevant entities have (1) created a compliant policy, (2) adequately
      trained personnel on that policy, and (3) successfully implemented the reform in
      practice. There are, however, many paragraphs that do not include policy or train-
      ing elements. In those circumstances, the three levels may follow a different tra-
      jectory, such as (1) whether the City or its relevant entities have established the
      framework and resources to achieve the reform, (2) whether the City or its rele-
      vant entities have effectively communicated the reform to relevant personnel, and
      (3) whether the City or its relevant entities have appropriately implemented the
      reform. Because of the nuances of each Consent Decree requirement and each


                                                2
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      level of compliance, the City and its relevant entities must—in a timely manner—
      provide the IMT with evidence, including access to personnel, records, facilities,
      and data to establish that they have achieved each level of compliance during the
      applicable reporting period.9

      At the end of the ninth reporting period, we assessed 555 paragraphs and provided
      status updates for 37 additional paragraphs (589 paragraphs total).10 The City and
      the CPD remain in Preliminary compliance with about 46% of monitorable para-
      graphs to date, in Secondary compliance with about 35%, and in Full compliance
      with about 7% (up from about 6% in the eighth reporting period). Overall, the City
      and the CPD have achieved some level of compliance with about 89% of mon-
      itorable paragraphs (up from about 85% in the eighth reporting period).




      The current compliance level for each paragraph is reflected in Appendix 12 (All
      Compliance Levels, By Paragraph).




      9
           Some requirements in the Consent Decree demand more effort to comply with than others.
           The number of requirements—and the amount of work necessary under each requirement—
           can vary substantially within each paragraph and topic area.
      10
           In addition to the original monitorable paragraphs, this now includes three new paragraphs
           this reporting period from the Stipulation regarding Investigatory Stops, Protective Pat-Downs,
           and Enforcement of Loitering Ordinances.


                                                       3
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      For ease of comparison, the Compliance chart from Independent Monitoring Re-
      port 8 is included below.




      Major Developments and Principal Achievements and
      Challenges Impacting Compliance
      In the Consent Decree, the City committed “to ensuring that police services are
      delivered to all of the people of Chicago in a manner that fully complies with the
      Constitution and laws of the United States and the State of Illinois, respects the
      rights of all of the people of Chicago, builds trust between officers and the com-
      munities they serve, and promotes community and officer safety.” The City also
      committed “to providing CPD members with the resources and support they need,
      including improved training, supervision, and wellness resources.” ¶6.

      Executive Summary Figure 1, below, provides a sample of principal achievements
      and challenges across the 10 topic areas of the Consent Decree.




                                              4
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                       Executive Summary Figure 1.            Sample of Principal Achievements & Challenges
Section                         Sample of Principal Achievements                           Sample of Principal Challenges

                        •   The City and the CPD updated the School Resource      •   The City and the CPD have stalled in their efforts
    Policing
 Community



                            Officers And Investigations At Chicago Public             to expand the modalities of the public aware-
                            Schools policy (S04-01-02) on October 27, 2023, to        ness campaign to ensure a larger audience sees
                            include revisions from the Illinois Law Enforce-          the content and to assess campaign metrics to
                            ment Training and Standards Board (ILETSB) re-            determine its effectiveness.
                            garding the School Resource program and public        •   The City and the CPD failed to conduct inspec-
                            comments. Additionally, language was added re-            tions on an annual basis to document, track, and
                            garding community engagement and public re-               verify the completion of annual inspections of
                            sponse.                                                   required.
                        •   The City and the CPD finalized the Crime Victim       •   The City and CPD struggle to show the effective-
                            And Witness Assistance policy (S02-01-03) on No-          ness of training in reinforcing community polic-
                            vember 7, 2023.                                           ing concepts and further application of these
                        •   The City and the CPD finalized the Interactions           concepts in CPD officer practices per ¶37.
                            with Youth and Children policy (G02-05) on De-
                            cember 29, 2023.

                        •   The City and the CPD began delivering the Fair and    •   The City and the CPD have struggled to measure
  Policing
 Impartial




                            Impartial Policing training to CPD personnel.             and document improvements in officers’ street-
                        •   The City and the CPD expanded the Domestic Vio-           level behavior and decision-making to prevent
                            lence Assessment Pilot Program into the 10th Dis-         bias-based policing, which is a barrier to achiev-
                            trict and revised the Domestic Incident Notice            ing Full compliance in most paragraphs under
                            (G04-04-02) policy, which outlines the procedures         the Impartial Policing section.
                            to provide the Domestic Incident Notice to victims    •   The City and the CPD continue to identify the
                            of domestic violence. The revision also included          universe of policies (¶53) and trainings (¶72)
                            the introduction of check boxes to identify the in-       that must be reviewed and, as necessary, revised
                            formation officers explain to victims. All relevant       to ensure non-biased policing in all spontaneous
                            forms were updated and are available online in            and routine law enforcement decisions. The City
                            the Department Directives system in six lan-              and the CPD have not developed a plan to col-
                            guages.                                                   lect, manage, and analyze data based on these
                                                                                      routine and spontaneous law enforcement deci-
                                                                                      sions.

                        • Both the CPD and the OEMC have significantly im-        • Insufficient staffing in the Crisis Intervention Unit
        Crisis
 Intervention




                          proved their policy review process, and the OEMC          has undermined the CPD’s ability to achieve and
                          finalized its standard operating procedure 23-005,        maintain compliance.
                          Mental Health Training.                                 • The Chicago Council on Mental Health Equity
                        • The CPD also produced comprehensive training rec-         (CCMHE) continues to face challenges regarding
                          ords for crisis-intervention-related training for all     attendance and engagement.
                          officers and continued to provide its eight-hour Cri-
                          sis Intervention training.

                        •   The CPD gained compliance with several require- •         TRED’s responsibilities continue to surpass its re-
        Use of Force




                            ments by continuing to review and implement key           sources, which continues to negatively impact its
                            policy and training efforts and analyze data and          operations and a significant backlog remains.
                            ensure officers are adhering to policy.                   More responsibility should be place in district-
                        •   The CPD finalized the Body Worn Cameras policy            and unit-level supervisors.
                            (S03-14) on December 29, 2023.




                                                                      5
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  Section                                      Sample of Principal Achievements                       Sample of Principal Challenges

                                        • The City and the CPD continues to maintain compli- •   The CPD must provide data sufficient to deter-
 Promotions
    Hiring &
Recruitment,



                                          ance levels with most paragraphs.                      mine if they are collecting, tracking, and main-
                                        • The City and the CPD’s efforts this reporting period   taining data about hiring and promotional ex-
                                          focused on improving promotional processes,            ams, as required by ¶256.
                                          which will strengthen compliance with Consent De-
                                          cree requirements

                                        • The City and the CPD announced that additional •       The City and the CPD need to further develop
        Training




                                          Field Training Officers (FTO) positions would be al-   and ensure that evaluations are optimally used
                                          lotted in 2024, thereby addressing the previous sig-   and applied to improved training content, in-
                                          nificant deficits of FTOs.                             struction, delivery, and outcomes.

                                        • The CPD expanded the Unity of Command and Span •       Staffing shortages prevented the Unity of Com-
        Supervision




                                          of Control Pilot Program to include three total dis-   mand and Span of Control Pilot Program district
                                          tricts under the staffing model established in Janu-   from consistently meeting the 10-to-1 officer-to-
                                          ary 2023.                                              supervisor ratio required for all districts by ¶360.


                                        • The CPD held their annual Peer Support meeting, •      The CPD was unable to identify the entirety of
        Officer Wellness & Support




                                          and provided refresher training for Peer Support       the CPD members who are involved in traumatic
                                          members.                                               incidents, appropriately refer them to the TISMP,
                                        • The Audit Division produced the second annual          and ensure completion of the TISMP before re-
                                          Traumatic Incident Stress Management Program           turning to duty.
                                          (TISMP) Audit.                                   •     The CPD temporarily paused the Voluntary An-
                                        • The CPD produced a draft policy, U05-02, Depart-       nual Wellness Check-In program due to inade-
                                          ment Equipment and Property Control System.            quate scheduling software, caseload manage-
                                                                                                 ment, and inability to externally refer.
                                                                                            •    The CPD spent significant effort on the Needs As-
                                                                                                 sessment and Officer Wellness Support Plan
                                                                                                 without ensuring their efforts met Consent De-
                                                                                                 cree requirements.

                                        • COPA’s People’s Academy conducted its second co- •     Many Accountability Sergeants continue to have
        Accountability & Transparency




                                          hort of the Academy, which continued to be an ef-      other responsibilities that significantly compete
                                          fective and valuable means of interacting and in-      with their Accountability Sergeant duties, which
                                          creasing transparency.                                 should be their primary responsibility.
                                        • The Police Board continued to demonstrate com-
                                          mitment to compliance with Consent Decree re-
                                          quirements.
                                        • The CPD developed, implemented, and trained 95%
                                          of BIA Personnel, BIA Investigators, and Accounta-
                                          bility Sergeants on six Modules of training relevant
                                          to numerous Consent Decree paragraphs, signifi-
                                          cantly increasing compliance levels.




                                                                                  6
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   Section                Sample of Principal Achievements                           Sample of Principal Challenges

                   •   The City and the CPD have taken steps toward          •   The City and the CPD lost levels of compliance
  Management
     Analysis &
Data Collection,



                       compliance by hiring an outside vendor to con-            with ¶570, which requires the Civilian Office of
                       duct a citywide and district-level data analysis of       Police Accountability (COPA) to have access to
                       use of force (¶¶572–73).                                  CPD documents and reports when investigating
                   •   The CPD regained Preliminary and Secondary                misconduct complaints related to reportable use
                       compliance with ¶581 by making data from the              of force.
                       CPD’s Use of Force Dashboard downloadable for         •   The CPD has struggled to incorporate decision-
                       the public again, allowing for any interested com-        point analysis into Force Review Board practices.
                       munity member to access the dashboard’s data
                       and conduct independent analysis.
                   •   The City and the CPD made substantial progress in
                       their efforts to streamline data collection pro-
                       cesses and ensure reliable data is collected.
                   •   The City and the CPD provided a final assessment
                       report (¶606) that will be used to inform the de-
                       velopment of a Data Systems Plan (¶607).
                   •   The CPD updated the process for receiving public
                       comments on the use-of-force dashboard and as-
                       signing corresponding responsibilities within
                       TRED.




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      Roadmap
      We wrote this report to be as accessible and readable as possible. This report is
      long because the compliance efforts in the ninth reporting period required signif-
      icant attention, but we have endeavored to streamline the details of our compli-
      ance determinations; only paragraphs with requirements that have gained or lost
      levels of compliance are included in this report’s appendices. All other paragraph
      requirements and compliance levels can be found on a detailed chart on our web-
      site. As the IMT continues to move forward with its monitoring efforts and as we
      assess the City’s requirements with appropriate detail, the monitoring reports may
      also continue to grow in length. For this reason, we have provided the following
      roadmap to help readers understand what they can expect from each section of
      this report.

      We begin this report with a Background section that provides some historical con-
      text about the Consent Decree and the IMT. This section will help those who have
      not read or would like to reacquaint themselves with the background information
      from our previous reports and Monitoring Plans.

      The next section, Compliance Activities and Assessments, provides the following
      information regarding the ninth reporting period:

      ❖   An overview of the IMT’s assessment process and priorities for the ninth re-
          porting period, including deadlines and status updates;

      ❖   A summary of the IMT’s activities; and

      ❖   A summary of relevant compliance efforts for each topic of the Consent De-
          cree; and

      Per ¶661, the appendices detail the IMT’s compliance assessments for every mon-
      itorable paragraph for which the City gained compliance, the City lost compliance,
      or the IMT is highlighting for significant progress or lack of progress. (All original
      monitorable paragraphs were under review in the ninth reporting period and more
      information for each paragraph, including history and current compliance levels,
      are available in Comprehensive Assessment Part I (November 11, 2023).

      Finally, the last section, Conclusion, Monitoring Plan for Year Six, and Looking
      Ahead to Comprehensive Assessment Part II and Independent Monitoring Re-
      port 10 provides concluding remarks and a projection of the upcoming work in the
      tenth reporting period.




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      Background
      The Chicago Police Consent Decree
      In December 2015, the U.S. Attorney General launched a civil-rights investigation
      into the CPD’s policing practices. The U.S. Department of Justice released the re-
      sults of its investigation in January 2017, finding a longstanding, pervasive “pattern
      or practice” of civil rights abuses by the CPD. Two separate class-action lawsuits
      followed: Campbell v. City of Chicago and Communities United v. City of Chicago.11

      In August 2017, the Office of the Illinois Attorney General (OAG) sued the City in
      federal court, seeking a Consent Decree that would address the DOJ’s findings and
      recommendations. The case was assigned to federal Judge Robert M. Dow, Jr. The
      OAG then sought input from community members and Chicago police officers and
      negotiated the Consent Decree with the City.

      In March 2018, the Parties to the Consent Decree (the OAG and the City) entered
      into a Memorandum of Agreement with a “broad-based community coalition com-
      mitted to monitoring, enforcing, and educating the community about the Consent
      Decree (‘the Coalition’),” which “includes the plaintiffs in the Campbell and Com-
      munities United lawsuits.”12

      The OAG and the City then sought proposals for an independent monitoring team
      after posting a draft Consent Decree on the Chicago Police Consent Decree web-
      site. Judge Dow approved and signed a modified version of the Consent Decree on
      January 31, 2019. This Consent Decree provides a unique opportunity for feedback
      from Chicago communities and local stakeholders. The OAG oversees and enforces
      the Consent Decree. See ¶694. The Coalition has certain enforcement rights and
      meets with the independent monitoring team at least quarterly. See ¶¶709(a) and
      ¶669, respectively.13

      The Consent Decree requires action by the CPD and many other City entities. On
      March 1, 2019, the effective date of the Consent Decree, and after a competitive
      selection process, Judge Dow appointed Maggie Hickey, a partner at ArentFox

      11
           See Campbell v. Chicago, N.D. Ill. Case No. 17-cv-4467 (June 14, 2017), and Communities United
           v. Chicago, N.D. Ill. Case No. 17-cv-7151 (October 4, 2017).
      12
           See Memorandum of Agreement Between the Office of the Illinois Attorney General and the
           City of Chicago and Campbell v. City of Chicago Plaintiffs and Communities United v. City of
           Chicago Plaintiffs (March 20, 2018), http://chicagopoliceconsentdecree.org/wp-content/up-
           loads/2019/05/Executed_MOA.pdf.
      13
           See also Memorandum of Agreement Between the Office of the Illinois Attorney General and
           the City of Chicago and Campbell v. City of Chicago Plaintiffs and Communities United v. City
           of Chicago Plaintiffs, ¶9 (March 20, 2018), http://chicagopoliceconsentdecree.org/wp-con-
           tent/uploads/2019/05/Executed_MOA.pdf.


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      Schiff LLP, as the Independent Monitor.14 On October 11, 2022, Chief US District
      Judge of the District Court for the Northern District of Illinois Rebecca R. Pallmeyer
      became the presiding judge over the Consent Decree. As the Independent Moni-
      tor, Ms. Hickey oversees the Independent Monitoring Team (IMT) and reports di-
      rectly to Chief Judge Pallmeyer.

      As the IMT, we (1) monitor the City’s, the CPD’s, and other relevant City entities’
      progress in meeting the Consent Decree’s requirements and (2) offer assistance to
      the City, the CPD, and other relevant City entities to implement the changes that
      the Consent Decree requires.

      Independent Monitor Maggie Hickey and Deputy Monitor Chief Rodney Monroe,
      Ret., lead the IMT. The IMT’s ten Associate Monitors, in turn, oversee the 11 topic
      areas of the Consent Decree. Our legal team, analysts, subject matter experts,
      Community Engagement Team, and community survey staff provide support in
      several ways: by reaching out to and engaging with Chicago communities; by
      providing general administrative support; and by collecting and analyzing policies,
      procedures, laws, and data, including conducting observations and interviews, and
      drafting reports.

                                                    ***

      More information about the Independent Monitoring Team is available on our
      website: www.cpdmonitoringteam.com. Community members can reach out to
      the entire IMT via email: contact@cpdmonitoringteam.com.15 Community mem-
      bers can also contact individual members of our Community Engagement Team:

      •    Joe Hoereth (Joe.Hoereth@cpdmonitoringteam.com), and
      •    Laura McElroy (Laura.McElroy@cpdmonitoringteam.com)
      •    Steve Rickman (Stephen.Rickman@cpdmonitoringteam.com)
      •    Denise Rodriguez (Denise.Rodriguez@cpdmonitoringteam.com)




      14
           Judge Dow also appointed Judge David H. Coar, Ret., as a special master. As special master,
           Judge Coar is not a member of the IMT, but he will “help facilitate dialogue and assist the
           [OAG], the City, and other stakeholders in resolving issues that could delay progress toward
           implementation of the consent decree.” About, CHICAGO POLICE CONSENT DECREE, http://chica-
           gopoliceconsentdecree.org/about/. As the special master, Judge Coar also reports directly to
           Judge Pallmeyer.
      15
           Learn more at the Contact Us page on our website (https://cpdmonitoringteam.com/contact-
           us/).


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      Compliance Activities and Assessments
      This section provides an overview of compliance efforts for the ninth reporting
      period. We begin by explaining our priorities for the ninth reporting period that
      we described in our Monitoring Plan for Year Five. We include an overview of the
      assessment process and the deadlines within the ninth reporting period. We then
      provide summaries for the period, including summaries of our activities and of the
      City’s achievements and challenges. Finally, we summarize the relevant compli-
      ance efforts for each topic area of the Consent Decree; provide a more specific
      analysis for Consent Decree paragraphs that have either gained or lost levels of
      compliance; and summarize status updates for other paragraphs.

      The IMT’s Methodologies during the Reporting Period
      While most of this report addresses the City’s efforts to meet the Consent Decree’s
      requirements, the following subsection details the IMT’s methodologies and activ-
      ities in the ninth reporting period (July 1, 2023, through December 31, 2023).

      In the ninth reporting period, we continued to meet regularly with representatives
      from the City, the City’s relevant entities, the OAG, and members of Chicago’s com-
      munities, including members of the Coalition (see ¶669). This included regular
      meetings with the CPD and the Superintendent (see ¶668), settlement confer-
      ences, public status hearings, and site visits (see ¶681).

      At the beginning of the Consent Decree process, the City; the CPD; COPA; the Chi-
      cago Police Board; the City Office of Inspector General, including the Deputy In-
      spector General for Public Safety (Deputy PSIG); and the Office of Emergency Man-
      agement and Communications (OEMC) worked to create open lines of communi-
      cations.

      Building on the efforts made in the previous reporting periods, communications
      continued throughout the ninth reporting period. This included regularly sched-
      uled meetings (see, e.g., ¶¶668–69), including regular meetings for each Consent
      Decree topic area. Specifically, we met consistently with, among others, members
      of the CPD, COPA, the Police Board, and the OEMC, and reviewed thousands of
      City documents.16

      Some of our conversations involved discussing our methodologies for assessing
      the City’s compliance with the Consent Decree. See, e.g., ¶655. For the IMT, these
      discussions highlighted the importance of maintaining flexibility in our methodol-


      16
           The OAG has engaged in much of the same work and provided separate feedback to the City
           and the CPD.


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      ogies throughout the monitoring process. This flexibility ensures that our monitor-
      ing efforts continue to meet the letter and spirit of the Consent Decree, as the
      Parties and the IMT develop necessary information, learn from previous efforts,
      and identify unanticipated hurdles. See, e.g., ¶717. Changed circumstances may
      require the IMT to consider fewer, more, or alternative sources of information. As
      a result, our methodologies may adjust based on ongoing consultation with the
      Parties, as we continue to identify and consider new information and data that is
      relevant to the Consent Decree. We endeavor to supplement our methodologies
      with additional specificity throughout this report. During this reporting period, like
      all prior reporting periods, the IMT discussed the methodologies with the Parties
      before implementation and prior to conducting its audits and reviews for this re-
      port, acknowledging their concerns, and making adjustments for clarity.

      Finally, in addition to making these efforts, the IMT continued to adhere to several
      specific and ongoing requirements of the Consent Decree. Background Figure 1,
      below, summarizes our compliance with the Consent Decree’s deadlines for the
      IMT in the ninth reporting period.

      Background Figure 1:                        IMT Deadlines in the Ninth Reporting Period

                                                                                  Ninth Reporting
            ¶s              Requirement                      Deadline             Period Deadlines
                        Review of CPD Policies               Various,             Corresponds with
          627–37
                           and Procedures                    Ongoing               policy deadlines
                   Review of Implementation Plans            Various,           Corresponds with plan
          638–41
                        and Training Materials               Ongoing            and training deadlines
                         Compliance Reviews                  Various,             Occur during each
          642–44
                            and Audits                       Ongoing               reporting period
                                                          45 Days prior
          652–55       Review Methodologies              (and every reporting    November 16, 2023
                                                               period)

                        Technical Assistance
           656                                               Ongoing                  Ongoing
                       and Recommendations
                          Maintain Regular
           668                                               Ongoing                  Monthly
                       Contact with the Parties
                     Monitor will Participate in
           669                                               Quarterly                Quarterly
                     Meetings with the Coalition
                   Communication with the Parties,
          670–71         Collective Bargaining               Ongoing                  Ongoing
                    Representatives, and the Public




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      IMT’s Community Engagement Activities
      The IMT’s Community Engagement Team plays a critical role by monitoring levels
      of trust and sentiment among the stakeholders to the Consent Decree—the mem-
      bers of Chicago’s communities. The IMT’s Community Engagement Team includes
      experienced Chicago community organizers, community researchers, experts in
      police-community relations, and academic scholars. These team members work
      together to meaningfully engage Chicago’s communities and ensure that commu-
      nity members participate throughout the monitoring process. The Community En-
      gagement Team also works closely with the Monitor, the Deputy Monitor, and the
      Associate Monitors to assess the community components of compliance with the
      Consent Decree.

      The IMT’s Community Engagement Team’s work is vital to measure compliance
      with specific policy, training, and procedural changes required by the Consent De-
      cree. The City and the CPD do not function effectively when they lack trust from
      the communities they serve.30

      Effective policing requires both procedural and cultural change and improved re-
      lationships between the City and the CPD and the communities they serve. The
      Community Engagement Team encourages improved relationships based on re-
      spect, trust, and partnership and emphasizes how relationships may be strength-
      ened by transparency and accountability.

      The IMT’s Community Engagement Team performs two key tasks regarding the
      Consent Decree monitoring process: (1) gathering input from Chicagoans about
      their concerns regarding CPD policies and practices and (2) providing information
      to the Chicago community about the IMT’s activities and findings.

      We sought to hear sentiments from a broad range of Chicagoans during the ninth
      reporting period. For example, Judge Rebecca Pallmeyer held virtual public hear-
      ings on August 9, 2023, October 16, 2023, November 16, 2023, and December 14,
      2023. The judge heard from Chicagoans who voiced their concerns, observations,
      and ideas about Chicago Police Department reform. Moving forward, Judge
      Pallmeyer will hold public hearings monthly; the schedule of hearings for 2024
      may be found on the IMT’s website.

      We also held a Virtual Listening Session on September 21, 2023, in partnership
      with the North River Commission, focused on the Comprehensive Assessment (see
      ¶¶657–59). Chicagoans shared their thoughts and concerns about Chicago polic-
      ing with Independent Monitor Maggie Hickey, Deputy Monitor Rodney Monroe,
      and members of the IMT’s Community Engagement Team. We also held an in-per-
      son Community Listening Session on December 6, 2023, in partnership with the




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      Peace and Justice Center at Build Chicago, also focused on the Comprehensive As-
      sessment. We appreciated Build’s generous hospitality and look forward to more
      opportunities to connect with Chicagoans in person.

      Figure 3.                                      IMT Virtual Listening Session Flyers
                                                 (September 21 and December 6, 2023)




      We also issued periodic newsletters, emails, and news releases to update commu-
      nity stakeholders on our monitoring activities.




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      Figure 4.
       Examples of IMT Newsletters sent between July 1, 2023, and December 31, 2023




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      Ninth Reporting Period Priorities
      We set out our priorities for the ninth reporting period in our Monitoring Plan for
      Year Five.17 Through the ninth reporting period, we monitored compliance with
      those paragraphs to match the pace of the five-year goal described in the Consent
      Decree. As explained above, in the sixth reporting period, the Parties entered a
      stipulation, which extends the timeline of the Consent Decree to eight years.18

      Assessing Compliance
      As reflected above, and in accordance with ¶¶661–62 and 642, the IMT assesses
      how the City, the CPD, and other City entities comply with each paragraph of the
      Consent Decree in three successive levels: (1) Preliminary compliance, (2) Second-
      ary compliance, and (3) Full compliance. The CPD and other City entities will not
      be “in compliance” with a requirement until they reach Full compliance for the
      requisite length of time required by the Consent Decree—either one or two years.
      See ¶714. We will assess the City’s compliance on all appropriate levels for the
      paragraphs presented in this report.




      ❖    Preliminary compliance typically refers to the development of acceptable pol-
           icies and procedures that conform to best practices (as defined in ¶730) and
           to the incorporation of requirements into policy (¶642). The IMT will assess


      17
           The IMT’s Monitoring Plan for Year Five is available on the IMT’s website. See Reports and
           Resources, INDEPENDENT MONITORING TEAM (November 2, 2022). Given the varying workloads of
           separate departments and personnel, the City and its relevant entities may make compliance
           efforts earlier than anticipated. When appropriate, we may also assess those efforts in our
           monitoring reports earlier than anticipated.
      18
           See Stipulation Regarding Search Warrants, Consent Decree Timelines, and the Procedure for
           “Full and Effective Compliance,” Illinois v. Chicago, Case No. 17-cv-6260 (March 25, 2022),
           https://cpdmonitoringteam.com/wp-content/uploads/2022/03/2022.03.25-Stipulation-Re-
           garding-Search-Warrants-Consent-Decree-Timelin.._.pdf.


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          the development of policies, procedures, rules, and regulations reasonably de-
          signed to achieve compliance. To attain Preliminary compliance, the City must
          have policies and procedures designed to guide officers, City employees, su-
          pervisors, and managers performing the tasks outlined in the Consent Decree.
          These policies and procedures must include appropriate enforcement and ac-
          countability mechanisms, reflect the Consent Decree’s requirements, comply
          with best practices for effective policing policy, and demonstrate the City and
          its relevant entities’ ability to build effective training and compliance.

      ❖   Secondary compliance typically refers to the development and implementa-
          tion of acceptable and professional training strategies (¶642). Those strategies
          must convey the changes in policies and procedures that were established
          when we determined Preliminary compliance. Secondary compliance also re-
          fers to creating effective supervisory, managerial, and executive practices de-
          signed to implement policies and procedures as written (¶730). The IMT will
          review and assess the City’s documentation—including reports, disciplinary
          records, remands to retraining, follow-up, and revisions to policies, as neces-
          sary—to ensure that the policies developed in the first stage of compliance are
          known to, are understood by, and are important to line, supervisory, and man-
          agerial levels of the City and the CPD. The IMT will be guided by the ADDIE
          model (Analysis, Design, Development, Implementation, and Evaluation) of cur-
          riculum development to assess training and will consider whether there are
          training, supervision, audit, and inspection procedures and protocols designed
          to achieve, maintain, and monitor the performances required by the Consent
          Decree.

      ❖   Full compliance refers to adherence to policies and training within day-to-day
          operations (¶642). Full compliance requires that personnel, including ser-
          geants, lieutenants, captains, command staff, and relevant City personnel rou-
          tinely hold each other accountable for compliance. In other words, the City
          must “own” and enforce its policies and training and hold officers accountable
          for misconduct through a disciplinary system that is fair, timely, and consistent.
          The IMT will assess whether the City’s day-to-day operations follow directives,
          policies, and training requirements. When measuring Full compliance, we will
          note whether supervisors notice, correct, and supervise officer behavior and
          whether appropriate corrections occur in the routine course of business. In this
          phase, we will review whether compliance is reflected in routine business doc-
          uments, demonstrating that reforms are being institutionalized. In addition,
          we will determine whether all levels of the chain of command ensure con-
          sistent and transparent compliance.

      These levels typically correspond with whether the City or its relevant entities have
      (1) created a compliant policy, (2) adequately trained personnel on that policy, and




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      (3) successfully implemented the policy reform in practice. Still, the three compli-
      ance levels often apply differently to various paragraphs. For some paragraphs, for
      example, Preliminary compliance may refer to efforts to establish the requisite
      training rather than to create a policy. Likewise, to reach and sustain Full compli-
      ance, the City may need to create a policy to ensure that it provides training con-
      sistently, as appropriate. In other circumstances, levels of compliance may include
      implementing effective pilot programs before rolling out reforms across the entire
      CPD.

      Throughout this report, we provide our compliance assessments and descriptions
      of the status of current compliance based on efforts within the ninth reporting
      period. Under the Consent Decree, the City, the CPD, and other relevant City enti-
      ties are not in any level of compliance until we find that they comply. As a result,
      a finding that the City is not in compliance with a requirement does not mean that
      the City has not made efforts—even significant efforts—to achieve compliance to-
      ward that requirement.

      Under the Consent Decree, the City, the CPD, and other relevant entities are not
      technically in compliance with any of the requirements of the Consent Decree until
      the City has provided sufficient proof to the IMT that the City, the CPD, or other
      relevant entities are complying. See ¶720. Even if the City has made significant
      efforts toward complying with a requirement, the City still has the additional bur-
      den of providing the IMT and the OAG with sufficient proof of its actions.

      To reflect the City’s and its relevant entities’ progress through the Consent Decree
      process, for paragraphs under assessment in the ninth reporting period, we have
      added specific categories for each of the three levels of compliance, as appropri-
      ate:

      •   In Compliance. Based on the City’s evidence, the City has met a level of com-
          pliance with a requirement of the Consent Decree.

      •   Under Assessment. Based on the City’s evidence, the IMT is still assessing
          whether the City has met a level of compliance with a requirement of the Con-
          sent Decree. This may occur, for example, when the City’s efforts do not cleanly
          overlap with a reporting period.

      •   Not in Compliance. Based on the City’s evidence, the City has not met a level
          of compliance with a requirement of the Consent Decree.

      •   Not Yet Assessed. The IMT has not yet assessed whether the City has met this
          level of compliance with a requirement of the Consent Decree. This may occur,
          for example, when the IMT is still assessing a lower level of compliance, or the
          City has not met a lower level of compliance.



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      I. Community Policing
                                       Guiding Principles
      The IMT assessed whether the City complied with applicable Community Policing
      paragraphs in accordance with the Consent Decree’s “Guiding Principles.” These
      principles “are intended to provide the Court, the Monitor, and the public with the
      context for the subsequent substantive requirements” and “the overall goals”
      (¶757):

               8. Strong community partnerships and frequent positive interactions between
               police and members of the public make policing safer and more effective, and
               increase public confidence in law enforcement. Moreover, these partnerships
               allow police to effectively engage with the public in problem-solving tech-
               niques, which include the proactive identification and analysis of issues in or-
               der to develop solutions and evaluate outcomes.

               9. To build and promote public trust and confidence in CPD and ensure consti-
               tutional and effective policing, officer and public safety, and sustainability of
               reforms, the City and CPD will integrate a community policing philosophy into
               CPD operations that promotes organizational strategies that support the sys-
               tematic use of community partnerships and problem-solving techniques.

               10. CPD will ensure that its community policing philosophy is a core compo-
               nent of its provision of police services, crime reduction strategies and tactics,
               training, management, resource deployment, and accountability systems. All
               CPD members will be responsible for furthering this philosophy and employ-
               ing the principles of community policing, which include trust and legitimacy;
               community engagement; community partnerships; problem-solving; and the
               collaboration of CPD, City agencies, and members of the community to pro-
               mote public safety.

               11. The City and CPD are committed to exploring diversion programs, re-
               sources, and alternatives to arrest.


      Summary of Compliance Efforts and Assessments

      Community Policing Progress in the Ninth Reporting Period
      In the ninth reporting period, the IMT assessed compliance with the Community
      Policing paragraph requirements by reviewing relevant policies, training curricula,
      and records, particularly those focused on the CPD’s processing of juvenile ar-
      restees. We also participated in a range of meetings with the CPD’s leadership and
      Office of Community Policing, providing updates and addressing challenges to im-
      plementing paragraph requirements. During a site visit in October 2023, the IMT
      conducted group interviews with School Resource Officers (SROs), District Coordi-
      nation Officers (DCOs), and Chicago Alternative Policing Strategy (CAPS) officers,


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      as well as field interviews of patrol officers. Additionally, the IMT attended a com-
      munity conversation where residents were developing their district strategic plan.

      The following bullet points highlight relevant developments in the ninth reporting
      period:

      •   After experiencing significant staffing reductions during the past year, our un-
          derstanding is that in this reporting period the Office of Community Policing
          has been approved for additional positions in the new fiscal year budget—
          most of which are civilian roles. The next step for the City and the CPD is to
          complete hiring processes in a timely manner and curtail the practice of detail-
          ing this staff to other assignments.

      •   We remain concerned about the slow adoption of community policing as a phi-
          losophy, as required by ¶10. The Consent Decree requires “all CPD members”
          to be “responsible for furthering this philosophy.” In nearly five years of the
          Consent Decree process, we have seen little evidence that the Bureau of Patrol
          and patrol officers are “employing the principles of community policing” in
          their daily activities.

      •   The CPD began to develop and put in place meaningful data capture and track-
          ing systems to monitor performance and assess the efficacy of its programs
          and strategies through the Community Engagement Management System
          (CEMS). While we appreciate the CEMS as a solid starting place, we have con-
          cerns about reliability and reporting, and figuring out what the data means and
          how to apply data to guide program improvements and overall CPD field oper-
          ations.

      •   The CPD continues to implement a well-refined and strategic development
          process in each of its 22 districts to produce crime prevention and community
          engagement approaches with some community input.

      •   The CPD demonstrated minimal improvement in improving documentation
          identifying their community partnerships (¶16) and how they are leveraging
          these partnerships to improve performance, build community trust, and
          achieve overall community safety goals. The CPD did not adequately address
          concerns about community input in the policy development process for key
          and impactful policies. While the CPD made some progress in enhancing com-
          munity engagement, this remains an area of need and one where the IMT in-
          tends to provide technical assistance in the tenth reporting period.

      •   After an initial Neighborhood Policing Initiative (NPI) expansion to 10 police
          districts, further implementation has stalled over the last several reporting pe-
          riods. In those districts implementing NPI, ongoing details of staff to other as-
          signments has hampered their ability to perform their community outreach


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          and problem-solving roles. The IMT remains concerned about the future of this
          programming, and how the department will pursue its community policing
          goals, practices, and overall philosophy (see ¶9).

      •   In this reporting period, the CPD failed to provide the required community po-
          licing in-service training requirements (¶37) for CPD officers regarding commu-
          nity policing principles and practices by neglecting to include all required train-
          ing elements (see ¶37(a)–(e)).

      Community Policing Progress through Nine Reporting Periods
      Overall, the IMT assessed the City’s compliance with 35 Community Policing para-
      graphs in the ninth reporting period (¶¶13–20 and 22–48). The City and the CPD
      maintained Preliminary compliance for 13 paragraphs (¶¶16, 19, 22–25, 27, 31,
      37, and 45–48), met Preliminary compliance with one paragraph (¶32), main-
      tained Secondary compliance for 13 paragraphs (¶¶15, 17–18, 26, 29, 34–36, 39–
      40, and 42–43), met Secondary compliance for five paragraphs (¶¶13, 14, 20, 28,
      and 41), maintained Full compliance with two paragraphs (¶¶30 and 44). See Com-
      munity Policing Figure 1 below. The City did not reach Preliminary compliance with
      one paragraph (¶33) and lost Secondary compliance with one paragraph (¶37).
      See Community Policing Figure 2 below.

      Community Policing Figure 1:      Compliance Progress for Community Policing
           Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




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      Community Policing Figure 2:
      Lost Levels of Compliance in the Community Policing Section

                          Eighth Reporting Period                     Ninth Reporting Period
                         (January 1, 2023 – June 30, 2023)          (July 1, 2023 – December 31, 2023)

           Paragraph          Previous Compliance                         Current Compliance

              ¶37                  Secondary                 →                 Preliminary




      Looking Ahead to the Tenth Reporting Period
      Looking ahead to the tenth reporting period, the IMT is hopeful that the CPD will
      accelerate efforts to achieve compliance in the Community Policing section of the
      Consent Decree by devoting more resources to establishing supervisory and track-
      ing mechanisms to ensure effective implementation of newly enacted or revised
      CPD policies. The IMT expects the CPD to make significant progress in its overall
      community policing strategy, expanding effective initiatives to more police districts
      and articulating a comprehensive plan. The IMT also expects that the CPD will bet-
      ter define and improve their community engagement processes. The IMT will pay
      particular attention to how the CPD works with and coordinates the activities of
      the District Advisory Committees and the recently formed City of Chicago District
      Councils.19

      As referenced above, the City and the CPD have made progress in this section by
      developing new or revised policies and training materials. The Consent Decree re-
      quires, however, additional policy changes. For example, at the end of the ninth
      reporting period, the City and the CPD continued developing the following policies:

       ❖ CompStat and Command Engagement                                              G01-08

       ❖ Youth District Advisory Council                                              S02-03-15

       ❖ Field Arrest Procedures General Order                                        G06-01-01




      19
           More information about the City’s elected District Councils, which are a part of the Community
           Commission for Public Safety and Accountability may be found on the City’s website:
           https://www.chicago.gov/city/en/depts/ccpsa/supp_info/district-councils.html.


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      The Consent Decree also requires additional training development, and at the end
      of the ninth reporting period, the City and the CPD continued developing the fol-
      lowing new or revised training materials:

       ❖ Basic Law Enforcement Recruit Training on Custody Arrest Booking
       ❖ Integration Training Curriculum for DCO’s and Community Policing Members,
         Parts 1–5
       ❖ Crime Victim Assistance eLearning Lesson Plan/Training Curriculum
       ❖ Recruit Curriculum on Victim Services
       ❖ Training Curriculum (Recruit, In-Service & Pre-Service)
         covering “Arrestee and In-Custody Communication”
       ❖ 2023 Youth Interactions In-Service Training
       ❖ Roll Call Training related to Diversion Program Roll-Out
       ❖ Pre-Service Training on Youth Diversion
       ❖ Recruit Training on Youth Diversion
       ❖ SRO Annual Refresher Training

      We look forward to reporting on these finalized materials, as well as evidence that
      the City and the CPD have implemented reforms into practice.

      The IMT strongly recommends that the City and the CPD expand and improve upon
      their partnerships and community engagement efforts in the tenth reporting pe-
      riod and beyond. Adequate resources and prioritization of community policing re-
      quirements by the City and the CPD are necessary for this to occur. Moving for-
      ward, we are hopeful that the City and the CPD can provide sufficient resources
      toward reforms related to the Community Policing section, including developing
      and implementing related policies, training, supervision mechanisms, and evalua-
      tion processes.

                                                      ***

      Specific compliance assessments, by paragraph, for the Community Policing sec-
      tion are included in Appendix 1.




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      II. Impartial Policing
                                       Guiding Principles
      The IMT assessed compliance with applicable Impartial Policing paragraphs in ac-
      cordance with the Consent Decree’s “Guiding Principles.” These principles “are in-
      tended to provide the Court, the Monitor, and the public with the context for the
      subsequent substantive requirements” and “the overall goals” (¶757):

               49. The Parties agree that policing fairly, with courtesy and dignity, and with-
               out bias is central to promoting broad community engagement, fostering
               public confidence in CPD, and building partnerships between law enforcement
               and members of the Chicago community that support the effective delivery of
               police services.

               50. In conducting its activities, CPD will provide police services to all members
               of the public without bias and will treat all persons with the courtesy and dig-
               nity which is inherently due every person as a human being without reference
               to stereotype based on race, color, ethnicity, religion, homeless status, na-
               tional origin, immigration status, gender identity or expression, sexual orien-
               tation, socio-economic class, age, disability, incarceration status, or criminal
               history.

               51. CPD will ensure its members have clear policy, training, and supervisory
               direction in order to provide police services in a manner that promotes com-
               munity trust of its policing efforts and ensures equal protection of the law to
               all individuals.


      Summary of Compliance Efforts and Assessments

      Impartial Policing in the Ninth Reporting Period
      In the ninth reporting period, the City and the CPD continued to struggle to make
      progress toward compliance with these important requirements. The City and the
      CPD produced various policies and training materials for IMT review. These in-
      cluded S02-01-05, Communicating in a Police Environment eLearning, Interactions
      with Persons with Limited English Proficiency, Juvenile Processing Training (Re-
      cruits) and the Prohibition on Retaliation eLearning. While the IMT submitted com-
      ments for some of these productions, we also issued no objection notices for oth-
      ers. Our review of these materials advanced the CPD’s compliance.

      During this reporting period, the City and the CPD delivered several trainings re-
      lated to impartial policing, including the Fair and Impartial Policing; Integrating
      Communications, Assessment, and Tactics (ICAT); Constitutional Policing In-Ser-
      vice, Prohibition of Retaliation; and Hate Crimes trainings. The IMT reviewed the



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      CPD’s delivery of the Constitutional Policing In-Service Training along with docu-
      mentation demonstrating that 95% of its officers had received this training. As a
      result of those efforts, the City and the CPD achieved Secondary compliance for
      ¶¶58 and 71. The City and the CPD also submitted supporting documentation
      demonstrating that 95% of its relevant personnel completed the Fair and Impartial
      Policing training. As a result, the City and the CPD similarly achieved secondary
      compliance with ¶¶54–56 and 59.

      Further, the IMT reviewed the CPD’s Community Policing Annual Report and the
      2024 Training Plan and issued no objection notices for both. While these docu-
      ments are important to demonstrate that the City and CPD include concepts of
      impartial policing in its training plans from year to year, a more strategic approach
      is necessary to address the requirements of ¶¶53 and 72. The IMT has continued
      the discussion around these crucial requirements and has shared examples of sim-
      ilar strategic plans for incorporating impartial policing into department policies,
      training, and operations with the City and CPD. The IMT looks forward to contin-
      ued discussions and to working with the CPD as it develops these strategic plans.

      During a site visit in October 2023, the IMT learned of the CPD’s efforts to increase
      staffing in the Office of Community Policing and the addition of several supporting
      positions—including a director to support the development of an Equity Office—
      by including these staffing changes in the budget request process. The IMT also
      discussed several other topics during its site visit, including changes to the Com-
      munity Engagement in Policy Development pilot program (D22-08), updates on the
      status of Language Line and its availability to officers in the field, and the efforts
      that the ADA Coordinator has made over the past six months.

      In short, while the City and the CPD’s progress in the ninth reporting period has
      mostly stalled, the CPD continued to further develop related policies (i.e., S02-01-
      01 People with Disabilities, S02-01-05 Limited English Proficiency) and engaged the
      community on these policies. The City and CPD also delivered the Communications
      in a Police Environment eLearning during this reporting period. This eLearning,
      along with the policies and additional training related to Social Media Outlets, will
      be further assessed as part of compliance with ¶57 in future reports.20

      The IMT looks forward to continuing to review progress on related policies, most
      importantly those related to interactions with people with disabilities and limited


      20
           In the City of Chicago’s Comments to a draft of this report, the City purports that the CPD’s
           Constitutional Policing and Communications in the Police Environment trainings cover ad-
           dressed all of ¶57. Since then, the CPD has confirmed that these trainings do not address all
           requirements in ¶57, and the CPD is working on a standalone training to address the entirety
           of ¶57. This training has not yet been produced to the IMT for review. In addition to training,
           the Secondary compliance methodology for ¶57 also requires community engagement, such
           as a feedback loop with certain community organizations. See Consent Decree ¶52.


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      English proficiency as well as the CPD’s efforts to engage the community in this
      process.

      Impartial Policing Progress through Nine Reporting Periods
      In the ninth reporting period, we assessed the City’s compliance with 31 Impartial
      Policing paragraphs (¶¶52–82)—with two of those paragraphs containing condi-
      tional requirements that do not apply (¶¶81–82).21 The City maintained Prelimi-
      nary compliance for eight paragraphs (¶¶52, 57, 60–61, 63, 65–66, and 70), main-
      tained Secondary compliance for six paragraphs (¶¶67, 73–74, and 76–78), and
      met Secondary compliance for six paragraphs (¶¶54–56, 58–59, and 71). The City
      is under assessment for Preliminary compliance for one paragraph (¶75) and failed
      to reach Preliminary compliance with the remaining eight paragraphs assessed
      (¶¶53, 62, 64, 68–69, 72, and 79–80). See Impartial Policing Figure 1 below.

      Impartial Policing Figure 1:          Compliance Progress for Impartial Policing
             Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




      Looking Ahead to the Tenth Reporting Period
      In the ninth reporting period, the City and the CPD continued to struggle to make
      significant progress with the Impartial Policing section of the Consent Decree. As
      noted above, the City and the CPD have not made any progress since the inception

      21
           Specifically, because ¶¶79–82 are interrelated, we assessed their compliance together. Para-
           graph 82, however, does not contain a substantive requirement for the City. Likewise, ¶81 con-
           tains conditional requirements that may never apply and, at the time of this report, do not
           apply.


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      of the Consent Decree with eight paragraphs in the Impartial Policing section.
      Moving forward, we urge the City and the CPD to provide sufficient resources to-
      ward reforms related to the Impartial Policing section.

      The City and the CPD have, however, been developing new and revised policies,
      written guidance, and training to make some progress in this section. At the end
      of the ninth reporting period, the City and the CPD continued developing, for ex-
      ample, the following new or revised policies:

       ❖ Search Warrants                                                  S04-09
       ❖ Limited English Proficiency Policy                               S02-01-05
       ❖ Interactions with People with Disabilities                       S02-01-01
       ❖ Community Engagement in Policy Development                       D22-08

      At the end of the ninth reporting period, the City and the CPD continued develop-
      ing, for example, the following new or revised trainings:

       ❖ TASER 10 Initial Training Curriculum
       ❖ OEMC Diversity Awareness Training

      We look forward to reporting on these materials, as well as evidence that the City
      and the CPD have implemented reforms into practice.

                                             ***

      Specific compliance assessments, by paragraph, for the Impartial Policing section
      are included in Appendix 2.




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      III. Crisis Intervention
                                       Guiding Principles
      The IMT assessed compliance with applicable Crisis Intervention paragraphs in ac-
      cordance with the Consent Decree’s “Guiding Principles.” These principles “are in-
      tended to provide the Court, the Monitor, and the public with the context for the
      subsequent substantive requirements” and “the overall goals” (¶757):

              83. CPD officers often serve as first responders to individuals experiencing a
              behavioral or mental health crisis. These individuals may exhibit symptoms of
              known, suspected, or perceived behavioral or mental health conditions, in-
              cluding, but not limited to, mental illness, intellectual or developmental disa-
              bilities, or co-occurring conditions such as substance use disorders. The Par-
              ties acknowledge that having a mental illness, an intellectual or developmen-
              tal disability, or co-occurring condition does not mean an individual neces-
              sarily is in crisis, or that having a behavioral or mental health condition would
              necessarily be the reason for any crisis that requires police involvement. How-
              ever, it may need to be considered or warrant heightened sensitivity to ensure
              an appropriate response. Therefore, individuals in the groups listed above will
              be collectively referred to as “individuals in crisis” for the purposes of this
              Agreement.

              84. A person may be a suspected individual in crisis based on a number of
              factors, including, but not limited to, self-reporting; information provided by
              witnesses, family members, or individuals requesting service; CPD’s previous
              knowledge of the individual; or an officer’s direct observation.

              85. CPD officers will interact with individuals in crisis with dignity and respect.
              The use of trauma-informed crisis intervention techniques to respond appro-
              priately to individuals in crisis will help CPD officers reduce the need to use
              force, improve safety in police interactions with individuals in crisis, promote
              the connection of individuals in crisis to the healthcare and available commu-
              nity-based service systems, and decrease unnecessary criminal justice involve-
              ment for individuals in crisis. CPD will allow officers sufficient time and re-
              sources to use appropriate crisis intervention techniques, including de-escala-
              tion techniques, to respond to and resolve incidents involving individuals in
              crisis. To achieve these outcomes, the City and CPD will implement the re-
              quirements set out below.

              86. The City and CPD are committed to exploring diversion programs, re-
              sources, and alternatives to arrest for individuals in crisis.




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      Summary of Compliance Efforts and Assessments

      Crisis Intervention in the Ninth Reporting Period
      During the ninth reporting period, the CPD, the Office of Emergency Management
      and Communications (OEMC), and the Chicago Council on Mental Health Equity
      (also referred to as the CCMHE) continued to work to address the requirements in
      the Crisis Intervention section of the Consent Decree related to policy, training,
      operational practices, and community engagement. While there are some notable
      improvements, progress in this section has generally stalled and, in certain areas,
      regressed.

      Still, through nine reporting periods, the CPD has made significant progress in an-
      nually reviewing Crisis Intervention-related policies and standard operating proce-
      dures, and actively solicited input from both the Chicago Council on Mental Health
      Equity and the public. While there is room for improvement, we very much appre-
      ciate the CPD’s efforts in this area. The CPD has also made great strides in equip-
      ping all officers in best practices related to crisis response and de-escalation
      through significantly enhanced annual in-service training.

      The OEMC has also made strides this reporting period producing training attend-
      ance records with significantly more detail, as well as complete training evalua-
      tions.22 Additionally, the OEMC produced drafts of updated policies incorporating
      notable changes related to mental-health response.

      The IMT continued to participate in monthly calls with the City, the OEMC, and the
      CPD, as well as observe the quarterly Chicago Council on Mental Health Equity
      meetings. The IMT also conducted in-person and virtual site visits and reviewed
      policy, training, and data throughout the ninth reporting period to assess compli-
      ance with the Consent Decree. For example, the IMT met with CIT data analysts,
      conducted interviews with several current and former members of the Chicago
      Council on Mental Health Equity, and met with representatives from the Mayor’s
      Office.

      The Chicago Police Department (CPD)

      The IMT’s main concern continues to be that the CPD’s Crisis Intervention Unit
      (CIU) remains severely understaffed, now comprising about half the number of

      22
           The City and the CPD incorporated required reforms from the Crisis Intervention section into
           various policies and written guidance. We encourage the City and the CPD to identify a clear
           process and timeline for the required annual review and revision of policies and training
           courses based on issue dates. Moving forward, the City and the CPD must provide the IMT
           with evidence of how and when they are accomplishing the required annual review and revi-
           sions.


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      members compared with 2021. See ¶89.23 The Crisis Intervention Unit consists of
      people who are dedicated to the unit’s mission and passionate about the role and
      purpose of the CIT Program. But the current staffing levels are wholly insufficient
      to fulfill Consent Decree requirements. Without sufficient, qualified, and strategi-
      cally assigned staff, the CIT unit supervisor and remaining CIU personnel are simply
      unable to accomplish the mission of the Crisis Intervention Team program.

      Crisis Intervention Figure 1:
      Crisis Intervention Unit Staffing over Several Reporting Periods




      For example, the CIT District, Operations and Community Support (DOCS) unit—
      which the CPD has been attempting to use as a dedicated, proactive outreach to
      high-frequency utilizers of 911—has been too understaffed and under-resourced
      to meet its objectives. See¶91. The CIT DOCS personnel have confirmed that staff-
      ing constraints prevent them from conducting the required crisis-call follow-up ac-
      tivities that are essential to a successful diversion program. These CIT DOCS mem-
      bers are also unable to adequately respond to CIT Reports and build community
      partnerships while capturing the necessary data that supports the important work
      of the CIT DOCS unit. The CIT DOCS unit presently has 11 officers covering the en-
      tire city of Chicago.

      At the outset of the Consent Decree, the CPD promoted a Voluntary CIT model.
      During the fourth reporting period, the CPD shifted to a mandatory CIT model,
      which required all officers to receive the 40-hour Basic CIT training. During the
      ninth reporting period, the CPD announced that it is reverting to a voluntary
      “Memphis Model” CIT program.24 While there are benefits and challenges with

      23
           Paragraph 89 requires “a qualified, centralized staff, including supervisors, officers, and civilian
           employees, who is necessary to oversee the department-wide operation of the CIT Program,
           carry out the overall mission of the CIT Program, and perform the objectives and functions of
           the CIT Program.”
      24
           In the seventh reporting period, the CPD revised its officer designations related to CIT. The IMT
           mirrored the CPD’s updated language to avoid confusion. The term “Certified Crisis Interven-
           tion Team (CIT) Officers” is used throughout the Consent Decree. See ¶92. The CPD moved
           away from a strictly voluntary CIT model to one that is a hybrid voluntary/mandatory CIT




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      both models, this change will require the OEMC and the CPD to make updates to
      policy, training, and operational practices, which may delay additional levels of
      compliance. For example, early this reporting period, the IMT approved the CPD’s
      directive S05-14, Crisis Intervention Team (CIT) Program, which would have al-
      lowed the City and the CPD to achieve Preliminary compliance with several para-
      graphs. However, the CPD now needs to revise this expansive directive. The IMT
      anticipates that the CPD will be able to implement the new S05-14 in the tenth
      reporting period.25

      The CPD model of response to crisis calls needs substantial attention, particularly
      considering the size of Chicago. Currently, the CPD focuses largely on non-dedi-
      cated patrol response by a majority of officers who have not received specialized
      training since before the Consent Decree: about 20% of all current Certified CIT
      officers were trained over 10 years ago (2004–2012) without refresher training;
      and about a third of all Certified CIT officers were trained more than seven years
      ago (2004–2015) with no refresher training; and nearly half (46.51%) of Certified
      CIT officers were trained six or more years ago (2004–2016) without refresher
      training.

      Such deficiencies in training protocols not only deviate from recognized best prac-
      tices but also fall short of the standard requisite for a voluntary, specialized model.
      Under the Memphis (voluntary) model, these officers should establish that they


           model, in which all officers are required to take the 40-hour Basic CIT training. Certified CIT
           officers are now being identified as “Designated CIT officers” by the CPD. Designated CIT offic-
           ers are those officers who voluntarily request to be Crisis Intervention Team members and
           prioritized to calls for service involving a mental health component. Mandatorily assigned of-
           ficers who do not select to be identified as a Designated CIT officer at the end of the 40-hour
           Basic CIT training are now identified as “CIT Trained officers.” The OEMC prioritized CIT Trained
           officers, secondary to a Designated CIT officer for dispatch to mental health calls for service.
           Officers who have not yet been through the 40-hour Basic CIT training are simply identified as
           Untrained. In the ninth reporting period, the CPD announced that it was returning to the orig-
           inal “Memphis Model” of CIT, and therefore, the language is reverting to previous language.
           To mirror the CPD’s language, the IMT will revert to the term “Certified Crisis Intervention
           Team (CIT) Officers” as used throughout the Consent Decree. See ¶92.
      25
           Relatedly, during this reporting period, the CPD informed the IMT that the CPD receives be-
           tween one and eight voluntary CIT applications per month, an important consideration with
           the reversion back to the voluntary CIT model. The CPD still has not completed the full eligibil-
           ity review of those officers that should, according to the CPD’s eligibility standards, qualify as
           “Certified CIT officers” (see ¶¶108–110). Without this eligibility review, the CPD will be unable
           to demonstrate sufficient response ratios. Currently, if an officer has ever received the 40-hour
           Basic CIT training, then that officer is considered a “Certified CIT officer.” The CPD should revise
           this eligibility standard in the next reporting period. There are department members who re-
           ceived training as far back as 2004, and who have received no refresher training since, that are
           being identified as Certified CIT officers. We recommend that the CPD un-designate in CLEAR
           previously certified officers who received their training before April 30, 2021, when the IMT
           approved the current CIT Basic training. The CPD should then complete its eligibility review
           process before establishing the required cadence of CIT Refresher training every three years.


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      desire to remain voluntary certified CIT officers before enrollment in the 40-hour
      Basic CIT Training. Once these officers have retaken the Basic 40-hour CIT training,
      they should then fall into the required refresher training cadence of every three
      years. See ¶95.

      Further, the CIT Training Unit presently consists of six officers and two sergeants,
      down from 13 officers and three sergeants in April of 2020. This unit is charged
      with teaching the 40-hour Basic CIT training, the CIT Refresher training, and the
      Advanced Youth and Advanced Veteran trainings. These training courses are
      taught nearly every week, rotating between the weeklong Basic CIT class (17 clas-
      ses in 2023); the Refresher Courses (23 classes in 2023), and the Advanced Classes
      (five classes in 2023). Despite being understaffed, the CIT Training Unit continues
      to provide the Basic CIT Training and CIT Refresher training all year. The CIT Training
      Unit has, however, had to cancel its Advanced CIT Youth and Advanced CIT Veter-
      ans training deliveries due to staffing shortages, which is crucial for training School
      Resource Officers (SROs) and for providing opportunities to expand knowledge
      and skills for the Crisis Intervention Unit and patrol-based CIT officers.26

                                                      ***

      Still, despite significant challenges in the ninth reporting period, the City and the
      CPD have demonstrated progress toward achieving compliance for several para-
      graphs in the Crisis Intervention section. For example, the CPD produced compre-
      hensive training records indicating 95% compliance with required crisis interven-
      tion related training for all officers. The eight-hour Crisis Intervention training, new
      in 2023, covered key components of signs, symptoms, and best-practice responses
      to individuals in crisis, which is an important accomplishment.

      In addition to the eight-hour Crisis Intervention Training, the CPD required all of-
      ficers in 2023 to attend the Integrating Communications Assessments and Tactics
      (ICAT) training, which is a nationally recognized training focused on communica-
      tion and de-escalation skills.




      26
           The CIU trainers also require sufficient administrative support to ensure their attention is di-
           rected towards fulfilling a rigorous training regimen, and on crucial components of the training
           such as scenario-based exercises. Currently, the CIU trainers must devote time and energy to
           administrative tasks in addition to a stringent teaching rotation. Some of the administrative
           tasks that trainers are completing include reviewing CIT applications, scheduling trainings, ob-
           taining supplies, administering training evaluations, catering, scheduling, and completing
           background checks.


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      The CPD has also incorporated a CIT Recruit Concepts training into its Recruit Acad-
      emy. This training is well done and incorporates some of the requirements of
      ¶127.27

      The CPD has also incorporated increased training on de-escalation strategies into
      its annual De-escalation, Response to Resistance, and Use of Force training, which
      together is bringing the CPD much more aligned with best practices. Newly pro-
      moted Sergeants, Lieutenants, and Field Training Officers are also receiving CIT
      Basic training per ¶102.

      We appreciate the CPD taking important steps toward training all officers on re-
      sponse to individuals in crisis, with an emphasis on de-escalation strategies. To
      advance compliance with the Consent Decree, the IMT urges the CPD to produce
      training evaluations in subsequent reporting periods, a task unfulfilled in the last
      several reporting periods. We also recommend that the CPD enhance effort to in-
      volve the Chicago Council on Mental Health Equity in training observations, as re-
      quired under the Consent Decree.28

      City of Chicago Collaboration

      The priorities of expanding non-criminal justice responses to persons in crisis and
      complying with the guiding principles of the CIT program requires close collabora-
      tion among City entities alongside the CPD. The OEMC, for example, plays crucial
      role in the requirements of the Crisis Intervention section of the Consent Decree.29

      As identified by the Consent Decree (¶¶87(d), 130–31), the leadership of the CPD,
      Chicago Fire Department (CFD), the OEMC, and Department of Public Health (DPH)
      must work together to forge a best practice model of crisis response, as well as re-
      engage the Advisory Committee.30

      27
           The CPD indicated that is has developed two additional training courses—Mental Health
           Awareness and Response and Neurobiology of Trauma and PTSD—that may address the re-
           maining subjects, but these two training courses have not yet been produced to the IMT for
           review.
      28
           To date, there has been little evidence of such oversight. The CPD, if appropriate, may want to
           consider whether it is feasible to utilize the established TCAC for CIT policy and training review,
           given its representation from notable organizations also involved in Chicago Council on Mental
           Health Equity, like NAMI, Ignite Chicago, Access Living, ARC, Thresholds, and Bobby Wright
           Comprehensive Behavioral Health Center.
      29
           The OEMC made substantial progress this reporting period producing training records, training
           evaluations, and revisions to three of the four Crisis Intervention related policies. While we
           appreciate these efforts, the IMT seeks clarity from the OEMC about why some content was
           removed from these policies.
      30
           The following are a few examples of the current challenges in this area: First, several para-
           graphs in the Crisis Intervention section (and other sections) require “timely” response. At
           nearly five years into the Consent Decree, the CPD and OEMC still have not defined “timely,”




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      The Crisis Assistance Response Engagement (CARE) pilot program is one example
      of this kind of partnership.31 Despite progress under this pilot, the City has been
      reluctant to provide policies, training, and data related to this alternate response
      program. The CARE program aims to divert people in crisis away from the criminal
      justice system, a model of diversion and deflection as noted by ¶¶11 and 86.32

      Crisis Intervention Figure 2: CARE Pilot Program – Types of Responses


             CARE Pilot Program’s Three Types of Responses


             Pre-response       Staffs mental-health professionals in the City’s 911 Call Center to
                                provide support to callers, call takers, dispatchers, and response
                                teams.


             Alternate          The 911 Call Center will dispatch mental-health professionals with
             Response           first responders to respond to people in crisis.


             Post-response      Links residents with appropriate community-based services and
                                uses alternate drop-off sites for people in behavioral health crisis.




           which undermines the City’s ability to set and meet expectations, assess response ratios, and
           track trends. The CPD, CFD, and OEMC should utilize CPD and CFD response time data for all
           calls for service, by priority level and national best practices, to define what qualifies as a
           “timely” response. Second, at this time, the OEMC is only able to track at the point of dispatch,
           not the point of arrival on-scene. Therefore, it is unknown if there is a “timely” response by a
           CIT officer. As we understand it, the new CAD system with GPS that is due to be implemented
           soon should help address this. Third, the IMT continues to have concerns about the CPD and
           the OEMC using the term “mental” as the event code associated with mental health-related
           calls for service. They have indicated this is difficult to change with the current CAD system.
           “Mental” is not a respectful term nor is it industry recognized. Compare ¶¶135, 152.
      31
           The CARE program includes three types of responses: (1) pre-response, which staffs mental-
           health professionals in the City’s 911 Call Center to provide support to callers, call takers, dis-
           patchers, and response teams; (2) alternate response, where the 911 Call Center will dispatch
           mental-health professionals with first responders to respond to people in crisis; and (3) post-
           response, which links residents with appropriate community-based services and uses alternate
           drop-off sites for people in behavioral health crisis.
      32
           The City has largely resisted IMT efforts to obtain relevant information about the CARE Pro-
           gram and has indicated that it considers the CARE Program to be separate and apart from the
           Consent Decree. The IMT strongly encourages the City to re-evaluate this position in light of
           the Consent Decree requirements. Moreover, the CARE Program is an excellent example of a
           successful, proactive diversion program that provides an alternative to arresting individuals in
           crisis. The City should be commended for these successful efforts, and the IMT believes that
           increased transparency will only increase public support for the program.


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      Relatedly, the City and the CPD still have not yet completed the required Crisis
      Intervention Team Officer Implementation Plan nor the required Crisis Intervention
      Plan. (See ¶¶108 and 122). Although required annually, the last report was sub-
      mitted in 2020. While the IMT appreciates delaying these reports until they are
      supported by more robust strategies and reliable data, the City should at minimum
      produce an annual report demonstrating any progress toward producing the re-
      port, as well as the barriers that continue to cause the delay and the plans to over-
      come them.

      The Chicago Council on Mental Health Equity (CCMHE)

      The Chicago Council on Mental Health Equity is composed of talented, dedicated
      experts and people with lived experience who are eager to provide crucial feed-
      back to the City. During the ninth reporting period, the Chicago Council on Mental
      Health Equity appears to face significant challenges, potentially marking its most
      challenging phase to date. The quarterly meeting on July 31, 2023, marked the
      Chicago Council on Mental Health Equity’s return to in-person meetings following
      the pandemic and attendance was exceptionally low. IMT interviews with long-
      term members of the Chicago Council on Mental Health Equity during this report-
      ing period have revealed disengagement and frustration with the lack of meaning-
      ful utilization of expertise and progress. The quarterly meeting on November 6,
      2023, also had low attendance, again not meeting quorum.33 Members have also
      repeatedly offered recommendations to the OEMC related to triage questions and
      strategies for children and youth. These recommendations have not received re-
      sponses.

      Crisis Intervention Progress through Nine Reporting Periods
      During this reporting period, the IMT assessed the City’s compliance with 66 Crisis
      Intervention paragraphs: ¶¶87–152. The City maintained Preliminary compliance
      with 38 paragraphs (¶¶87–95, 98, 100–05, 114–15, 117, 119–21, 124–25, 127–32,
      136, 141–45, 147, and 150), met Preliminary compliance with one paragraph
      (¶151), and maintained Secondary compliance with 16 paragraphs (¶¶96–97, 99,
      106, 113, 116, 118, 126, 133–35, 138–40, 146, and 152). At the end of the ninth
      reporting period, the City did not have any compliance levels with 11 paragraphs




      33
           Moreover, the IMT remains concerned about the Chicago Council on Mental Health Equity’s
           transparency for all Chicagoans. Regarding transparency and wider public engagement, the
           Chicago Council on Mental Health Equity’s bylaws, which were implemented in 2022, require
           a standard that limits public engagement (requires questions to be submitted within 48-hours
           of the meeting while not having access to the presentations that will be discussed). There have
           been no comments or questions from the public in over a year.


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      (¶¶107–12, 122–23, 137, and 148–49). These figures reflect that in the ninth re-
      porting period, the City lost Secondary compliance with four paragraphs (¶¶92,
      132, and 142–43) and lost Full compliance with two paragraphs (¶¶142–43).

      Crisis Intervention Figure 2:          Compliance Progress for Crisis Intervention
               Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




      Crisis Intervention Figure 3:
      Lost Levels of Compliance in the Crisis Intervention Section
                        Eighth Reporting Period              Ninth Reporting Period
                      (January 1, 2023 – June 30, 2023)       (July 1, 2023 – December 31, 2023)

         Paragraph        Previous Compliance                       Current Compliance

            ¶92                 Secondary                 →             Preliminary



           ¶132                 Secondary                 →             Preliminary



           ¶142                     Full                  →             Preliminary



           ¶143                     Full                  →             Preliminary




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      Looking Ahead to the Tenth Reporting Period
      In the tenth reporting period, the City and the CPD should re-evaluate its Crisis
      Response Model to build a more robust program capable of meeting Consent De-
      cree requirements and aligning with best practices. In addition to key crisis re-
      sponse components, the CPD should consider dedicated district CIT patrol units
      that are solely responsible for response to live mental-health-related calls for ser-
      vice. Presently, the CPD has a minimalist model that struggles to meet both Con-
      sent Decree requirements and the mission of the CIT program.

      In the tenth monitoring period, the IMT hopes to receive a finalized S05-14 Crisis
      Intervention Team policy, CIT officer eligibility data, CPD training evaluations, up-
      dates on the new CAD system, evidence of revised or supplemental trainings that
      fully meet ¶127’s requirements, and a training plan to prioritize officers who re-
      ceived the 40-hour CIT training before the Consent Decree to reestablish their vol-
      untary status and recertify in the updated 40-hour training.

      Finally, the IMT looks forward to consideration of a standardized measurement
      tool for the required review of body worn camera footage at the end of each watch
      and encourages the CPD to consider requiring at least one of the Consent Decree
      mandated body-worn-camera reviews by supervisors at the end of each shift (see
      S03-14, Body Worn Cameras, Section VIII.G; see also ¶576) be a mental-health call
      for service (z-coded by the CPD).

                                              ***

      Specific compliance assessments, by paragraph, for the Crisis Intervention section
      are included in Appendix 3.




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      IV. Use of Force
                                             Objectives34
      The IMT assessed compliance with applicable Use of Force paragraphs in accord-
      ance with the Consent Decree’s corresponding objectives:

                153. CPD’s use of force policies, as well as its training, supervision, and ac-
                countability systems, must ensure that: CPD officers use force in accordance
                with federal law, state law, and the requirements of this Agreement; CPD of-
                ficers apply de-escalation techniques to prevent or reduce the need for force
                whenever safe and feasible; when using force, CPD officers only use force that
                is objectively reasonable, necessary, and proportional under the totality of the
                circumstances; and any use of unreasonable or unnecessary force is promptly
                identified and responded to appropriately.

                                                      ***

                155. CPD officers have the authority to use force, but that authority is limited
                by the law and Department policy. The provisions of this Agreement seek to
                facilitate compliance with the law and Department policy regarding the use
                of force to reduce the circumstances in which using force is necessary, and to
                ensure accountability when CPD officers use force that is not objectively rea-
                sonable, necessary, and proportional under the totality of the circumstances.


      Summary of Compliance Efforts and Assessments

      Use of Force in the Ninth Reporting Period
      In the ninth reporting period, the City and the CPD largely maintained the same
      levels of compliance that they achieved in previous reporting periods and achieved
      several new levels of compliance for paragraphs in the Use of Force section, in-
      cluding achieving Full compliance for a few paragraphs.

      In the ninth reporting period, the City and the CPD achieved Secondary compliance
      with several paragraphs based on their training on the CPD’s use-of-force policies,
      which were revised as part of the CPD’s efforts to engage the community. We
      stated in Independent Monitoring Report 7 that to regain Preliminary and Second-
      ary compliance, the CPD needed to implement and provide training on the revi-
      sions to its policies that it agreed to with the Coalition. Since then, the CPD has
      implemented these long-contemplated changes in the eighth reporting period and
      completed training on them in the ninth reporting period.


      34
           The Use of Force section of the Consent Decree includes “objectives” rather than “guiding
           principles.”


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      At the end of this reporting period, the CPD finalized and put into effect its updated
      Body Worn Cameras policy, S03-14. The CPD posted the latest version of S03-14,
      Body Worn Cameras, on December 1, 2023, for public comments, which closed on
      December 17, 2023. On December 29, 2023, the CPD issued the Body Worn Cam-
      eras policy. The CPD also indicated that evidence of community engagement will
      be submitted to the IMT in the tenth reporting period. The IMT looks forward to
      reviewing CPD’s efforts to meaningfully engage the community regarding this pol-
      icy.

      Furthermore, the latest collective bargaining agreement between the Fraternal Or-
      der of Police and the City may require adjustments to the policy. In particular, the
      issues of body worn cameras not being used to record conversations with union
      representatives and conversations in which officers are not engaged with the pub-
      lic may impact public safety questions.35

      The OAG and Coalition have continued to express concerns with the policy. In De-
      cember 2023, the Coalition raised concerns regarding body-worn cameras, such as
      early deactivation of cameras, supervisors reviewing only one body-worn camera
      per shift, supervisors’ failures to review footage to ensure probable cause for po-
      lice actions, and potential conflicts between the CPD’s policy and the contract with
      the Fraternal Order of Police. Similarly, the OAG raised concerns about the deacti-
      vation of cameras during public safety questioning. Despite numerous discussions
      on the recording of public safety questions and the body worn cameras policy, an
      agreement in this matter has not been reached. The OAG submitted a motion for
      judicial resolution on this issue after the end of the reporting period.

      This reporting period, the IMT reviewed several new or revised policies and train-
      ing intended to address the Consent Decree’s requirements regarding the Use of
      Force section. For example, we reviewed and commented on draft training mate-
      rials for the Taser 10 course and Law Enforcement Medical and Rescue (LEMART)
      and Officer Wellness training. In addition, several important draft policies were
      created or revised, including the following: Response to Crowds, Protests, and Civil
      Disturbances; Declaration of a Coordinated Multiple Arrest Incident; and Alterna-
      tive Arrest Procedures During Coordinated Multiple Arrest Incidents.

      We met regularly with the City, the CPD, and the OAG to address the Use of Force
      requirements in the Consent Decree, including ongoing productions from the City
      and the CPD.

      We also continued to review reports published by the Tactical Review and Evalua-
      tion Division (TRED, formerly known as the Force Review Division (FRD) or the
      Force Review Unit (FRU)). We remain impressed with TRED’s professionalism and

      35
           Collective Bargaining Agreement, City of Chicago (December 7, 2023) at 10, https://s3.docu-
           mentcloud.org/documents/24223649/chicago-fop-contract.pdf.


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      its efforts to observe, address, and publicly report on patterns and trends relating
      to uses of force, foot pursuits, and firearm pointing incidents—even with inade-
      quate resources for its responsibilities.

      TRED fell behind on its reviews during the fifth reporting period because of insuf-
      ficient staffing, and the backlog grew in the sixth and seventh reporting periods.
      In previous reporting periods, attempts to address the backlog included 20 officers
      being detailed to TRED for 90 days, with an extension on that detail for officers to
      remain with the unit. There have also been attempts to hire civilians part-time, as
      well as hiring additional officers to the TRED unit. In this reporting period, TRED
      continues to review all foot pursuits. Meanwhile, the CPD continues to assign TRED
      new and important responsibilities regarding the observation and analysis of pat-
      terns and trends in the CPD’s practices. We recommended in the eighth reporting
      period–and continue to recommend–that district- and unit-level supervisors take
      on some of the firearm pointing review responsibilities currently shouldered by
      TRED.

      At the end of the ninth reporting period, therefore, more work was necessary. The
      City and the CPD’s data issues have continued to hamper the CPD’s ability to eval-
      uate its use-of-force policies, training, and operations. See ¶¶572–73 and 606. Ad-
      ditionally, trust is critical in a police department’s efforts to achieve community
      policing and the goals of the Consent Decree. Until the City and the CPD ade-
      quately prioritize their data issues, their progress in the Use of Force section
      (among others) will stall. This will require the City and the CPD to, among other
      things, consistently devote sufficient resources to address its data and supervision
      efforts, including adequately staffing TRED.

      Use of Force Progress through Nine Reporting Periods
      During this reporting period, the IMT assessed the City’s compliance with 96 Use
      of Force paragraphs. At the end of the ninth reporting period, the City maintained
      Preliminary compliance for 11 paragraphs (¶¶153, 157–59, 174, 193, 206, 214–15,
      217, and 228). The City achieved Preliminary compliance with five paragraphs
      (¶155–56, and 239–41). The City maintained Secondary compliance for 55 para-
      graphs (¶¶154, 161–66, 168–69, 172–73, 175–79, 182–84, 186–87, 189–92, 196,
      200, 202–03, 205, 207–12, 216, 218–27, 229–35, and 247) and achieved Second-
      ary compliance for nine paragraphs (¶¶167, 171, 198–99, 201, 204, 213, and 243–
      44). The City maintained Full compliance for five paragraphs (¶¶170, 180, 188, and
      194–95) and achieved Full compliance with six paragraphs (¶¶181, 185, 197, 245–
      46, and 248). The City’s Preliminary compliance for five paragraphs remained un-
      der assessment at the end of the ninth reporting period (¶¶160, 236–38, and 242).




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      Use of Force Figure 1:                      Compliance Progress for Use of Force
              Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




      The CPD has made significant progress with its use-of-force policies, training, and
      analysis of data since the start of the Consent Decree. Through nine reporting pe-
      riods, for example, the City and the CPD have incorporated required reforms from
      the Use of Force section into various policies and written guidance. In preparation
      for the Democratic National Convention, for instance, the CPD is in the process of
      revising and adapting the use of force reporting and other related polices. While
      we have had and continue to have concerns with the CPD’s corresponding com-
      munity engagement efforts and strategies, the CPD has made and continues to
      make meaningful efforts toward improving its corresponding community engage-
      ment and efforts to receive community input.

      Through nine reporting periods, the City and the CPD have also developed or up-
      dated training materials to incorporate requirements across the Use of Force sec-
      tion. For example, because of the Consent Decree, the CPD has developed and
      delivers use-of-force in-service training every year, which includes training on de-
      escalation and force mitigation. The CPD is also streamlining their weapons quali-
      fications training to incorporate carbine, firearms, and Tasers.

      The CPD has also increased the workload carried by the Tactical Review and Eval-
      uation Division (also known as TRED, and formerly known as the Force Review Di-
      vision or Force Review Unit) in the time since the Consent Decree became effec-
      tive. TRED reviews use-of-force incidents, firearm-pointing incidents, and all foot
      pursuits to identify and allow the CPD to address patterns and trends. It is also our
      understanding that TRED’s responsibilities will soon be expanded to include search




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      warrant reviews.36 Attempts are being made to increase TRED personnel, but more
      progress remains to be seen.

      Furthermore, the CPD began using the new Incident Debrief Report (IDR) that
      TRED was developing in the seventh reporting period and was implemented in the
      ninth reporting period. The Incident Debrief Report streamlines TRED’s review and
      identification of de-briefing points for incidents involving multiple reportable
      events (uses of force, firearm pointing, and foot pursuits).

      Finally, while significant challenges remain, the CPD has continued to make pro-
      gress in its public reporting of use-of-force data. For example, the CPD makes rel-
      evant data available to the public via its Use of Force Dashboard.37 TRED also pub-
      lishes semiannual and yearly reports that contain analysis of and conclusions
      about the CPD’s use-of-force data, including data collected via Tactical Response
      Reports (TRRs), firearm-pointing incidents, and foot pursuits.

      Looking Ahead to the Tenth Reporting Period
      In the ninth reporting period, the City and the CPD continued making progress to-
      ward compliance with the Use of Force requirements of the Consent Decree, par-
      ticularly related to policy and training requirements. Community engagement,
      data, and staffing challenges continue to present significant hurdles to further lev-
      els of compliances.

      Nonetheless, at the end of the ninth reporting period, the City and the CPD were
      also continuing to develop new and revised policies, written guidance, and training
      materials to make progress in this section.

      For example, by the end of the ninth reporting period, the CPD was continuing to
      review its revised Body Worn Cameras policy pending conversations with the IMT
      and OAG. The CPD’s policy did not take effect until December 29, 2023, days before
      the end of the ninth reporting period, and we look forward to monitoring the CPD’s
      progress regarding officers’ body-worn camera use and reporting on progress in
      our next report.




      36
           “It should be noted that the annual and quarterly reports were previously produced by the
           Force Review Unit (FRU). Moving forward these reports will be generated by the Tactical Re-
           view and Evaluation Division (TRED). The new name change more accurately reflects TRED’s
           focus on new and future responsibilities which include search warrant, foot chase and investi-
           gative stop reviews.” TRED 2022 Q1 Report, CPD TRED (August 16, 2022), https://home.chica-
           gopolice.org/wp-content/uploads/Q1-2022-16Aug22-FINAL.pdf.
      37
           See Use of Force Dashboard, CHICAGO POLICE DEPARTMENT (2015 to present), https://home.chica-
           gopolice.org/statistics-data/data-dashboards/use-of-force-dashboard/.


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      Likewise, the CPD demonstrated its Tactical Response Report Supervisory Dash-
      board for the IMT during the seventh reporting period, which we hope will en-
      hance front-line supervision and promote accountability for Department supervi-
      sors over those they supervise and their training needs. The CPD in this reporting
      period submitted attendance records for the TRR Supervisory Dashboard Training
      Bulletin. While the training includes the benefits to supervisors, the primary focus
      continues to be how to use the dashboard. We look forward to reviewing evidence
      of supervisors utilizing the TRR dashboard.

      In the ninth reporting period, the City and the CPD continued to dedicate signifi-
      cant efforts to identifying and addressing data issues, particularly regarding foot
      pursuits. As we noted in previous reporting periods, until the CPD can appropri-
      ately collect, manage, and analyze data related to the Use of Force section, among
      others, the City and the CPD cannot sufficiently demonstrate whether the CPD’s
      practices have improved. This will, in turn, prevent the City and the CPD from be-
      coming a true learning agency, capable of reviewing and revising policies and train-
      ing in a way that is data driven and specific to the needs of Chicago’s communities
      and CPD officers. While TRED’s 2023 Mid-Year Report provides data on foot pursuit
      reviews, we hope to provide additional context with the publication of their year-
      end report.

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      Specific compliance assessments, by paragraph, for the Use of Force section are
      included in Appendix 4.




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      V. Recruitment, Hiring & Promotions
                                      Guiding Principles
      The IMT assessed compliance with the Recruitment, Hiring, and Promotions
      paragraphs in accordance with the Consent Decree’s “Guiding Principles.” These
      principles “are intended to provide the Court, the Monitor, and the public with the
      context for the subsequent substantive requirements” and “the overall goals”
      (¶757):

               249. Having a department that recruits, hires, and promotes officers who are
               qualified to meet the increasingly complex needs of law enforcement and that
               reflects a broad cross section of the Chicago community in which it serves is
               critical to accomplishing the following goals: running a professional police
               force; building community trust and confidence; increasing legitimacy and
               acceptance of CPD’s supervision and accountability systems; and reducing
               perceptions of bias.
               250. The provisions of this Agreement are designed to ensure that CPD
               attracts, hires, retains, and promotes individuals who are equipped to
               perform their jobs safely, effectively, and in accordance with the law, CPD
               policy, and the terms of this Agreement. Further, this Agreement is designed
               to ensure that CPD promotes individuals who are capable of: providing
               effective supervision; guiding officers under their command on lawful, safe,
               and effective policing; and holding officers accountable for misconduct.
               251. The City and CPD’s recruitment, hiring, and promotions policies and
               practices will show a commitment to attracting, hiring, and promoting
               qualified candidates at all ranks that reflect a broad cross section of the
               Chicago community the Department serves.
               252. The Parties acknowledge that the City and CPD are currently subject to
               the City of Chicago Police Department Hiring Plan for Sworn Titles (“Hiring
               Plan”), dated May 14, 2014, which may be subject to change in the future.


      Summary of Compliance Efforts and Assessments

      Recruitment, Hiring, and Promotions in the Ninth Reporting Period
      In the ninth reporting period, the City and the CPD did not achieve additional com-
      pliance with the requirements of the Consent Decree but demonstrated continued
      progress towards implementation of the Consent Decree requirements. This re-
      porting period, the City and the CPD maintained compliance levels with most par-
      agraphs this reporting period.

      The City and the CPD’s current efforts this period focused on improving promo-
      tional processes. Outcomes from these efforts are consistent with their steady pro-



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      gressive approach and will strengthen compliance with Consent Decree require-
      ments. Sustained robust recruitment and hiring processes are required to lift the
      CPD out of the acute staffing shortages it currently faces.

      Recruitment, Hiring, and Promotions Progress
      through Eight Reporting Periods
      Overall, the City and the CPD maintained Preliminary compliance for seven para-
      graphs (¶¶253–54, 256, 260, 262, and 264), maintained Secondary compliance for
      four paragraphs (¶¶255, 258–59, and 261), achieved Secondary compliance for
      one paragraph (¶263), and maintained Full compliance for one paragraph (¶257)).
      See Recruitment Figure 1 below.

      Recruitment Figure 1: Compliance Progress for Recruitment, Hiring & Promotions
             Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




      Looking Ahead to the Tenth Reporting Period
      Looking ahead to the tenth reporting period, the IMT hopes to see the City and
      the CPD allocate and focus appropriate attention and resources to the Recruit-
      ment, Hiring, and Promotions section of the Consent Decree. Meaningful progress
      towards further levels of compliance should aid in addressing the CPD’s ongoing
      staffing shortage and the corresponding challenges that staffing shortage has
      caused. Indeed, while this is the smallest section of the Consent Decree, the City’s
      and the CPD’s efforts directed at recruitment, hiring, and promotions are critical
      to every other Consent Decree section and the short and long-term success of Chi-
      cago’s policing efforts.



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      Specific compliance assessments, by paragraph, for the Recruitment, Hiring, and
      Promotions section are included in Appendix 5.




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      VI. Training
                                       Guiding Principles
      The IMT assessed compliance with the Training paragraphs in accordance with the
      Consent Decree’s “Guiding Principles.” These principles “are intended to provide
      the Court, the Monitor, and the public with the context for the subsequent sub-
      stantive requirements” and “the overall goals” (¶757):

               265. CPD will enhance its recruit training, field training, in-service training,
               and preservice promotional training so that they are sufficient in duration and
               scope to prepare officers to comply with CPD directives consistently,
               effectively, and in accordance with the law, CPD policy, best practices, and this
               Agreement.

               266. CPD training will reflect its commitment to procedural justice, de-
               escalation, impartial policing, and community policing.

               267. CPD training will convey CPD’s expectations that officers perform their
               jobs diligently and safely, and have an understanding of, and commitment to,
               the constitutional rights of the individuals they encounter.

               268. The training required under this Agreement is set out in this section and,
               for specific topic areas, in the Community Policing, Impartial Policing, Crisis
               Intervention, Use of Force, Officer Wellness and Support, and Accountability
               and Transparency sections.


      Summary of Compliance Efforts and Assessments

      Training in the Ninth Reporting Period
      In the ninth reporting period, the CPD continued to make progress in many areas
      of training, as required by the Consent Decree. The Training Oversight Committee
      (TOC) and its subcommittees continue to meet and deliberate on critical details
      needed to make informed decisions on training standards, content, and quality.
      The IMT appreciates the CPD’s notable improvements to the new public safety
      training center.

      After experiencing significant deficits of Field Training Officers (FTO) last reporting
      period, the CPD announced that additional FTO positions would be allotted in
      2024, to ensure that there would be an adequate number of FTOs available to train
      new probationary police officers. We look forward to seeing the implementation
      efforts of the CPD in expanding FTO recruitment, training, and supervision efforts.
      In addition to having the appropriate number of FTOs, the City and the CPD must
      also ensure the Training Academy receives the human and technical resources re-
      quired to effectively schedule and execute Academy and other training.


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      This reporting period, the IMT emphasized the CPD’s need to further develop and
      ensure that evaluations are optimally used and applied to improve training con-
      tent, instruction, delivery, and outcomes. The IMT anticipates that the CPD will
      develop a policy that details the evaluation process of trainings and instructors.
      The development of the evaluation process is integral to assessing the effective-
      ness of existing training and how to improve the quality and consistency of future
      instruction and curriculum.

      Updated Compliance Levels through Nine Reporting Periods
      Independent Monitoring Report 9 provides compliance assessments of 68 para-
      graphs. During this reporting period, the City and the CPD achieved or maintained
      at least Preliminary compliance with 60 of these paragraphs. Specifically, in the
      ninth reporting period, the City and the CPD maintained Preliminary compliance
      for 49 paragraphs (¶¶273–82, 284–85, 289, 292, 295–304, 306–19, 324, 326–29,
      331-32, 334–35, and 338), achieved Secondary compliance for one paragraph
      (¶272), and maintained Secondary compliance with eight paragraphs (¶¶270–71,
      283, 305, 320-23, 337, and 340). The City failed to reach Preliminary compliance
      for eight paragraphs (¶¶286–88, 290–91, 294, 336, and 339). See Training Figure 1
      below.

      Training Figure 1: Compliance Progress for Training
      Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




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      Training Progress through Nine Reporting Periods and Looking Ahead
      to the Tenth Reporting Period
      Through nine reporting periods, the City and the CPD have incorporated require-
      ments of the Training section into policies and written guidance. The City and the
      CPD have developed or updated many training materials to incorporate require-
      ments across the Consent Decree sections. Many of these trainings are reflected
      in the corresponding sections of this report.

      Looking ahead to the next reporting period, the IMT anticipates enhanced and
      more substantive compliance reviews in several areas based on the progress the
      City and the CPD have made in meeting and maintaining compliance levels. Such
      enhanced compliance reviews include recruit academy and field training, TOC
      oversight and training evaluations, training staffing, in-service training, and
      eLearning. Further progress is also expected on instructor selection and develop-
      ment, training and instructor evaluations, and attendance documentation to
      demonstrate that the required training is being received.

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      Specific compliance assessments, by paragraph, for the Training section are in-
      cluded in Appendix 6.




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      VII. Supervision
                                      Guiding Principles
      The IMT assessed compliance with the Supervision paragraphs in accordance with
      the Consent Decree’s “Guiding Principles.” These principles “are intended to pro-
      vide the Court, the Monitor, and the public with the context for the subsequent
      substantive requirements” and “the overall goals” (¶757):

              341. Effective supervisors, who lead by example and actively engage with the
              subordinates under their direct command, play a critical role in ensuring law-
              ful, safe, effective, and community-centered policing. To achieve this out-
              come, the Parties agree to the requirements set out below.

              342. The provisions of this Agreement are designed to ensure that CPD super-
              visors provide the effective supervision necessary for members to perform
              their duties lawfully, safely, and effectively and for members to improve and
              grow professionally. Further, the provisions of this Agreement are designed to
              allow supervisors to spend time monitoring and training members under their
              direct command so as to provide adequate opportunities to prevent, promptly
              identify, and promptly correct adverse officer behavior. This meaningful su-
              pervision will facilitate the establishment and re-enforcement of a culture of
              community policing, community and officer safety, and accountability
              throughout the Department.

              343. CPD should have the staffing necessary to promote lawful, safe, effec-
              tive, and community-centered policing; provide effective supervision; ensure
              officer safety and accountability; and implement the terms of this Agreement.

              344. Immediate supervisors of all ranks are responsible for supervising, man-
              aging, and overseeing, as appropriate, the day-to-day work activities of mem-
              bers under their direct command.

              345. Supervisors of all ranks are accountable for the performance of subordi-
              nate members directly observed or under their direct command.

              346. Effective supervisors will: a. engage in activities and conduct that sup-
              port the mission and goals of the Department, including those set forth in this
              Agreement; b. model appropriate conduct, including abiding by high stand-
              ards of integrity and adhering to the United States Constitution and other
              laws, CPD policy, and the terms of this Agreement; and c. consistently demon-
              strate professionalism, courtesy, and respect towards all people with whom
              they interact.




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      Summary of Compliance Efforts and Assessments

      Supervision in the Ninth Reporting Period
      Many of the City’s and the CPD’s efforts in the Supervision section of the Consent
      Decree rely on the concepts of unity of command and span of control. Unity of
      command requires that the same sergeant supervise the same group of police of-
      ficers. See ¶358. Span of control limits the number of officers any one sergeant
      can supervise daily. See ¶358. The goal of span of control is to create a consistent
      ratio of 10 officers to 1 sergeant to encourage effective supervision. This is a fun-
      damental change from the current model of shift (watch) scheduling and is a re-
      quirement of the Consent Decree.

      The Unity of Command and Span of Control Pilot Program was launched to imple-
      ment these concepts to enable more effective and efficient supervision, mentor-
      ing, officer support, and policing. Through the pilot program, the City and the CPD
      implemented a pod supervision structure (primary, secondary, and tertiary role for
      supervisors). The Unity of Command and Span of Control Pilot Program began in
      the 6th District during the second reporting period. In the fourth reporting period,
      the CPD expanded the pilot into the 4th and 7th districts. Ultimately, however, the
      CPD decided that implementing the Unity of Command and Span of Control Pilot
      Program in three districts was not feasible, so they chose to focus efforts on refin-
      ing the program within the 6th District.

      Despite the CPD’s continued efforts to implement the Unity of Command and Span
      of Control Pilot Program, the CPD has faced various challenges with the implemen-
      tation, as explained in previous IMT reports. The CPD continues to face staffing
      shortages that prevented the pilot districts from consistently meeting the 10-to-1
      officer-to-supervisor ratio required by ¶360. We learned that officers were not be-
      ing consistently overseen by the same supervisors, as envisioned by the pilot pro-
      gram. We also heard frustrations from officers regarding the staffing shortages,
      which not only hampered compliance with the program, but also created situa-
      tions in which understaffing could have reduced officer safety.

      In April 2022, the City and the CPD requested technical assistance from the IMT
      regarding the Unity of Command and Span of Control Pilot Program. During the
      sixth and seventh reporting periods, we had in-depth discussions with command
      staff, officers, and supervisors about the strengths and shortcomings of the pilot
      program. We were informed that the pod supervision structure did not consist-
      ently result in unity of command as envisioned. Therefore, in late June 2022, dur-
      ing the first technical assistance meeting, the City and the CPD shared their plans
      to develop a new staffing model to address several the shortcomings of the pod
      model. The new model, implemented in the ninth reporting period, focuses on



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      three tenets: (1) geographic familiarity, (2) high-quality supervision, and (3) re-
      source flexibility.

      During the ninth reporting period, the IMT closely observed the rollout of the Unity
      of Command and Span of Control Pilot Program based on the new staffing model
      in the 6th District. The City and CPD again began planning for expansion of the
      pilot programs into other districts. The pilots were implemented in the 4th district
      in October 2023 and will be implemented in the 7th district beginning in January
      2024.

      During monthly calls, the City and the CPD shared information about the progress
      of the pilot program. Since the launch of the new staffing model in the ninth re-
      porting period, compliance rates with span of control and unity of command have
      fluctuated in the 6th District (the primary pilot district). This variation has also
      been seen with respect to the frequency with which sergeants work in their as-
      signed sectors and officers work with sergeants who complete their performance
      evaluations. The IMT acknowledges the CPD’s efforts but looks forward to these
      numbers stabilizing across all periods and shifts.

      Additionally, the CPD has continued to provide updates on the staffing dashboard’s
      management tools for making staffing and operational decisions, which the IMT
      believes would enhance unity of command and span of control. We look forward
      to these percentages of time increasing and remaining stable over time. In the
      IMT’s opinion, the CPD members in the 4th and 6th Districts and in the patrol chain
      of command are dedicated to achieving compliance in this area, not only because
      it is required by the Consent Decree, but because they understand that these re-
      quirements are fundamental pieces of the structure and accountability required
      to be able to effectively and constitutionally police Chicago.

      The CPD originally chose to also begin implementing the pilots for the Perfor-
      mance Evaluation System and Officer Support System in the same districts as the
      Unity of Command and Span of Control Pilot Program. However, this reporting pe-
      riod, the CPD shared their plans to halt the Officer Support System pilot and in-
      stead work to combine the system with the legacy officer intervention systems.
      The IMT is supportive of this more streamlined approach and have accepted the
      CPD’s request to provide technical assistance for this effort. We believe that it
      makes sense to continue to pilot the Performance Evaluation System and Unity of
      Command and Span of Control Pilot Program together, because they both rely on
      effective supervision. As a result, however, the difficulties in fulfilling the require-
      ments with the Unity of Command and Span of Control Pilot Program will also
      cause difficulties in achieving the goals of the other pilot program.

      Finally, the CPD has also convened a Unity of Command and Span of Control Pilot
      Program Evaluation Committee, which is to meet at least quarterly to discuss im-
      plementation progress and share feedback from CPD personnel. This committee


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      has the potential to play an important role in the programs’ effective implementa-
      tion. The CPD has recently added similar tasks to this committee for the Perfor-
      mance Evaluation System and Officer Support System pilot programs. The IMT
      hopes that the committee will work to anticipate and address some of the possible
      challenges to ensure a smoother implementation process. However, from the
      IMT’s perspective, these meetings are structured as briefings to members rather
      than an opportunity for members to engage in robust, constructive conversations.
      The duties of the Evaluation Committee are clearly described in D20-02, Unity of
      Command and Span of Control Pilot Program, and it is not apparent to the IMT
      that those responsibilities are currently being fulfilled.

      The IMT believes that programs required by the Supervision section of the Consent
      Decree are being thoughtfully developed and implemented by the City and the
      CPD as a pilot. To test and develop strategies to implement Unity of Command and
      Span of Control, the Performance Evaluation System, and the Officer Support Sys-
      tem pilot programs in all CPD districts, the 6th District became the central location
      and focus of the IMT and the Parties as the pilot district. We recognize the afore-
      mentioned progress that has been made and the pilot in the 6th District was used
      to assess and grant Preliminary compliance, as policies and processes have been
      developed and are at various stages of implementation. However, the Consent De-
      cree requires that many of the paragraphs within the Supervision section be im-
      plemented and measured for compliance in all 22 CPD police districts. Therefore,
      while Preliminary compliance was achieved in the 6th District, further levels of
      compliance cannot be achieved until the pilot continues to expand and is able to
      be replicated and implemented in other districts. The IMT may be able to consider
      these levels of compliance once evidence of successful implementation is observ-
      able and measurable in multiple districts with unique challenges. The IMT looks
      forward to continuing to work with the City and the CPD toward the goal of broad-
      ening the impact of implementing an effective supervision structure in all 22 dis-
      tricts.

      As the CPD is strategically staggering implementation, there are supervision pilot
      programs in various stages of completion. Table 1 shows the progress of the pilots
      in active districts. Those districts in the “Expansion Planned” phase are actively
      receiving training and undergoing preparatory operational changes. Districts in the
      “Implementation Underway” phase have begun operating under the model and
      are tracking compliance with the pre-determined success metrics. Districts in the
      “Implementation Complete” phase have achieved and maintained compliance
      with pre-determined success metrics.




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      Table 1. Progress of Supervision Pilot Programs

       CPD District                          Unity of Command/         Performance Evaluation
                                             Span of Control           System
       006 – Gresham                         Implementation Underway   Implementation Underway
       004 – South Chicago                   Implementation Underway   Implementation Underway
       007 – Englewood                       Expansion Planned         Expansion Planned


      Supervision Progress through Nine Reporting Periods
      Overall, we assessed the City’s compliance with 29 Supervision paragraphs during
      the ninth reporting period (¶¶347–57 and 359–76). In the ninth reporting period,
      the City and the CPD maintained Preliminary compliance for 25 paragraphs
      (¶¶347–55, 359–64, and 367–76). The City and the CPD did not reach any level of
      compliance with four paragraphs (¶¶356–57 and 365–66).

      Supervision Figure 1:                       Compliance Progress for Supervision
             Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




      Looking Ahead to the Tenth Reporting Period
      In the tenth reporting period, the IMT will review data relevant to the Unity of
      Command and Span of Control Pilot Program such as assignment sheets, transfer
      orders, and other relevant records. The IMT also looks forward to receiving access
      to the Watch Application Sheet and Unity of Command and Span of Control Tab-
      leau Dashboard. While the numbers and staffing are important, the IMT would
      also like to see discussions related to the pilot shift to include the guiding concepts.




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      We hope to work more collaboratively with the City and the CPD to identify and,
      if necessary, help develop data sources which accurately capture supervisory ac-
      tivities and show evidence of supervisors’ ability to provide appropriate support
      and accountability. The IMT will continue conducting interviews and focus groups
      with members of the three pilot districts. The IMT also anticipates observing any
      pilot program, pre-service supervisors, and in-service supervisors training along
      with evaluations of that training. Further, we plan to observe future evaluation
      committee meetings and hope to see a shift from a briefing model to a more col-
      laborative and conversational structure.38

                                                       ***

      Specific compliance assessments, by paragraph, for the Supervision section are in-
      cluded in Appendix 7.




      38
           In the City’s comments to a draft of this report, the CPD argues that the IMT gives improper
           weight to the Unity of Command and Span of Control program as outlined by ¶¶357, 359–368.
           The CPD notes that “[t]he requirements of the other paragraphs listed (348–355) outline su-
           pervision requirements for all supervisors,” rather than those just in the pilot districts. The IMT
           reiterates that it assesses ¶¶347–356 separately from ¶¶357, 359–368 in accordance with the
           methodologies specific to ¶¶347–356. The IMT has requested—and has recently begun to re-
           ceive—data relating to compliance for ¶¶347–356. The IMT looks forward to continuing to
           receive data relating to ¶¶347–356 as it assesses compliance for those paragraphs.


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      VIII. Officer Wellness and Support
                                       Guiding Principles
      The IMT assessed compliance with applicable Officer Wellness and Support para-
      graphs in accordance with the Consent Decree’s “Guiding Principles.” These guide-
      lines “are intended to provide the Court, the Monitor, and the public with the con-
      text for the subsequent substantive requirements” and “the overall goals” (¶757):

               377. In fulfilling their duties, CPD members expose themselves to significant
               danger, high stress, and a wide spectrum of human tragedy. There is growing
               recognition that psychological and emotional wellness are critical to officers’
               health, relationships, job performance, and safety. The City and the CPD have
               an obligation to help CPD members cope with the consequences that come
               from their service to the public.

               378. The City and the CPD’s obligation to CPD members includes providing
               adequate support systems to treat members experiencing mental health, sub-
               stance abuse, and other emotional challenges.

               379. The City and the CPD’s obligation to CPD members also includes equip-
               ping them in a manner that enables them to do their jobs as safely as reason-
               ably possible. CPD will ensure that the safety of its members is not jeopardized
               by equipment and technology that is outdated, broken, or in need of repair or
               replacement.

               380. The City and the CPD will implement the following requirements in order
               to achieve a healthy, effective, and constitutionally compliant police force.


      Summary of Compliance Efforts and Assessments

      Officer Wellness and Support in the Ninth Reporting Period
      During the ninth reporting period, the City and the CPD took several steps forward
      toward Full compliance, by establishing new partnerships. For example, the IMT
      learned of the CPD’s development of a Peer Support video in partnership with the
      International Association of Chief’s of Police and the Bureau of Justice Assistance
      VALOR program called the Roadmap to Resilience, which will be available in Spring
      2024. The IMT appreciates the CPD’s efforts to create external partnerships re-
      sulting in a video that will be shared not only with CPD membership to emphasize
      the department’s focus on wellness, but also on a national level. The IMT also ap-
      preciates the City and the CPD for working with other external partners to support
      the mission of wellness, such as their partnership with the Hartgrove Hospital,
      which has provided training on stress management.



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      While the City and CPD are taking actionable steps forward, there is still more
      work to do in line with the guiding principles of the Consent Decree to support
      member wellness and support.
      We remain quite concerned, for example, that the required Suicide Prevention In-
      itiative has not yet been completed or implemented (see ¶388). We urge the CPD
      to prioritize this important deliverable.
      As stated in the guiding principles for this section (see ¶377–80), CPD members
      expose themselves to significant danger, high stress, and a wide spectrum of hu-
      man tragedy. The City and the CPD have an obligation to help CPD officers and
      civilian personnel cope with the consequences that come from their service to the
      public. This includes providing adequate support systems to treat CPD personnel
      experiencing mental health, substance-use disorder, and emotional challenges.
      The City and the CPD continued to face challenges related to several areas in this
      reporting period. Obstacles to advancing toward further compliance include the
      following:

      •   Well-intended yet inadequate efforts to achieve further compliance;

      •   Inadequate or nonexistent data collection to analyze and evaluate wellness
          efforts;

      •   Challenges to fill vacant positions required to service the agency and ensuring
          current staff are certified as required; and

      •   Failure to remedy issues identified in concurrent annual Traumatic Incident
          Stress Management Program audits.
      In the ninth reporting period, the City and the CPD showed some improvement
      with data collection efforts. The IMT reviewed some reports that included data
      analysis to demonstrate some improvement in the way the CPD has begun to cap-
      ture data and report specific activity reflective of the wellness work of the CPD.
      For example, the City and the CPD regularly share updates on the delivery and
      deployment of the wellness application pertaining to member utilization data, and
      the numbers continue to increase along with the amount and types of content
      shared through the app. This technology appears to be a useful tool for the CPD
      personnel.
      The IMT appreciates the City and the CPD’s efforts to build efficiency and effec-
      tiveness in delivering wellness services, and we encourage them to continue to
      develop systems to assess how well its efforts are working. Specifically, as the CPD
      collects wellness-related data, the IMT encourages the CPD to take the time to



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      intentionally analyze them to ensure that they are producing the necessary ana-
      lytics that can accurately measure both output (the quantity) and the outcome
      (quality) of their work.
      Still, inadequate data collection and analysis efforts hinder progress toward com-
      pliance with several paragraphs of the Officer Wellness and Support section (see
      ¶¶388, 391–92, 394–95, and 398–99). For example, the City and the CPD had
      launched a Voluntary Wellness Check-In program (see E07-07) encouraging mem-
      bers to prioritize their wellness. However, due to the program’s popularity and the
      City and the CPD’s informal mechanism for scheduling wellness check-ins (via
      email), the program quickly overburdened the clinicians in the Professional Coun-
      seling Division (PCD) and was placed on a temporary pause, with the intention to
      re-launch in 2024 and acquire a scheduling tool.
      Moreover, caseload identification and management continue to be a struggle for
      the PCD, and the IMT has continually stressed the importance of a staffing analysis
      to determine the appropriate number of clients per clinician and alcohol and drug
      use counselors. In the instance of the cancellation of the Voluntary Annual Well-
      ness Check-Ins, the City and the CPD could have considered options noted in ¶391
      and ¶394—external referrals to counseling services and/or hiring contract em-
      ployees, but they chose the pause the program.
      Complicating this issue further, the City and the CPD have not filled their remain-
      ing three clinician positions while adjusting the pay levels for the clinicians to be
      in line with the new pay status offered for the police clinical therapist positions.
      Thus, the informal scheduling mechanism, inability to fill the remaining open po-
      sitions, and lack of an established caseload continue to negatively impact mem-
      bers and their ability to receive wellness services.
      During the ninth reporting period, the City and the CPD also produced several sig-
      nificant deliverables, including the 2023 Officer Wellness Needs Assessment and
      the 2023 Officer Wellness Support Plan. While these reports are an important step
      toward compliance, the IMT and the OAG encouraged the City and the CPD to
      reassess their methods for conducting the Needs Assessment. For example, the
      Needs Assessment will require a considerable overhaul for the City and the CPD to
      capture a more in-depth analysis of the wellness services provided to the CPD
      membership. The Needs Assessment should serve as a portal for determining how
      services and programs are utilized, which could support future budgetary needs,
      as intended by ¶¶382–83. However, the cadence of this report should be inten-
      tional, alongside other deliverables required by the Consent Decree, to include the
      Officer Wellness and Support Plan, the Suicide Prevention Initiative (¶388), and the
      Annual Report to the Superintendent (¶389).



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      The IMT supports sound scheduling that establishes both a solid foundation for
      setting and attaining realistic goals and expectations for both the organization and
      the membership. These refined efforts help to establish reliability, trust building,
      and value in the work that is being done to support organizational wellness for all
      employees of the CPD.
      Finally, in the ninth reporting period, the Audit Division produced the second an-
      nual Traumatic Incident Stress Management Program (TISMP) audit (see ¶411).
      The IMT appreciates the production of this required annual audit. The latest audit
      identified some of the same concerns that existed in the previous audit. For ex-
      ample, ¶407 requires the City and the CPD to ensure counseling follows a duty-
      related traumatic incident. The documentation is required before the individual
      returns to full duty unless they are medically unable to do so. The timing require-
      ment of these post-incident events is within seven days. As with the 2022 TISMP
      Audit, the 2023 TISMP Audit identified individuals who should have met the TISMP
      requirements but did not. There are numerous reasons this could have occurred:
             (1) Events are not always clear-cut and may not always neatly fall
             within a particular criterion noted in policy E06–03 Traumatic Inci-
             dent Stress Management Program. Correspondingly, the IMT rec-
             ommends that policy E06-03 be further reviewed to determine
             whether there are additional criteria for incidences/circumstances
             that qualify to be listed. Recognizing that not every circumstance
             could be noted, it is further recommended that the policy be re-
             viewed to consider an amended statement to include the potential
             for events foreseen and unforeseen.
             (2) The analysis does not capture all incidents that could be de-
             clared traumatic.
             (3) Supervisory staff are unable to refer individuals based on lack of
             necessary knowledge pertaining to the TISMP. During the scope of
             audit, seven watch operations lieutenants were interviewed to fur-
             ther assess their understanding of serious injuries and what war-
             ranted a TISMP referral, and three of the seven were unable to con-
             firm the circumstances when the referrals were required.
      The IMT remains concerned about personnel who are not referred to the TISMP,
      continue to work, and are further exposed to potential cumulative-related trauma
      issues without being cleared to return to duty. The CPD and the City remain unable
      to fully identify those who were referred, counseled, completed the program, and
      released. The implication of this gap could prove detrimental to the CPD members
      who need this mandatory step, to the organization, and to the public. We urge the


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      City and the CPD to rectify these processes in the next reporting period – through
      revisiting policy, emphasizing supervisor training, and refining auditing functions.

      Officer Wellness and Support Progress through
      Nine Reporting Periods
      Overall, the IMT assessed the City’s compliance with 36 Officer Wellness and Sup-
      port paragraphs in the ninth reporting period (¶¶381–402, 404 and 406–18). The
      City and the CPD maintained Preliminary compliance with 17 paragraphs (¶¶384,
      388, 394–95, 398–400, 402, 407–414, and 418), achieved Preliminary compliance
      with three paragraphs (¶¶415–17), maintained Secondary compliance with 12
      paragraphs (¶¶381–83, 385–87, 390–93, 401, and 406), achieved Secondary com-
      pliance with three paragraphs (¶¶396–97 and 404), and is under assessment for
      Preliminary compliance with one paragraph (¶389).

      Officer Wellness Figure 1:              Compliance Progress for Officer Wellness
              Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




      Looking Ahead to the Tenth Reporting Period
      The City’s and the CPD's obligation to its members cannot be met without reme-
      dying the aforementioned issues related to data collection and analysis, staffing,
      and overarching remedies and responses to the 2022 and 2023 TISMP audits. At
      the end of the ninth reporting period, the City and the CPD continued to face sig-
      nificant barriers to their reform efforts, lacking data collection to inform its initia-
      tives as the driving factor. For the City and the CPD to advance to further levels of
      compliance, or in some instances maintain its current levels of compliance, the


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      IMT expects to see data demonstrating what level of services have been provided
      by the current staffing of the Professional Counseling Division, including anony-
      mized information of the clients, services provided, caseload, volume of client,
      and related demands.
      The IMT also expects to see significant efforts put into remedying the issues iden-
      tified in the TISMP audits. Ensuring all CPD members have a proper awareness and
      understanding of these initiatives will help them to implement these initiatives in
      the manner for which they are intended.
      We look forward to working with the City and the CPD in the tenth reporting pe-
      riod to further build out the process for an intentional Needs Assessment and Of-
      ficer Wellness Support Plan and learning how the City and the CPD plan to priori-
      tize and schedule the reports required by the Consent Decree.

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      Specific compliance assessments, by paragraph, for the Officer Wellness and Sup-
      port section are included in Appendix 8.




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      IX. Accountability and Transparency
                                        Guiding Principles
      The IMT assessed compliance with applicable Accountability and Transparency
      paragraphs in accordance with the Consent Decree’s “Guiding Principles.” These
      principles “are intended to provide the Court, the Monitor, and the public with the
      context for the subsequent substantive requirements” and “the overall goals”
      (¶757):

               419. Holding public servants accountable when they violate law or policy is
               essential to ensuring legitimacy and community confidence.

               420. A robust and well-functioning accountability system in which CPD mem-
               bers are held to the highest standards of integrity is critical to CPD’s legitimacy
               and is a priority of CPD. A culture of accountability also promotes employee
               safety and morale, and improves the effectiveness of CPD operations. Organ-
               izational justice also plays an important role in ensuring that CPD members
               have confidence in the legitimacy of the system that holds them accountable.

               421. In order to foster public trust and receive critically important community
               feedback, and promote confidence in CPD, the City and CPD will ensure the
               process for submitting and pursuing complaints that allege violations of CPD
               policy or the law by CPD members is open and accessible for all individuals
               who wish to file complaints.

               422. Meaningful community involvement is imperative to CPD accountability
               and transparency. Nothing in this Agreement should be construed as limiting
               or impeding community participation in CPD’s accountability system, includ-
               ing the creation and participation of a community safety oversight board.
               OAG and the City acknowledge the significant work many of Chicago’s com-
               munity organizations have undertaken and are continuing to undertake, in-
               cluding work alongside CPD, in the area of police reform and accountability,
               and OAG and the City know this critical work will continue.

               423. The City, CPD, and COPA will ensure that all complaints of misconduct,
               whether from internal or external sources, are thoroughly, fairly, timely, and
               efficiently investigated in accordance with this Agreement; that all investiga-
               tive findings are supported by the appropriate standard of proof and docu-
               mented in writing; and that all CPD members who commit misconduct are
               held accountable pursuant to a disciplinary system that is fair, timely and con-
               sistent, and provides due process.




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      Summary of Compliance Efforts and Assessments

      Accountability and Transparency in the Ninth Reporting Period
      The Accountability and Transparency section of the Consent Decree requires re-
      form efforts from many City entities. The reach of the section is vast—involving
      several City entities—and is motivated by the guiding principles at the outset of
      the Section, as shown above (¶¶419–23).

      The Accountability and Transparency section of the Consent Decree explicitly sets
      obligations for the following City entities: the Chicago Police Department (CPD)
      and the CPD’s Bureau of Internal Affairs (BIA), the Office of the Inspector General’s
      (OIG) Deputy Inspector General for Public Safety (Deputy PSIG), the Civilian Office
      of Police Accountability (COPA), the Police Board, and most recently, the Commu-
      nity Commission for Public Safety and Accountability (CCPSA). In addition, some of
      the requirements of the Accountability and Transparency section call for action by
      the City of Chicago. All of these moving parts make up a complex Accountability
      system in the City of Chicago.

      While the CPD, COPA, the Deputy PSIG, and the Police Board are working toward
      the common goal of increased accountability and transparency, these entities
      work toward this goal in different manners as appropriate for each entity and as
      required by the Consent Decree. These entities have each found success in com-
      plying with the requirements set out in the Accountability and Transparency sec-
      tion at different paces and with varying degrees. The Deputy PSIG, for example,
      achieved Full compliance with all requirements pertaining to its office in the fourth
      reporting period and maintained that Full compliance during subsequent report-
      ing periods. In the previous reporting period, the Deputy PSIG successfully com-
      pleted its Sustainment Period, marking two full years that it had maintained Full
      compliance with all requirements pertaining to its office. Therefore, in the ninth
      reporting period, the Parties moved to release OIG and PSIG from its Consent De-
      cree requirements because it successfully completed the required two-year sus-
      tainment period, which was granted by the court.

      Additionally, COPA and the Police Board have developed and followed plans that
      have allowed them to consistently gain compliance with various requirements of
      this section in the past few reporting periods. Specifically, in the ninth reporting
      period, COPA achieved Full compliance with numerous paragraphs.

      The CPD had been following a less methodical path toward compliance with the
      Accountability and Transparency requirements, which caused them to fall behind
      in complying with Accountability and Transparency requirements. However, in the
      eighth and ninth reporting periods, the CPD has started to make notable progress.



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      The CPD focused its efforts on developing policies to implement its Consent De-
      cree requirements in the first four years and in recent reporting periods has turned
      its efforts toward developing specific Bureau of Internal Affairs (BIA) trainings,
      which helped to achieve Secondary compliance with numerous paragraphs in the
      ninth reporting period.

      Adding to the complex nature of the City of Chicago’s accountability system, during
      the ninth reporting period, there was a sharp decline in collaboration between the
      CPD and COPA with regard to report access, data access, and regularly occurring
      collaborative conversations that have been nearly obsolete in recent months. As
      we have noted, the City’s accountability system is complex and requires consistent
      communication and collaboration among all entities.

      Accountability and Transparency Progress through
      Nine Reporting Periods
      Overall, the IMT assessed the City’s compliance with 139 Accountability and Trans-
      parency paragraphs. With the combined efforts of all the City entities noted in this
      section, the City maintained Preliminary compliance with 46 paragraphs (¶¶–439,
      444–45, 448, 453–56, 459–61, 463–68, 471, 475–76, 479, 481–84, 486, 487, 493,
      495, 497, 499, 501, 503–04, 516–19, 522–25, 532, and 540–42) and met Prelimi-
      nary compliance with seven paragraphs in the ninth reporting period (¶¶480, 526–
      27, 530–31, 544, and 564). The City also maintained Secondary compliance with
      24 paragraphs (¶¶426–29, 432–35, 446, 449, 452, 457, 462, 469, 470, 472,474,
      496, 498, 500, 502, 511, 551, and 560) and met Secondary compliance with 21
      paragraphs (¶¶424–25, 431, 436-38, 440, 443, 447, 450, 477–78, 505–09, 513–15,
      and 552). The City also maintained Full compliance with 22 paragraphs (¶¶441–
      42, 485, 533–39, 543, 550, 554–59, 561–63, and 565) and met Full compliance
      with 2 paragraphs (¶¶430 and 473). The City did not reach any level of compliance
      with 17 paragraphs (¶¶451, 488–92, 494, 512, 521, 528–29, 545–49, and 553).




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      Accountability Figure 1: Compliance Progress for Accountability & Transparency
             Paragraphs at the End of the Ninth Reporting Period (December 31, 2023)




      Given the variable nature of the Accountability and Transparency Section require-
      ments for each City entity, we provide a summary of each entity’s efforts sepa-
      rately.

      The Chicago Police Department (CPD)

      We have monitored the CPD’s progress in a variety of ways, including attending
      frequent meetings with BIA and the CPD’s Research and Development Division to
      obtain updates on efforts and ask questions, reviewing draft policies and training
      materials, observing training sessions, and conducting site visits to gain insight
      from Accountability Sergeants and BIA investigators.

      During the ninth reporting period, the CPD continued to make significant progress
      by reaching Secondary compliance with numerous paragraphs through the finali-
      zation and delivery of various BIA in-service trainings. Although the CPD achieved
      Secondary compliance this reporting period with numerous paragraphs because
      they delivered various BIA in-service trainings, the CPD must ensure that future
      training records are provided through clear documentation as to who attended the
      training, as well as who was required to attend. Additionally, the IMT received
      training records clarifications in January 2024, and we expect these records to be
      produced formally early in the tenth reporting period. We still acknowledge the
      CPD’s training efforts and encourage the CPD to continue making progress to reach
      additional levels of compliance in the coming reporting periods.




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      We also appreciate the continued improvement in quality of the CPD’s annual and
      quarterly BIA reports, as well as its openness to ongoing improvements to the re-
      ports. The CPD also began producing materials early in the ninth reporting period
      and maintained a regular cadence throughout. In past reporting periods, we have
      raised concerns about the CPD producing a large number of documents at the end
      of a reporting period. However, in the ninth reporting period, the CPD only pro-
      duced seven submissions in the last month, which allowed for more collaborative
      discussions throughout the entirety of the reporting period.

      Additionally, in previous reporting periods, we have raised concerns that the CPD
      continued to meet once per month with the IMT. However, in the ninth reporting
      period, BIA met individually with the IMT many times per month, typically weekly.
      These ongoing discussions were beneficial to the progress the CPD made this re-
      porting period, and we look forward to continuing those discussions in the tenth
      reporting period.

      Although the CPD developed, finalized, and delivered various BIA in-service mod-
      ules, many CPD trainings still remain in development. Specifically, the CPD worked
      with the IMT during the seventh and eighth reporting periods to develop and re-
      vise the CPD’s BIA Onboard Training. In the eighth reporting period, the CPD con-
      tinued to focus its efforts on its BIA Onboard Training. Throughout the reporting
      period, the IMT worked closely and collaboratively with BIA to review and provide
      comments on the BIA Onboard Training. Despite these efforts, the CPD was not
      able to achieve additional levels of compliance with ¶¶526–28 in the eighth re-
      porting period. Toward the end of the previous reporting period, after many dis-
      cussions about the format and purpose of the BIA Onboard Training (including
      how that training could be repurposed to satisfy ¶¶526–28), the CPD began to
      move away from structuring the training as one all-encompassing training, with
      relevant training topics woven throughout the multi-day training and toward struc-
      turing the training as subject-specific blocks of instruction. We suggested that this
      change in structure would improve the quality and efficacy of the training, and
      would also provide the CPD with the opportunity of seeking and gaining compli-
      ance with various paragraphs on a rolling basis as it drafted and provided the train-
      ing, rather than linking compliance with many Consent Decree paragraphs to-
      gether such that the CPD could not obtain compliance until the entire BIA Onboard
      Training was drafted, approved, and provided to new BIA personnel.




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      In the ninth reporting period, the CPD developed and finalized BIA in-service train-
      ing. Throughout November and December 2023, the CPD began training on the
      following topics:

      •   Complaint Management System and Complete Investigative Files
      •   Initiation of Complaints
      •   Sexual Misconduct Initiation and Trauma Informed Response to Sexual Assault
          (TIRSA) Review
      •   Consent Decree and Law Review
      •   SharePoint, Summary Punishment Administrative Reports (SPARS), and Perfor-
          mance Recognition System (PRS)
      •   Procedural Justice, Implicit Bias, and Conflicts of Interest

      However, the training attendance records provided to the IMT confirming that at
      least 95% of the required personnel completed the training sessions were not pro-
      duced formally. We expect the CPD to produce these records formally early in the
      tenth reporting period. Meanwhile, the CPD continues to have multiple other
      modules in draft stage and is working collaboratively with the IMT and OAG. We
      look forward to its continued focus on training in the tenth reporting period.

      At the same time, we have several concerns regarding the CPD’s processes during
      this reporting period. For example, in the previous reporting period, the IMT noted
      that the CPD provided evidence that more than 95% of all CPD members had taken
      and passed the BIA eLearning, which enabled the CPD to achieve Secondary com-
      pliance with several Accountability and Transparency paragraphs. The IMT, how-
      ever, noted concerns about the number of civilians who completed the eLearning
      course. Although Secondary compliance requires only that the CPD train at least
      95% of all CPD members (which means any sworn or civilian employees of the CPD,
      see ¶743), only 49% of civilian CPD employees had completed the eLearning
      course in the eighth reporting period. Additionally, there were multiple positions
      or ranks for which less than 50% of the employees completed the eLearning
      course. We urged the CPD to take a more holistic approach to training a true rep-
      resentation of 95% of all CPD members and that the IMT will consider this in con-
      nection with the CPD’s efforts to reach Full compliance with those paragraphs. Fur-
      ther, we noted that the BIA eLearning course did not relieve BIA from the respon-
      sibility of providing a more comprehensive training specific to Internal Affairs in-
      cluding in-service and onboard training. The training that is required for most CPD
      members to understand certain policies and procedures of the CPD is not and will
      not be as comprehensive as what is required of members of BIA.

      During the ninth reporting period, we learned that BIA is working on training ma-
      terials that cover certain requirements of these subjects, as well as updating and
      re-delivering its BIA eLearning during the 2024 calendar year. We look forward to




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      continuing to work with BIA collaboratively in the tenth reporting period in devel-
      oping, finalizing, and delivering various trainings.

      Additionally, during the ninth reporting period, the CPD revised BIA’s Prohibition
      on Retaliation eLearning, which helped the CPD achieve Secondary compliance
      with two paragraphs. However, the IMT raised a concern regarding the timing of
      the completion of the training because it appeared that the CPD began the training
      before receiving a no-objection notice from the OAG, as required by ¶641. The
      CPD provided a written explanation for the error and indicated its plans to provide
      a supplemental eLearning in the tenth reporting period. Although the eLearning
      began before the OAG provided a no-objection notice—contrary to ¶641—the City
      and the CPD achieved Secondary compliance for this training in the ninth reporting
      period. We hope, to avoid this issue in the future, the City and the CPD will ensure
      they receive no-objection notices from both the IMT and the OAG before enrolling
      participants in training.

      During site visits in August 2023, the IMT met with BIA leadership, as well as indi-
      viduals developing training. These meetings were very helpful for the IMT to learn
      more about the progress and priorities of BIA.

      Additionally, as we have noted in the past, we have gained insight into the day-to-
      day responsibilities and experiences of Accountability Sergeants and BIA Investi-
      gators. As stated in the past few reporting periods, some of the information the
      IMT continues to learn about the day-to-day responsibilities and experiences of
      Accountability Sergeants and BIA Investigators are cause for great concern.

      For example, we continue to remain concerned that Accountability Sergeants do
      not have designated areas in the district where they can conduct interviews, re-
      view videos confidentially, and complete their investigations. Some Accountability
      Sergeants have indicated that they have access to a private office only because
      they serve in some other role, such as an Administrative Sergeant, and most others
      must attempt to locate private space subject to availability, such as a Commander’s
      office or a conference room that may or may not be in use. We also learned in past
      reporting periods that Accountability Sergeants are not properly equipped to effi-
      ciently conduct investigations or utilize the Case Management System and are of-
      ten using old technology with outdated and slow processing systems that cannot
      keep up with the Case Management System.

      When the IMT suggested in a previous reporting period that Accountability Ser-
      geants could be equipped with laptop computers to use for completing investiga-
      tions, many were hopeful that this would occur due to the need for improved tech-
      nology to adequately perform their duties. At the same time, others shared con-
      cerns that, with laptops, the CPD would then require them to complete the inves-
      tigations at home on their personal time because they do not have time to com-



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      plete the investigations during the workday as a result of their conflicting respon-
      sibilities. Many BIA investigators shared the same thoughts and concerns and de-
      scribed BIA computer workstations with old technology and outdated computers
      that cannot keep up with the Case Management System sometimes cause them to
      wait hours for a case file to upload into the Case Management System.

      In the sixth reporting period, the IMT raised concerns that Accountability Ser-
      geants would not be able to comply with Special Order S08-01-05, Conducting Log
      Number Investigations, because this policy requires Accountability Sergeants to
      audio-record interviews and upload the interviews into the Case Management Sys-
      tem. Based on the information we learned in conversations during past site visits
      with Accountability Sergeants, we were very concerned that Accountability Ser-
      geants were not properly equipped to comply with this policy and would be in
      violation of the policy once it was implemented for reasons outside their control.
      The IMT provided comments to the CPD in the sixth reporting period noting that,
      for this policy to be followed once it becomes effective, Accountability Sergeants
      must be properly equipped. This included, at a minimum, having recording de-
      vices; quiet, private spaces in which to conduct interviews; and the ability to up-
      load recordings into the Case Management System. During the seventh reporting
      period, the IMT was encouraged to learn that the CPD purchased audio recording
      devices for their Accountability Sergeants. Accountability Sergeants also received
      training in how to use the recorders. However, the IMT only received the CPD’s BIA
      Recorder Training after the training was implemented. We explained, as we have
      in previous reporting periods, that individuals who received the unapproved train-
      ing will need to attend the new training once approved by the IMT and the OAG.
      Throughout the ninth reporting period, the CPD worked with the IMT and the OAG
      to revise CPD’s BIA Recorder Training, which remained in the collaborate review
      and revision process at the end of the reporting period.

      Additionally, the IMT continues to be concerned about the lack of reform of the
      Accountability and Disciplinary process. During site visits in previous reporting pe-
      riods, the IMT met with random individual Accountability Sergeants to discuss
      their experiences. Through these conversations, we continued to learn the harsh
      realities on the ground and challenges that BIA Investigators and Accountability
      Sergeants face when performing their duties. Even though ¶494(b) requires two
      Accountability Sergeants to be assigned in each district, we have continued to
      learn this is not occurring in practice. As stated in previous reporting periods, most
      districts have allocated only one sergeant as the Accountability Sergeant and the
      district or unit may or may not have designated a “backup sergeant” for case as-
      signment when the primary Accountability Sergeant is away from duty. The backup
      Accountability Sergeant performs other assignments in the district and only has
      cases assigned during the absence of the “Primary Accountability Sergeant.” This
      continues to create a very high caseload for the one designated Accountability Ser-



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      geant. One district the IMT previously visited had a Primary Accountability Ser-
      geant, but when we visited, that Sergeant was working as the desk sergeant in the
      district. In another district, the Primary Accountability Sergeant was assigned out
      in the field and had to come back to the District Office to meet with us. This is not
      a new issue. We have noted this issue going back to at least the sixth reporting
      period. We continue to encourage the CPD to designate two Accountability Ser-
      geants with their primary responsibility being receiving, processing, and investi-
      gating complaints against CPD members rather than other duties like serving as
      the desk sergeant or the field sergeant for the day.

      Finally, the CPD has not yet finalized its Officer-Involved Shooting and Officer-In-
      volved Death Incident policy, which is arguably one of the most important require-
      ments of the Consent Decree. Over the past five years, the IMT and OAG have seen
      major stalls in development of this important policy. The IMT continues to believe
      that the current version of these policies (G03-06, G03-06-01, and G03-06-02) re-
      quire significant changes to sufficiently address the requirements of the Consent
      Decree (see ¶¶488–91). While the CPD clarified various issues for the IMT and
      OAG in its response during the ninth reporting period, the underlying concerns or
      ambiguities remain in the policies. Additionally, the IMT remains concerned that
      this policy has been in the revision phase for many years, and we still believe it
      requires significant work to be finalized. We again suggest that the CPD work
      closely with the IMT and the OAG to work through the draft before the next draft
      is sent for review in the tenth reporting period.

      Further, as we have noted previously, the IMT continues to believe that this policy
      must be revised in various sections to emphasize the foundational role that the
      Civilian Office of Police Accountability (COPA) plays in investigations of firearm dis-
      charges, officer-involved shootings, and officer-involved deaths. See ¶488. Some
      sections still appear to limit COPA’s access to crime scenes. The IMT continues to
      believe that there should be no reason to deny COPA access to an investigative
      crime scene (see ¶488) and encourages the CPD to eliminate the possibility of ar-
      bitrary determinations from scene-to-scene and investigation-to-investigation.

      Moving forward, we will look for the CPD to be more consistent by developing and
      finalizing policies in a focused and timely manner, and continuing to develop and
      revise training related to the policies it has developed and implemented under the
      Consent Decree thus far. 39 We continue to encourage the CPD to produce materi-
      als for IMT and OAG review early in the reporting periods and in a regular cadence.


      39
           In the City of Chicago’s Comments to a draft of this report, the City and the CPD purported that
           policy is the only requirement for Preliminary compliance and that a BIA Quarterly report is
           the only requirement for Secondary compliance for ¶529. This is mistaken. Preliminary com-
           pliance methodology for ¶529 has remained the same since the fifth reporting period, and the




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      These materials should be produced in a manner that allows for meaningful review
      and comment from the public. This will allow the IMT and OAG to engage in sub-
      stantive conversations with the CPD during the development of policies and train-
      ing. We look forward to continuing to work with the CPD as it continues to develop
      and finalize its policies, as well as develop and deliver its training.

      Civilian Office of Police Accountability (COPA)

      In the ninth reporting period, COPA continued making efforts toward compliance
      with Accountability and Transparency requirements. The IMT continued to meet
      with COPA monthly and each meeting was deliberate and demonstrated COPA’s
      commitment to not only fulfilling the requirements of the Consent Decree but rec-
      ognizing the opportunity to improve their operational capacity and quality of their
      operations. Additionally, COPA worked diligently to develop and deliver the miss-
      ing requirements for many paragraphs for Full compliance. The IMT appreciates
      the opportunity for continued conversations to discuss what measures are neces-
      sary for Full compliance. We also appreciate COPA’s perspective regarding ongoing
      discussions with the IMT. We look forward to continuing positive collaboration in
      future reporting periods.

      One of COPA’s principal achievements of the previous reporting period was its Peo-
      ple’s Academy training (the “Academy”). COPA developed the Academy for mem-
      bers of the community and began offering it in the eighth reporting period. The
      first cohort of the Academy began in March 2023 and consisted of one class ses-
      sion per week for six weeks. Each session was several hours long and involved a
      variety of topics, all addressing the scope of COPA’s responsibilities and roles. The
      IMT audited one session of the Academy in April 2023. We were impressed with
      the Academy and anticipated that COPA would continue this valuable community
      interaction. In the ninth reporting period, COPA offered its second cohort of the
      Academy, which began in October 2023. The IMT audited many of the sessions of
      the Academy throughout the six-weeks and remain impressed by COPA’s contin-
      ued engagement with the community in a transparent and forward-looking man-
      ner to ensure that the community’s confidence in the COPA process grows. We
      look forward to the continuation of COPA’s People’s Academy in future reporting
      periods.

      In the previous reporting period, for many paragraphs for which COPA had previ-
      ously achieved Full compliance, COPA failed to provide the IMT with evidence of
      continued compliance. In some instances, this resulted in COPA losing compliance
      with paragraphs and instead dropping to Under Assessment with those para-
      graphs. We emphasized that, to maintain Full compliance, it is necessary for the

         Secondary compliance methodology for ¶529 has remained the same since the fourth report-
         ing period. Likewise, the changes that occurred then were only after thorough discussions with
         the Parties and ongoing opportunities for further input.


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      City and its entities to provide us with an update on those paragraphs each report-
      ing period. In addition, in many instances COPA did not designate its productions
      for review with all the paragraphs that were implicated in those productions.
      Throughout the ninth reporting period, COPA made a concerted effort to not only
      produce the majority of the material that had previously been omitted for Full
      compliance, but also worked to address many of the Full compliance concerns of
      the IMT and the OAG in previous reporting periods. The IMT is encouraged by the
      amount of work put forth in the ninth reporting period to regain Full compliance
      for some paragraphs and reach Full compliance with others. We look forward to
      working collaboratively with COPA and the OAG in the tenth reporting period to
      discuss methodologies for sustained Full compliance.

      Further demonstrating COPA’s efforts toward accountability and transparency,
      COPA continued working with the COPA Community Policy Review Working
      group.40 This working group consists of volunteers from across the Chicago com-
      munity who are dedicated to working with COPA to produce exemplary and com-
      munity-experience informed products. The group reviews COPA policies and doc-
      uments related to efforts under the Consent Decree. COPA ensures that the group
      is involved throughout the development of the policy and not just at the end of
      the revision process. By regularly engaging this group, COPA has produced policies
      and procedures that provide detailed direction to its personnel and important in-
      formation about COPA’s practices to the community.

      We acknowledge COPA’s continued progress and encourage COPA to continue
      these efforts in future reporting periods to maintain and reach additional levels of
      compliance.

      The Chicago Police Board

      In the ninth reporting period the Police Board continued making progress toward
      fulfilling Accountability and Transparency section requirements. Throughout the
      ninth reporting period, we continued to meet with the Police Board on a monthly
      basis. These meetings are invaluable as the Police Board ensures that the Police
      Board leadership attends to share information with the IMT and OAG regarding
      their efforts. Beyond taking the steps necessary to achieve compliance levels, the



      40
           The OAG, the City, and the IMT have agreed to a stipulation that mandates that COPA will
           solicit feedback on the draft policies relevant to the Consent Decree from a working group that
           consists of community stakeholders and thereby approved by the IMT. See Stipulation Regard-
           ing the Policy and Training Review Process for the Civilian Office of Police Accountability
           (COPA), Illinois v. Chicago, Case No. 17-cv-6260 (January 30, 2020), https://cpdmonitoring-
           team.com/wp-content/uploads/2020/06/2020_01-Stipulation-Regarding-the-Policy-and-
           Training-Review-Process-for.._.pdf. The IMT has approved the members from COPA’s Commu-
           nity Policy Review Working Group.


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      Police Board has continued to show a dedication to the spirit of the Consent De-
      cree, taking reform, accountability, and transparency seriously.

      In past reporting periods, the Police Board achieved Full compliance with eight
      paragraphs—the Police Board maintained this Full compliance with all these para-
      graphs and achieved an additional level of compliance in the ninth reporting pe-
      riod reaching Full compliance with ¶531.

      The Police Board has not yet achieved Full compliance with all relevant Consent
      Decree paragraphs, but it continues to make thoughtful and methodical efforts
      toward compliance with these paragraphs. For example, the Police Board has con-
      tinued to work toward meeting training requirements. See ¶¶540–42. The Police
      Board has sought the help of outside entities on a pro bono basis to provide rele-
      vant and thorough training on topics required by the Consent Decree, and the
      trainings provided to date has been appropriate and helpful. In the eighth report-
      ing period, the Police Board provided materials for a Community Policing Training
      to the IMT and explained that it planned to provide this training to its members in
      the ninth reporting period. Although the Police Board provided a memorandum
      discussing that it completed the training, we did not receive attendance records.
      The IMT looks forward to the Police Board’s attendance records, as well as devel-
      opment and implementation of additional training in the coming reporting peri-
      ods.

      Moving into the tenth reporting period, we anticipate that the Police Board will
      continue to work toward Full compliance with relevant Consent Decree require-
      ments. We commend the Police Board for its continued efforts and progress to
      date.

      The Community Commission for Public Safety and Accountability (CCPSA)

      In 2021, the City of Chicago developed the new Community Commission for Public
      Safety and Accountability (CCPSA), therefore creating a new entity for police over-
      sight, accountability, and public safety. The CCPSA now is responsible for ¶¶525,
      532, and 565. In the previous reporting period, the City provided the IMT with the
      CCPSA procedures for selection of new Police Board members. There were vacan-
      cies on the Police Board at the time. We noted previous, that should the City final-
      ize those procedures and demonstrate that it follows the procedures in selecting
      new Police Board members, it faced an opportunity to achieve both Secondary and
      Full compliance in the ninth reporting period. In the ninth reporting period, the
      City produced documentation to demonstrate CCPSA’s compliance with the re-
      quirements of ¶532. However, the documentation revealed that the CCPSA did not
      follow the established and approved selection process and criteria previously de-
      veloped by the Police Board and the City, therefore failing to maintain Preliminary
      compliance. Until the CCPSA adopts the procedures developed by the Police Board


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      or develops a new selection process that meets the requirements of ¶532, the City
      will not achieve compliance with this paragraph.

      Deputy Inspector General of Public Safety (Deputy PSIG)

      The Deputy PSIG achieved Full compliance with all Consent Decree requirements
      relevant to the Deputy PSIG in the fourth reporting period. The Deputy PSIG made
      consistent efforts to maintain Full compliance in subsequent reporting periods. As
      we noted in the fifth reporting period, the Deputy PSIG developed a plan to main-
      tain Full compliance. It followed that plan through the end of the eighth reporting
      period, which marked the end of its two-year Sustainment Period. As stated above,
      in the ninth reporting period, the Parties moved to release OIG and PSIG from its
      Consent Decree requirements because it successfully completed the required two-
      year sustainment period, which was granted by the court. Therefore, the IMT will
      no longer monitor the Deputy PSIG going forward.

      Other City Entities

      As noted above, the City of Chicago often works toward and accomplishes compli-
      ance through the efforts of COPA, the Deputy PSIG, the CPD, the Police Board, and
      the CCPSA. However, other City entities occasionally undertake efforts relevant to
      compliance with Accountability and Transparency section paragraphs.

      In the eighth reporting period, the City provided materials explaining that it had
      extended its revised Community-Police Mediation Pilot Program, which offers a
      meaningful opportunity to build trust and facilitate honest discussions between
      community members and CPD officers, to run through December 31, 2023.
      Throughout the ninth reporting period, we met with the Mayor’s Office to receive
      updates on the program, but these meetings did not occur monthly as scheduled
      and were often cancelled. We have previously requested more regular updates
      going forward and are eager for more information about the progress of the pilot
      program.

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      Specific assessments, by paragraph, for the Accountability and Transparency sec-
      tion are included in Appendix 9.




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      X. Data Collection, Analysis & Management
                                       Guiding Principles
      The IMT assessed compliance with applicable Data Collection, Analysis, and Man-
      agement paragraphs in accordance with the Consent Decree’s “Guiding Princi-
      ples.” These principles “are intended to provide the Court, the Monitor, and the
      public with the context for the subsequent substantive requirements” and “the
      overall goals” (¶757):

               566. Data can empower CPD to engage in the type of critical self-examination
               essential to instilling and maintaining constitutional policing. CPD can lever-
               age data to ensure constitutional policing by: systematically collecting
               enough data to have a broad-based understanding of officers’ interactions
               with the public; auditing the data to ensure it accurately reflects those inter-
               actions; analyzing the data to identify trends or areas of concern; developing
               tailored support and interventions to address behavior that is or may become
               problematic; and assessing the effectiveness of attempts to modify officers’
               behavior.

               567. In addition to enhancing CPD’s capacity for internal accountability, CPD
               can use data to promote accountability to the public by regularly publishing
               data it collects.


      Summary of Compliance Efforts and Assessments

      Data Collection, Analysis, and Management in the
      Ninth Reporting Period
      During the ninth reporting period, the CPD made progress on several reforms re-
      quired by the Data Collection, Analysis, and Management section. For example,
      the CPD is required to conduct an analysis of its use-of-force data to identify any
      potential disparities in use of force based on “specific demographic categories, in-
      cluding race or ethnicity, gender, age, or perceived or known disability status”
      (¶572). During the ninth reporting period, the CPD contracted with an outside ven-
      dor to conduct the assessment, which is presently in the process of developing its
      methodology consistent with “published, peer-reviewed methodologies” (¶573).

      Additionally, the CPD re-achieved Preliminary Compliance and Secondary Compli-
      ance with paragraphs requiring it to provide “aggregated and incident-level
      data . . . regarding reportable use of force incidents via a publicly accessible, web-
      based data platform” (¶581). Through the CPD’s Use of Force Dashboard, this data
      is now downloadable again for the public, allowing for any interested community
      member to access the dashboard’s data and conduct independent analysis (in ad-
      dition to the range of analyses provided by the CPD on the dashboard itself).


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      During the ninth reporting period, the City and the CPD also made substantial pro-
      gress on their efforts to streamline data collection processes and ensure reliable
      data is collected to demonstrate compliance with each section of the Consent De-
      cree. As reported in our last assessment, the City and the CPD reached out to each
      Consent Decree section’s Associate Monitor to identify the data necessary to com-
      ply with their section, representing a collaborative process between the IMT and
      City to ensure that data collection systems and processes are reliably captured and
      mapped. During this reporting period, the City and CPD provided a final assess-
      ment report for ¶606 that will now be used to inform the development of a Data
      Systems Plan (see ¶607). We continue to emphasize the importance of the City
      and the CPD having effective data systems and data collection processes and look
      forward to working with the City and the CPD to develop the Data Systems Plan.

      We also note recent changes in the CPD’s approach for a significant portion of par-
      agraphs that pertain to the need for the CPD to create an early intervention system
      (EIS) (¶¶583–605). Previously, the CPD has conducted two pilot tests of its Officer
      Support System (OSS), which was designed to meet the intent of these paragraphs.
      As noted in prior monitoring reports, the CPD first conducted a pilot test in the 5th
      District, though the IMT identified several concerns with this pilot, primarily that
      no training was conducted with incoming supervisors, leading to a drop in partici-
      pation over time. The CPD then conducted a pilot in the 6th District but to-date,
      the IMT has not been provided with a complete evaluation of the pilot. We there-
      fore were unable to determine the success of this pilot with any degree of confi-
      dence. Upon completion of the pilot in the 6th District, the CPD considered com-
      ments and feedback from pilot participants and collective bargaining unit (CBU)
      leadership. In part, the CPD received feedback that other non-disciplinary, inter-
      vention-based systems were already active within the department, leading to
      questions about how the OSS differed from these systems (the IMT heard similar
      comments during our listening sessions with 6th District members and discussions
      with CBU representatives).

      As a result, the CPD is reassessing its current approach to EIS and moving to com-
      bine each of its systems for officer intervention into a single system. This system
      will include a variety of ways for identifying officers who are demonstrating poten-
      tially problematic behavior. For instance, the new EIS will continue to use predic-
      tive models developed for the OSS to flag officers who have a statistically higher
      likelihood of having a future sustained excessive force complaint, a future Depart-
      ment suspension, a future off-duty complaint, or a future domestic abuse or sub-
      stance abuse complaint. In addition to this, the CPD plans to include a peer-com-
      parison component, allowing supervisors to create an alert when an officer is con-
      sidered an outlier on one or more indicators. Finally, alerts may be created when
      officers reach pre-set thresholds of behavior (e.g., having a specific number of
      force events in a specific time period). The CPD discussed its plans with the IMT



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      and requested technical assistance in developing the system, which we are cur-
      rently providing to the CPD as it develops policy and training. We share the CPD’s
      enthusiasm for updating its EIS and believe that, if properly implemented, the EIS
      could become a model for other agencies.

      In contrast to the positive steps taken by the City and the CPD during the ninth
      reporting period, they failed to maintain both Preliminary compliance and Second-
      ary compliance with ¶570, which requires COPA access to CPD documents and re-
      ports when investigating misconduct complaints related to reportable use of force.
      During this reporting period, COPA informed us that they no longer have direct
      access to all documents and that requests for such documents do not receive
      timely or responsive resolutions. This includes documents such as TRRs, incident
      reports, and other documents and data warehouses necessary to conduct a full
      and complete administrative investigation. To address this, the CPD and COPA will
      need to identify mutually agreeable resolutions and return COPA’s access to a
      point where COPA believes it is able to conduct its investigations without undue
      burden or delay.

      Finally, during this reporting period the CPD provided the IMT with a presentation
      template used during Force Review Board (FRB) meetings and documentation of
      FRB training recommendations implemented in 2023. The IMT appreciates this
      template as it aids in standardizing the FRB process. However, we note that the
      template does not solicit any discussion related to identifying potential areas of
      improvement, which is a central component of the FRB’s purpose. The several FRB
      meetings observed by the IMT were brief and continued to demonstrate a lack of
      critical review of incidents, with limited time allotted to conduct the decision-point
      analysis reflected in SOP 2020-03. We did not observe fulsome discussion evaluat-
      ing tactical soundness of various officer actions, nor whether clarifications or mod-
      ifications to existing policy or training would be helpful department-wide. The FRB
      process must include deeper analysis, discussion, and reflection to fulfill its goal of
      identifying tactics, training, and policy that may improve future outcomes. The IMT
      looks forward to continuing to observe the FRB meetings and encourages the
      CPD’s FRB to devote sufficient time to conduct the analysis and reflection contem-
      plated by SOP 2020-003 and required by the Consent Decree. To achieve Full com-
      pliance with the requirements of ¶¶577–78 and ¶580, the CPD must demonstrate
      that the FRB is consistently engaging in a critical review of the incidents and mak-
      ing a decision-point analysis that enhances the CPD.

      Data Collection, Analysis, and Management Progress
      through Nine Reporting Periods
      Overall, the IMT assessed the City’s compliance with 42 Data Collection, Analysis,
      and Management paragraphs. At the end of the ninth reporting period, the City



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      achieved Preliminary compliance with one paragraph (¶572), maintained Prelimi-
      nary compliance for 25 paragraphs (¶¶568–69, 574, and 583–604), achieved Sec-
      ondary compliance with two paragraphs (¶¶581-82), maintained Secondary com-
      pliance with five paragraphs (¶¶571, 577–78, 580, and 608), achieved Full compli-
      ance with three paragraphs (¶¶579, 606 and 609), and failed to reach any level of
      compliance with five paragraphs (¶¶573, 575–76, and 605, 607). Additionally, the
      City lost compliance levels with one paragraph (¶570). See Data Figure 1 below.

      Data Figure 1: Compliance Progress for Data Collection, Analysis & Management
              Paragraphs at the end of the Ninth Reporting Period (December 31, 2023)




      Data Figure 2: Lost Levels of Compliance in the Data Collection, Analysis, and
      Management Section

                       Eighth Reporting Period                  Ninth Reporting Period
                      (January 1, 2023 – June 30, 2023)       (July 1, 2023 – December 31, 2023)

         Paragraphs       Previous Compliance                       Current Compliance

           ¶570                 Secondary                 →                 None




      Looking Ahead to the Tenth Reporting Period
      Moving forward, the CPD must work collaboratively and consistently to address
      the Data Collection, Analysis, and Management section of the Consent Decree. We
      look forward to continuing to provide technical assistance to the CPD as it develops
      its EIS system and accompanying policy and training.


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      To regain compliance with ¶570, the City, the CPD, and COPA will need to identify
      mutually agreeable resolutions and return COPA’s access to a point where COPA
      believes it is able to conduct its investigations without undue burden or delay.
      COPA must be able to access CPD documents and reports when investigating mis-
      conduct complaints related to reportable uses of force.

      We look forward to continuing to monitor the City and the CPD’s progress in meet-
      ing the requirements of the Consent Decree in the next reporting period.

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      Specific assessments, by paragraph, for the Data Collection, Analysis & Manage-
      ment section are included in Appendix 10.




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      XI. Investigatory Stops, Protective
      Pat-Downs, and Enforcement of Loitering
      Ordinances
                                       Guiding Principles
      The IMT will assess compliance with the Investigatory Stops, Protective Pat Downs,
      and Enforcement of Loitering Ordinances paragraphs in accordance with the Con-
      sent Decree’s “Guiding Principles.” These principles “are intended to provide the
      Court, the Monitor, and the public with the context for the subsequent substantive
      requirements” and “the overall goals” (¶757):

              800. The Parties agree that the Consent Decree will be expanded to include
              obligations by CPD to monitor, report, review, train, and implement account-
              ability measures with respect to investigatory stops, protective pat downs,
              and enforcement of the Loitering Ordinances. Enforcement of the Loitering
              Ordinances will include initial dispersal orders and, where appropriate, may
              include investigatory stops, protective pat downs, and arrests. These
              measures will ensure that CPD’s investigatory stops, protective pat downs,
              and enforcement of the Loitering Ordinances are conducted in a manner that
              comply with the Constitution and laws of the United States and the State of
              Illinois and are in accordance with best practices, as defined in Paragraph 730
              of the Consent Decree.

              801. In conducting investigatory stops and protective pat downs and enforc-
              ing the Loitering Ordinances, CPD will interact with all members of the public
              without bias and will treat all persons with the courtesy and dignity which is
              inherently due every person as a human being without reference to stereo-
              types based on race, color, ethnicity, religion, homeless status, national origin,
              immigration status, gender identity or expression, sexual orientation, socio-
              economic class, age, disability, incarceration status, or criminal history.

              802. The Parties agree that in achieving the goals of this Stipulation, CPD will
              encourage officers, through training and supervision, to employ a less intru-
              sive response when enforcing the Loitering Ordinances when appropriate and
              reasonable under the circumstances.




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      Summary of Compliance Efforts and Assessments

      Investigatory Stops, Protective Pat-Downs, and Enforcement of
      Loitering Ordinances in the Ninth Reporting Period
      On June 27, 2023, the Court entered the Amended Stipulation, adding Investiga-
      tory Stops, Protective Pat Downs, and the Enforcement of the City’s Loitering Or-
      dinances into the existing Consent Decree (¶¶800–877). The Investigatory Stops
      section is led by Associate Monitor Kerr Putney and supported by attorney Mere-
      dith DeCarlo and analyst Amada Bond. Although the majority of the paragraphs in
      this new section are not yet being monitored, the City and the CPD have been in
      communication with the IMT in finalizing the monitoring period timelines, the par-
      agraph methodologies, and progress toward the paragraph requirements.

      During this reporting period, the City and the CPD have produced their most re-
      cently developed drafts of CPD policies and reports related to investigatory stops,
      protective pat downs, and the enforcement of the Loitering Ordinances. The IMT
      is currently assessing CPD’s meaningful engagement with the IMT and OAG in the
      subsequent review and comment process.

      Through the development of draft policies and reports related to investigatory
      stops, protective pat downs, and the enforcement of the Loitering Ordinances, the
      City and the CPD achieved Preliminary compliance with ¶868 specifically. Addi-
      tionally, the City and CPD remained under assessment for Secondary compliance
      while the IMT and OAG continue the review and comment process, as well as the
      CPD’s incorporation of community input when appropriate. For the requirements
      of ¶854, the City and the CPD achieved Preliminary and Secondary compliance in
      the ninth reporting period. The IMT reviewed email templates, S04-13-09, Investi-
      gatory Stop System, and an email notification from the Office of the Superinten-
      dent. Additionally, the IMT reviewed a memo with data on ISRs from January 1,
      2021 – June 27, 2023. Finally, the City and the CPD did not achieve any level of
      compliance with ¶866 as the initial brochure received for the Know Your Rights
      Campaign did not sufficiently address the requirements of the paragraph.

      During the ninth reporting period, the City and the CPD continued the community
      engagement effort that started before investigatory stops, pat downs, and loiter-
      ing ordinance enforcement were added to the Consent Decree. In 2023, under a
      now-terminated agreement with the American Civil Liberties Union of Illinois,
      community organizations developed a set of recommendations for stops, pat
      downs, and searches, to which the City and the CPD responded, as detailed in the




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      October 3, 2023 Consultant Report: Community Engagement Results.41 Interim Su-
      perintendent Fred Waller met with representatives for the community organiza-
      tions on July 14, 2023, regarding the recommendations, and a follow-up meeting
      with Superintendent Larry Snelling was held December 18, 2023. In addition, the
      IMT made several recommendations regarding the CPD’s “ability to adapt ele-
      ments of this model for community engagement” in our Eighth Monitoring Report,
      which was filed November 1, 2023, in accordance with the requirements of
      ¶865.42

      ISR Stipulation Figure 1:
      Compliance Progress for Investigatory Stops, Protective Pat-Downs, and
      Enforcement of Loitering Ordinances Paragraphs at the end of the Ninth Report-
      ing Period (December 31, 2023)




      Looking Ahead to the Tenth Reporting Period
      The IMT did not provide compliance progress updates, but rather provided com-
      pliance status updates for ¶¶855, 865, and 875.

      In the next reporting period, we look forward to assessing additional paragraphs
      (see the Monitoring Plan chart below) and reviewing data supporting compliance
      for each.




      41
           This report is available at the following link: https://cpdmonitoringteam.com/wp-content/up-
           loads/2023/10/2023.10.03-Consultant-Report_-Community-Engagement-Results.pdf.
      42
           Id.


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       ISR Stipulation Figure 2.
       Investigatory Stops, Protective Pat-Downs, and
       Enforcement of Loitering Ordinances Monitoring Plan

         Monitoring Period                                    Paragraphs
 Ninth Reporting Period               ¶¶854, 866, 868
 (July 1, 2023 – December 31, 2023)
                                                                                     (Total = 3)
 Tenth Reporting Period               ¶¶803–821, 834–838, 841, 852–853, 856–859, 861–864, 873
 (January 1, 2024 – June 30, 2024)
                                                                     +36 paragraphs (Total = 39)
 Eleventh Reporting Period            ¶¶822–833, 835, 839–840, 860, 869–870, 872
 (July 1, 2024 – December 31, 2024)
                                                                       +18 paragraphs (Total = 57)
 Twelfth Reporting Period             None
 (January 1, 2025 – June 30, 2025)
                                                                        +0 paragraphs (Total = 57)
 Thirteenth Reporting Monitoring      ¶¶844–851
 (July 1, 2025 – December 31, 2025)
                                                                        +8 paragraphs (Total = 65)

       Looking forward to the tenth reporting period, the IMT hopes to see the City and
       the CPD focus on formalizing their policies, and incorporating investigatory stops,
       protective pat downs, and the enforcement of loitering ordinances into their pub-
       lic awareness campaign. The IMT will continue to work with CPD to clarify language
       in their policies for better understanding by all affected parties and implementa-
       tion by sworn personnel. Indeed, while this is the newest section of the Consent
       Decree, the City’s and the CPD’s efforts directed at investigatory stops and enforce-
       ment of loitering ordinances are critical to every section of the Consent Decree
       and the short and long-term success of Chicago’s policing efforts overall.

                                               ***

       Specific compliance assessments, by paragraph, for the Investigatory Stops, Pro-
       tective Pat Downs, and Enforcement of Loitering Ordinances section are included
       in Appendix 11.




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      XII. Implementation, Enforcement & Monitoring
      As we identified in previous monitoring plans, the City has many obligations that
      fall outside the 11 topic areas. While these paragraphs do not fall within the spe-
      cific topic areas discussed above, these obligations are critical to the success of the
      reform efforts across all 11 topic areas of the Consent Decree. These requirements
      are included in the Implementation, Enforcement, and Monitoring section of the
      Consent Decree: ¶¶626–27, 629–43, 677–80, 682–87, 699–701, 704–06, 711, 714,
      and 720–21.

      Review and Monitoring Processes
      (¶¶626–27, 629–42, 679–80, 687, 711)

      The Consent Decree outlines the policy review process in ¶¶626–37, the plan re-
      view process in ¶¶638–40, and the training review process in ¶641. Paragraph 633
      requires the CPD to “ensure that its officers and the public have a meaningful op-
      portunity to review and comment on material changes to CPD policies and proce-
      dures required by this Agreement.” See also, ¶¶52 and 160. Further, as the City
      and the CPD develop and revise policies throughout the Consent Decree process,
      they must consult with the IMT and the OAG to develop the necessary policy or
      revision. The City and the CPD must then provide the IMT with the new or revised
      policy at least 30 days before the policy is scheduled to go into effect (¶¶627–28).
      The IMT and the OAG then have 30 days to comment, with a possible 15-day ex-
      tension (¶¶627–28). The City, the CPD, the OAG, and the IMT then have at least
      30 days to resolve comments. If we are unable to come to a timely agreement, an
      entity may submit a formal objection, which triggers a “workout period” (¶630).
      The entities then have an additional 30 days to resolve the issue before one of the
      Parties brings the issue to the Court to resolve (¶630). On the other hand, when
      the IMT and the OAG provide a “no objection” notice, then when applicable, the
      City and the CPD will post the new or revised policy for public comment for a min-
      imum of 15 days (¶633). The entities will then review and consider the public com-
      ments and agree to any changes before the City and the CPD finalize the policy
      (¶633).

      Overall, we have been satisfied with the City’s and the CPD’s willingness to collab-
      orate with the IMT and the OAG regarding their policies. In fact, the City, the CPD,
      the IMT, and the OAG utilized the consultation process for policy and training de-
      velopment for several policies and training materials to great effect in the ninth
      reporting period.

      As we note below, the City and the CPD must continue to improve their community
      engagement processes around policy creation and revision. The review processes
      have not always been without complications since the inception of the Consent


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      Decree, but we continue to work through disagreements in a largely collaborative
      fashion.

      The City is also obligated by ¶679 to “collect and maintain all data and records
      necessary to document compliance with this agreement.” The City and the CPD
      have recently taken significant steps in the right direction. During the ninth report-
      ing period, the City and the CPD also made substantial progress on its efforts to
      streamline data collection processes and ensure reliable data is collected to
      demonstrate compliance with each section of the Consent Decree: As reported in
      our last assessment, the City and the CPD reached out to each Consent Decree
      section’s Associate Monitor to identify the data necessary to comply with their
      section, representing a collaborative process between the IMT and the City to en-
      sure that data collection systems and processes are reliably captured and mapped.
      And during the ninth reporting period, the City and the CPD provided a final as-
      sessment report for ¶606 that will now be used to inform the development of a
      Data Systems Plan. See ¶607.

      Separately, ¶680 requires the City to “file a status report one month before each
      of the Monitor’s reports is due for the duration of this Agreement. The City’s status
      report will delineate the steps taken by CPD during the reporting period to comply
      with this Agreement, and CPD’s assessment of the status of its progress imple-
      menting this Agreement.” In the ninth reporting period, the City filed this required
      report on time for the first time since the start of the Consent Decree. The IMT
      greatly appreciates this effort from the City, and we hope that this status report
      will develop into a key tool for expediting full and effective compliance with the
      Consent Decree.

      Collective Bargaining (¶711)

      It is important to note that the Consent Decree, and all review and monitoring
      processes exist alongside the City’s collective bargaining relationships. As ex-
      plained in our previous reports, the City is a party to collective bargaining relation-
      ships with four labor unions representing sworn police officers:

      •   The Fraternal Order of Police, Chicago Lodge No. 7 (FOP);

      •   The Policemen’s Benevolent & Protective Association of Illinois (PBPA), Unit
          156 – Sergeants;

      •   PBPA of Illinois, Unit 156 – Lieutenants; and

      •   PBPA of Illinois, Unit 156 – Captains (collectively, the “Unions”).




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      Paragraph 711 of the Consent Decree harmonizes the City’s statutory bargaining
      obligations with the Unions with the City’s Consent Decree, adopting the following
      key tenets:

      •   As a threshold matter, the Consent Decree is not intended to alter the City’s
          collective bargaining agreements or otherwise to impair or conflict with the
          officers’ statutory rights to engage in collective bargaining through their cho-
          sen representatives (the Unions);

      •   Likewise, the Consent Decree does not obligate the City (or the Unions) to vi-
          olate the terms of their collective bargaining agreements, or to violate or waive
          any bargaining rights or obligations;

      •   Nevertheless, in recognition of the fact that the City’s labor agreements can
          and will directly impact its compliance with various provisions in the Consent
          Decree, the Consent Decree obligates the City to “use its best efforts” in the
          collective bargaining process “to secure modifications” to its collective bar-
          gaining agreements covering sworn officers that are consistent with the terms
          of the Consent Decree or to the extent necessary to implement the provisions
          of the Consent Decree.

      To monitor ¶711, the City, the IMT, and the OAG met on a regular basis throughout
      each of the reporting periods, including the most-recent ninth reporting period, to
      discuss updates on the City’s progress in bargaining successor labor agreements
      with the Unions and the status of related pending litigation. During these meet-
      ings, the City provided access to members of its bargaining committee.

      During the ninth reporting period, the City reached agreement on a new contract
      with the FOP; the City Council approved the contract on December 13, 2023. The
      contract includes 5% pay raises for officers in 2024 and 2025, and cost-of-living
      increases tied to inflation—from a minimum of 3% to a maximum of 5%—in 2026
      and 2027. It also includes a one-time $2,500 retention bonus for all officers. In
      addition, the contract makes changes to the process of assigning officers to transit
      detail and homicide investigation teams.

      IMT and OAG Access Issues (¶¶682–86)

      To effectively monitor the City, the CPD, and the City’s entities’ compliance with
      the requirements of the Consent Decree, the IMT and the OAG (in their role as the
      plaintiff) must have access to tremendous amounts of documents, data, and most
      importantly people and places. The IMT believes that to accelerate compliance
      through Technical Assistance, the City must streamline access to facilitate efficient
      compliance efforts and determinations. Since the Consent Decree began, the IMT




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      has enjoyed considerable access to the CPD – but at times has found access chal-
      lenging that is needed to determine compliance (¶¶681–86).

      For example, the IMT has continually struggled with access to data and data sys-
      tems, including Evidence.com, which houses the CPD’s body-worn camera footage,
      and the system that houses Tactical Response Reports (TRRs), which detail CPD
      officers’ uses of force.

      Independent Monitoring Teams in other cities enjoy much fuller access, such as
      immediate and streamlined access to body-worn-camera footage and monitors
      carrying click-cards that access all City buildings at all times to ensure access for
      unannounced or “drop in” visits to facilities. The IMT must have broader, unen-
      cumbered, and cooperative access to get a true sense of the impact of Consent
      Decree reforms on the ground, as well as how the organization functions. Receiv-
      ing this access will become increasingly important for reaching Full compliance
      with requirements across the Consent Decree.

      Accountability Processes (¶¶643, 683, 699, 704)

      Throughout the Consent Decree process, the IMT has noted many challenges with
      the CPD’s accountability processes. In fact, the lack of accountability for CPD offic-
      ers engaging in misconduct was among the major findings of the U.S. Department
      of Justice’s investigation into the CPD for civil rights violations, which ultimately
      resulted in the Consent Decree.

      The City’s and the CPD’s accountability processes are complex, involving many en-
      tities with overlapping roles and responsibilities, including the CPD’s Bureau of In-
      ternal Affairs (BIA), the Chicago Police Board, the Civilian Office of Police Account-
      ability (COPA), the four police unions (see ¶711), the City’s Department of Law,
      and the Office of the Inspector General’s Public Safety Section (PSIG). Moreover,
      the City recently implemented a new police oversight entity, the Community Com-
      mission for Public Safety and Accountability, which is embedded into the fabric of
      the City of Chicago’s complex police accountability system.

      The IMT acknowledges that holding officers who “violate policies, procedures, or-
      ders, or directives that are required by this Agreement” accountable for their ac-
      tions is sometimes complicated. The IMT has consistently emphasized that officer
      accountability – and public transparency about accountability processes – must be
      a shared responsibility among all leaders in the CPD, from sergeants to the Super-
      intendent.

      We note, for example, that while several paragraphs of the Consent Decree require
      progressive discipline (see ¶¶238–39 in addition to ¶643), we have seen no evi-
      dence of a functional progressive discipline policy or process. Further, as we have
      noted for many reporting periods, the CPD is not implementing the district-level


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      Accountability Sergeants—the first line of accountability in the agency—as re-
      quired by ¶¶493–95.

      Moreover, the Consent Decree notes that the “City agrees to require compliance
      with this Agreement by its officers, officials, employees, agents, agencies, assigns,
      or successors” and that the Consent Decree is “binding on all Parties hereto, by
      and through their officials, employees, agents, representatives, agencies, assigns,
      and successors.” We urge the City and the CPD to take appropriate action to com-
      ply with these important and long overdue accountability requirements.

      Staffing and Resource Issues (¶¶677–78, 700, 706)

      While the City and the Chicago Police Department (CPD) continue to implement
      the requirements of the Consent Decree, we remain concerned about the lack of
      consistent staffing and retention levels. The City and the CPD have designated the
      following entities to be responsible for the following provisions of ¶678:

      •   678(a): the CPD’s Reform Management Group and the City’s Department of
          Law;

      •   678(b) and (c): the CPD’s Office of Legal Affairs and the City’s Department of
          Law; and

      •   678(d): the CPD’s Reform Management Group.

      Overall, personnel from the City, the CPD, and other relevant City entities continue
      to assist the IMT by providing information, updates, and evidence of compliance
      efforts. These representatives frequently arrange communications and help the
      IMT navigate the complexity of the City entities.

      As with previous reporting periods, we have had some specific concerns about the
      lack of consistent staffing and retention levels in the Reform Management Group
      and the high level of turnover in the five years since the Consent Decree began.
      The Reform Management Group is located within the CPD’s Office of Constitu-
      tional Policing and Reform and works closely with the CPD’s Office of Legal Affairs
      and the City’s Department of Law. We have mentioned in previous reports our
      concern about the turnover in Executive Directors in the CPD’s Office of Constitu-
      tional Policing and Reform – three people have held that position in 3.5 years. Ad-
      ditionally, as of the end of the ninth reporting period, the Executive Director posi-
      tion remains vacant. Consistent leadership is of the utmost importance for reform
      to be sustainably implemented.

      The personnel in these groups have many of the “knowledge, skills, and abilities
      necessary to facilitate compliance with this Agreement,” as ¶677 requires. The
      City’s Department of Law provides many of the project management functions for


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      the relevant city entities—the Civilian Office of Police Accountability (COPA); the
      Chicago Police Board; the City Office of Inspector General (OIG), including the Dep-
      uty Inspector General for Public Safety (Deputy PSIG); and the Office of Emergency
      Management and Communications (OEMC). The Reform Management Group pro-
      vides many of these project management functions for the CPD.

      We also have concerns about the staffing of the CPD’s Audit Division, which is crit-
      ical to the sustainability of the reform effort. The Audit Division’s mission is as fol-
      lows:

               The mission of the Audit Division is to provide quality, independent and objec-
               tive assessments of the operations, processes, and internal controls in support
               of the Chicago Police Department ('Department'), including but not limited to
               work related to the strategic plan and consent decree. During internal audits
               and other reviews in which areas for improvement are identified, recommen-
               dations will be made to enhance Department operations. The Audit Division
               promotes accountability by proactively working with officials across all the
               Department to identify risks, evaluate controls, and make recommendations
               intended to promote constitutional policing and the effective delivery of po-
               lice services. The Department is committed to the use of audits and other re-
               views to assess adherence to its stated orders, policies, and procedures—as
               well as to demonstrate consistency with the strategic plan and compliance
               with the consent decree into which the Department entered with the Attorney
               General of the State of Illinois. All audits and reviews are intended to provide
               objective information to inform decision-making and to help improve the in-
               ternal transparency and accountability of the Department’s operations.

      The chronic understaffing of this unit is short-sighted for the future of sustainable
      reform at the CPD. The City and the CPD must continue to make efforts to maintain
      staffing at appropriate levels at all times in the following key departments: the Re-
      search and Development Division, the Tactical Review and Evaluation Division (or
      TRED, an umbrella under which the Force Review Unit, the Firearm Pointing Re-
      view Unit, the Foot Pursuit Review Unit, the Search Warrant Review Unit, and the
      Fourth Amendment Stop Review Unit reside), the Education and Training Division,
      the Crisis Intervention Team, the Audit Division, the Office of Community Policing,
      the Bureau of Internal Affairs (BIA), and the Reform Management Group. All have
      experienced consistent understaffing.

      Many of the City’s and the CPD’s efforts and achievements in the first eight report-
      ing periods continued into the ninth reporting period. The City’s Department of
      Law, the CPD’s Office of Constitutional Policing and Reform, the Legal Affairs Divi-
      sion, and the Research and Development Division (¶¶677–78) continued to be
      fully engaged in the monitoring process. The City and the CPD also maintained
      regular channels of communication with the IMT and the OAG and continued dia-
      logue, problem-solving, and brainstorming about requirements and challenges re-
      garding the paragraphs of the Consent Decree.



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      The City is “responsible for providing necessary and reasonable financial resources
      necessary through steps or processes that can include the budget process to fulfill
      its obligations under this Agreement, subject to the terms and conditions set forth
      herein” per ¶700 and that it is “responsible for providing necessary support and
      resources to CPD to enable CPD to fulfill its obligations under this Agreement” per
      ¶706. At this point in the Consent Decree implementation process—nearly five
      years and only 8% complete—we urge the City to take immediate actions to rectify
      its lack of resources and staffing to move compliance forward.

      Reform and Sustainability Processes (¶¶705, 714, 720–21)

      While the City and the CPD have a long way to go to achieve “full and effective
      compliance” with the Consent Decree (see ¶717), we encourage them to begin
      thinking about how they will sustain the reforms they achieve over the course of
      this process.

      The City bears the burden of providing evidence of its achievements to the IMT
      (per ¶720) and has been focused on achieving compliance with the Consent De-
      cree’s requirements (per ¶714 the original goal for completely implementing all
      requirements was five years, but it has since been extended by the Court to eight
      years), we must also be mindful of sustaining the reforms beyond the Consent De-
      cree monitoring process. Paragraph 721 requires the City and the CPD to “develop
      a plan, in consultation with the Monitor and OAG, to conduct compliance reviews,
      audits, and community surveys deemed necessary and appropriate following the
      termination of the Consent Decree.”

      It is not too early to begin thinking about how the City’s resources and accounta-
      bility systems—including but not limited to the CPD’s own Audit Division, TRED,
      the OIG, the PSIG, COPA, the Police Board, the CCPSA, and the most important
      accountability mechanisms of all, front-line CPD supervisors—should be har-
      nessed to maintain sustained compliance with reforms, identify shortcomings and
      rectify them quickly well into the future.

      One of the Consent Decree’s overarching goals is for the CPD to become a learning
      and self-correcting organization. We are hopeful that the CPD will begin to think
      forward to a long-term plan for not only reaching full and effective compliance,
      but also how it can sustain these reformed practices well after the Consent Decree
      is terminated. Constitutional policing practices must be ingrained into the CPD’s
      policies, practices, and culture. We believe it is crucially important that CPD begin
      to develop the plan required by ¶721, and we remind the City that the Consent
      Decree does not “limit the City’s right to adopt future measures that exceed or
      surpass the obligations contained herein, as long as the terms of this Agreement
      are satisfied” (¶705).




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      Conclusion,
      Monitoring Plan for Year Six, and
      Looking Ahead to
      Comprehensive Assessment Part II &
      Independent Monitoring Report 10
      We have concluded our monitoring efforts for the ninth reporting period (July 1,
      2023, through December 31, 2023). We appreciate the reform efforts made by
      many hard-working City personnel, including the compliance progress made by
      the City; the CPD; COPA; the Chicago Police Board; the OIG, including the Deputy
      PSIG; and the OEMC.

      The IMT’s next semiannual report, Independent Monitoring Report 10, will cover
      the reporting period from January 1, 2024, through June 30, 2024. As with previ-
      ous reports, we will continue to work with the City and the OAG to implement all
      the Consent Decree’s requirements. We will also continue to engage with Chica-
      goans to determine whether these reforms are being felt in their communities.

      Moving forward, in the eleventh and twelfth reporting periods, we will continue
      to assess the City’s compliance with all paragraphs with requirements in the Con-
      sent Decree or “monitorable paragraphs.”43

      The number of monitorable paragraphs may change as the City and its relevant
      entities begin to achieve full and effective compliance by sustaining Full compli-
      ance for the requisite periods.44 In those cases, the IMT will stop assessing those
      requirements and paragraphs for compliance unless we derive information or evi-
      dence “showing that compliance with such requirements has materially lapsed.”
      ¶716.




      43
           Our previous Monitoring Plans are available on our website. See Reports, INDEPENDENT MONI-
           TORING TEAM, https://cpdmonitoringteam.com/reports/.
      44
           To achieve full and effective compliance with Consent Decree requirements, the City and its
           relevant entities must maintain Full compliance for either one or two years, depending on the
           section of the Consent Decree. See ¶714.


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       Conclusion Figure 1. Reporting Periods for Years One through Six

                                        Monitoring Plan for Year One
                                                     March 1, 2019 – August 31, 2019
            1st Reporting Period                  (See Independent Monitoring Report 1)
                                                  September 1, 2019 – February 29, 2020
            2nd Reporting Period
                                                  (See Independent Monitoring Report 2)
                                        Monitoring Plan for Year Two
                                                   March 1, 2020 – December 31, 202045
            3rd Reporting Period                  (See Independent Monitoring Report 3)
                                                      January 1, 2021 – June 30, 2021
            4th Reporting Period
                                                  (See Independent Monitoring Report 4)
                                       Monitoring Plan for Year Three
                                                     July 1, 2021 – December 31, 2021
            5th Reporting Period                  (See Independent Monitoring Report 5)
                                                      January 1, 2022 – June 30, 2022
            6th Reporting Period
                                                  (See Independent Monitoring Report 6)
                                       Monitoring Plan for Year Four
                                                     July 1, 2022 – December 31, 2022
            7th Reporting Period
                                                  (See Independent Monitoring Report 7)
                                                      January 1, 2023 – June 30, 2023
            8th Reporting Period
                                                  (See Independent Monitoring Report 8)
                                        Monitoring Plan for Year Five
                                                     July 1, 2023 – December 31, 2023
            9th Reporting Period
                                              (Independent Monitoring Report 9, Spring 2024)
                                                      January 1, 2024 – June 30, 2024
            10th Reporting Period
                                            (Independent Monitoring Report 10, Autumn 2024)
                                        Monitoring Plan for Year Six
                                                    July 1, 2024 – December 31, 2024
            11th Reporting Period
                                             (Independent Monitoring Report 11, Spring 2025)
                                                     January 1, 2025 – June 30, 2025
            12th Reporting Period
                                            (Independent Monitoring Report 12, Autumn 2025)

       Figure 2 on the following page reflects all monitorable paragraphs – including the
       new Investigatory Stops section – in the Consent Decree, which the IMT will con-
       tinue to monitor in Year Six.




       45
            Because of the shutdowns in response to the COVID-19 pandemic, the City and the Office of
            the Illinois Attorney General extended the third reporting period to December 31, 2020. See
            Order Regarding the Extension of Consent Decree Obligation Deadlines (March 27, 2020),
            https://cpdmonitoringteam.com/wp-content/uploads/2020/04/2020_03_27-Order-Regard-
            ing-the-Extension-of-Consent-Decree-Obligation-De....pdf.


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       Conclusion Figure 2. Monitoring Plan for Year Six Paragraphs

                  Topic Area                                     Year Six Monitoring
                                           13, 14, 15, 16, 17, 18, 19, 20, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32,
                    Community
                                           33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46, 47, 48
                     Policing                                                                              (Total = 35)
                                           52, 53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67, 68, 69, 70,
                     Impartial
                                           71, 72, 73, 74, 75, 76, 77, 78, 79, 80, 81, 82
                      Policing                                                                             (Total = 31)
                                           87, 88, 89, 90, 91, 92, 93, 94, 95, 96, 97, 98, 99, 100, 101, 102, 103, 104,
                                           105, 106, 107, 108, 109, 110, 111, 112, 113, 114, 115, 116, 117, 118, 119,
                       Crisis              120, 121, 122, 123, 124, 125, 126, 127, 128, 129, 130, 131, 132, 133, 134,
                   Intervention            135, 136, 137, 138, 139, 140, 141, 142, 143, 144, 145, 146, 147, 148, 149,
                                           150, 151, 152
                                                                                                           (Total = 66)
                                           153, 154, 155, 156, 157, 158, 159, 160, 161, 162, 163, 164, 165, 166, 167,
                                           168, 169, 170, 171, 172, 173, 174, 175, 176, 177, 178, 179, 180, 181, 182,
                                           183, 184, 185, 186, 187, 188, 189, 190, 191, 192, 193, 194, 195, 196, 197,
                                           198, 199, 200, 201, 202, 203, 204, 205, 206, 207, 208, 209, 210, 211, 212,
                   Use of Force            213, 214, 215, 216, 217, 218, 219, 220, 221, 222, 223, 224, 225, 226, 227,
                                           228, 229, 230, 231, 232, 233, 234, 235, 236, 237, 238, 239, 240, 241, 242,
                                           243, 244, 245, 246, 247, 248
                                                                                                           (Total = 96)
                   Recruitment,            253, 254, 255, 256, 257, 258, 259, 260, 261, 262, 263, 264
                    Hiring, and
                    Promotion                                                                             (Total = 12)
                                           270, 271, 272, 273, 274, 275, 276, 277, 278, 279, 280, 281, 282, 283, 284,
                                           285, 286, 287, 288, 289, 290, 291, 292, 294, 295, 296, 297, 298, 299, 300,
                                           301, 302, 303, 304, 305, 306, 307, 308, 309, 310, 311, 312, 313, 314, 315,
                     Training              316, 317, 318, 319, 320, 321, 322, 323, 324, 326, 327, 328, 329, 331, 332,
                                           333, 334, 335, 336, 337, 338, 339, 340
                                                                                                         (Total = 68)
                                           347, 348, 349, 350, 351, 352, 353, 354, 355, 356, 357, 359, 360, 361,
                                           362, 363, 364, 365, 366, 367, 368, 369, 370, 371, 372, 373, 374, 375,
                    Supervision            376
                                                                                                         (Total = 29)
                                           381, 382, 383, 384, 385, 386, 387, 388, 389, 390, 391, 392, 393, 394, 395,
                     Officer
                                           396, 397, 398, 399, 400, 401, 402, 404, 406, 407, 408, 409, 410, 411, 412,
                   Wellness and            413, 414, 415, 416, 417, 418
                    Support                                                                              (Total = 36)
                                           424, 425, 426, 427, 428, 429, 430, 431, 432, 433, 434, 435, 436, 437, 438,
                                           439, 440, 441, 442, 443, 444, 445, 446, 447, 448, 449, 450, 451, 452, 453,
                                           454, 455, 456, 457, 459, 460, 461, 462, 463, 464, 465, 466, 467, 468, 469,
                                           470, 471, 472, 473, 474, 475, 476, 477, 478, 479, 480, 481, 482, 483, 484,
                  Accountability           485, 486, 487, 488, 489, 490, 491, 492, 493, 494, 495, 496, 497, 498, 499,
                      and                  500, 501, 502, 503, 504, 505, 506, 507, 508, 509, 511, 512, 513, 514, 515,
                  Transparency             516, 517, 518, 519, 521, 522, 523, 524, 525, 526, 527, 528, 529, 530, 531,
                                           532, 533, 534, 535, 536, 537, 538, 539, 540, 541, 542, 543, 544, 545, 546,
                                           547, 548, 549, 550, 551, 552, 553, 554, 555, 556, 557, 558, 559, 560, 561,
                                           562, 563, 564, 565
                                                                                                        (Total = 139)
                       Data                568, 569, 570, 571, 572, 573, 574, 575, 576, 577, 578, 579, 580, 581, 582,
                    Collection,            583, 584, 585, 586, 587, 588, 589, 590, 591, 592, 593, 594, 595, 596, 598,
                   Analysis, and           597, 599, 600, 601, 602, 603, 604, 605, 606, 607, 608, 609
                                                                                                         (Total = 42)
                   Management
            Investigatory Stops, Protec-   803, 804, 805, 806, 807, 808, 809, 810, 811, 812, 813, 814, 815, 816, 817,
                                           818, 819, 820, 821, 822, 823, 824, 825, 826, 827, 834, 835, 836, 837, 839,
              tive Pat Downs, and En-
                                           840, 841, 852, 853, 854, 855, 856, 858, 859, 860, 865, 861, 862, 863, 864,
             forcement of Loitering Or-    866, 868, 869, 870, 873
                      dinances                                                                           (Total = 57)
                                 TOTAL                                       611


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       In the first five years of the Consent Decree process, the City and the CPD have
       made significant progress revising, developing, and implementing policies and
       training. The City and the CPD have struggled, however, with community policing
       and community engagement; reliable data collection, analysis, and management;
       staffing and resource shortages and management; training; supervision; account-
       ability and full implementation of the Consent Decree. In Year Six, we look forward
       to monitoring the City’s and the CPD’s efforts to continue to bridge these gaps and
       continue demonstrating compliance with the Consent Decree.

       In future years, our priorities may shift as the City and the CPD make progress with
       the requirements of the Consent Decree. The monitoring plans for subsequent
       years will reflect those shifts.

       There are, however, several elements of the IMT’s work that will remain consistent
       over time. The IMT’s Community Engagement Team will remain involved with local
       community-based groups invested in police reform in Chicago. We will disseminate
       information to community members about the City’s and the CPD’s progress and
       collect important information from Chicago residents. Likewise, the IMT will con-
       tinue to implement and assess community surveys and research and solicit input
       from CPD members.

       We will also continue to prioritize transparent community engagement and partic-
       ipation; independent reviews of police policies and practices; and regular commu-
       nication with the OAG, the City, the CPD, the Chicago Police Board, the Civilian
       Office of Police Accountability, other relevant City entities, members of the Coali-
       tion (¶669), and members of Chicago communities.

       Finally, we must note the limits of this Monitoring Plan. Any plan is subject to
       change, and that is especially true of a plan developed to address a project as com-
       plex and comprehensive as the Consent Decree. As a result, we expect that we
       may need to add to, subtract from, or otherwise modify various aspects of this
       Monitoring Plan. Nonetheless, this is our best estimate of what we expect to mon-
       itor during Year Six, and we will publicly report and explain any major changes.

       In addition to our semiannual reports, the IMT is also at work on Comprehensive
       Assessment, Part II, which requires the IMT to consider (a) whether the outcomes
       of the Consent Decree are being achieved and (b) whether any modifications are
       needed to the Consent Decree.46



       46
            Independent Monitoring Report 8 included Comprehensive Assessment, Part I, which ad-
            dressed the first requirement of ¶657 to “determine whether and to what extent the City and
            the CPD are in compliance with this Agreement.” The other two requirements will be ad-
            dressed in Comprehensive Assessment, Part II, which we anticipate filing soon as a standalone
            report.


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       It is important to note that the IMT cannot unilaterally make changes to the Con-
       sent Decree; only the Parties and the Judge can make changes.47 The IMT will make
       recommendations for change in our upcoming Comprehensive Assessment, Part II,
       but per ¶659, the Parties must then consider our changes before seeking the
       Court’s ruling to change the Consent Decree. The IMT intends to file Comprehen-
       sive Assessment Part II soon.

       Conclusion Figure 3. Comprehensive Report Process per ¶¶657-659




       In ¶6 of the Introduction section of the Consent Decree, the City made commit-
       ments that help frame many of the issues facing reform efforts today:

                  In this [Consent Decree], the City commits to ensuring that police
                  services are delivered to all of the people of Chicago in a manner
                  that fully complies with the Constitution and laws of the United
                  States and the State of Illinois, [in a manner that] respects the
                  rights of all of the people of Chicago, [in a manner that] builds
                  trust between officers and the communities they serve, and [in a
                  manner that] promotes community and officer safety.

                  The City also commits to providing CPD members with the re-
                  sources and support they need, including improved training, su-
                  pervision, and wellness resources.

       The CPD is—along with police departments across the nation—continuing to face
       significant challenges with meeting such commitments. Staffing and resource is-
       sues, for example, continue to negatively affect the City’s and the CPD’s progress
       toward simultaneously and sufficiently providing supervision, officer-wellness,
       and support. This, in turn, has undermined the City’s and the CPD’s ability to
       demonstrate effective policing practices that respect the rights of all of the people



       47
            Paragraph 696 notes that “OAG and the City may jointly agree to make changes, modifications,
            and amendments to this Agreement, which will be effective if approved by the Court.”


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       of Chicago; build trust between officers and the communities they serve; and pro-
       mote community and officer safety.




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       Appendix 1
       (Community Policing)
       Compliance-assessment updates for the Community Policing section are available
       here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       1-Community-Policing.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Community
       Policing section is available in Comprehensive Assessment Part I (which included
       Independent Monitoring Report 8): https://cpdmonitoringteam.com/wp-con-
       tent/uploads/2023/11/IMR8-Appendix-1-Community-Policing-2023.11.01.pdf.




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       Appendix 2
       (Impartial Policing)
       Compliance-assessment updates for the Impartial Policing section are available
       here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       2-Impartial-Policing.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Impartial Po-
       licing section is available in Comprehensive Assessment Part I (which included In-
       dependent Monitoring Report 8): https://cpdmonitoringteam.com/wp-con-
       tent/uploads/2023/11/IMR8-Appendix-2-Impartial-Policing-2023.11.01.pdf.




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       Appendix 3
       (Crisis Intervention)
       Compliance-assessment updates for the Crisis Intervention section are available
       here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       3-Crisis-Intervention.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Crisis inter-
       vention section is available in Comprehensive Assessment Part I (which included
       Independent Monitoring Report 8): https://cpdmonitoringteam.com/wp-con-
       tent/uploads/2023/11/IMR8-Appendix-3-Crisis-Intervention-2023.11.01.pdf.




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       Appendix 4
       (Use of Force)
       Compliance-assessment updates for the Use of Force section are available here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       4-Use-of-Force.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each monitorable paragraph in the Use of Force section
       is available in Comprehensive Assessment Part I (which included Independent Mon-
       itoring       Report     8):     https://cpdmonitoringteam.com/wp-content/up-
       loads/2023/11/IMR8-Appendix-4-Use-of-Force-2023.11.01.pdf.




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       Appendix 5
       (Recruitment, Hiring, and Promotion)
       Compliance-assessment updates for the Recruitment, Hiring, and Promotion sec-
       tion are available here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       5-Recruitment-Hiring-and-Promotions.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Recruitment,
       Hiring, and Promotion section is available in Comprehensive Assessment Part I
       (which included Independent Monitoring Report 8): https://cpdmonitoring-
       team.com/wp-content/uploads/2023/11/IMR8-Appendix-5-Recruitment-Hiring-
       and-Promotions-2023.11.01.pdf.




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       Appendix 6
       (Training)
       Compliance-assessment updates for the Training section are available here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       6-Training.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Training sec-
       tion is available in Comprehensive Assessment Part I (which included Independent
       Monitoring       Report   8):    https://cpdmonitoringteam.com/wp-content/up-
       loads/2023/11/IMR8-Appendix-6-Training-2023.11.01.pdf.




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       Appendix 7
       (Supervision)
       There are no compliance-assessment updates for the Supervision section in the
       ninth reporting period (i.e., where the City gained or lost compliance in the ninth
       reporting period or paragraphs with significant developments toward or away
       from compliance).

       A description of the history of compliance efforts, methodologies, compliance de-
       terminations for each original monitorable paragraphs in the Supervision section
       is available in Comprehensive Assessment Part I (which included Independent Mon-
       itoring       Report     8):      https://cpdmonitoringteam.com/wp-content/up-
       loads/2023/11/IMR8-Appendix-7-Supervision-2023.11.01.pdf.




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       Appendix 8
       (Officer Wellness and Support)
       Compliance-assessment updates for the Officer Wellness and Support section are
       available here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       8-Officer-Wellness-and-Support.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Officer Well-
       ness and Support section is available in Comprehensive Assessment Part I (which
       included Independent Monitoring Report 8): https://cpdmonitoringteam.com/wp-
       content/uploads/2023/11/IMR8-Appendix-8-Officer-Wellness-and-Support-
       2023.11.01.pdf.




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       Appendix 9
       (Accountability and Transparency)
       Compliance-assessment updates for the Accountability and Transparency section
       are available here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       9-Accountability-and-Transparency.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Accountabil-
       ity and Transparency section is available in Comprehensive Assessment Part I
       (which included Independent Monitoring Report 8): https://cpdmonitoring-
       team.com/wp-content/uploads/2023/11/IMR8-Appendix-9-Accountability-and-
       Transparency-2023.11.01.pdf.




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       Appendix 10
       (Data Collection, Analysis, and
       Management)
       Compliance-assessment updates for the Data Collection, Analysis, and Manage-
       ment section are available here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       10-Data-Collection-Analysis-and-Management.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.

       A fuller description of the history of compliance efforts, methodologies, compli-
       ance determinations for each original monitorable paragraphs in the Data Collec-
       tion, Analysis, and Management section is available in Comprehensive Assessment
       Part I (which included Independent Monitoring Report 8): https://cpdmonitoring-
       team.com/wp-content/uploads/2023/11/IMR8-Appendix-10-Data-Collection-
       Analysis-and-Management-2023.11.01.pdf.




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       Appendix 11
       (Investigatory Stops, Protective Pat Downs,
       and Enforcement of Loitering Ordinances)
       Compliance-assessment updates for the Data Collection, Analysis, and Manage-
       ment section are available here:

       https://cpdmonitoringteam.com/wp-content/uploads/2024/05/IMR9-Appendix-
       11-ISR-Pat-Down-and-Loitering-Enforcement.pdf.

       This includes paragraphs where the City gained or lost compliance in the ninth re-
       porting period, as well as paragraphs with significant developments toward or
       away from compliance.




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       Appendix 12
       All Compliance Levels, By Paragraph
       See chart on the following page.




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    Community Policing

       8                 9         10           11          12            13             14     15      16           17               18   19    20    21    22    23

      24             25            26           27          28            29             30     31      32           33               34   35    36    37    38    39

      40             41            42           43          44            45             46     47      48

    Impartial Policing

      49             50            51           52          53            54             55     56      57           58               59   60    61    62    63    64

      65             66            67           68          69            70             71     72      73           74               75   76    77    78    79    80

      81             82

    Crisis Intervention

      83             84            85           86          87            88             89     90      91           92               93   94    95    96    97    98

      99            100         101          102           103           104             105   106     107          108           109      110   111   112   113   114

     115            116         117          118           119           120             121   122     123          124           125      126   127   128   129   130

     131            132         133          134           135           136             137   138     139          140           141      142   143   144   145   146

     147            148         149          150           151           152

    Use of Force

     153            154         155          156           157           158             159   160     161          162           163      164   165   166   167   168

     169            170         171          172           173           174             175   176     177          178           179      180   181   182   183   184

     185            186         187          188           189           190             191   192     193          194           195      196   197   198   199   200

     201            202         203          204           205           206             207   208     209          210           211      212   213   214   215   216

     217            218         219          220           221           222             223   224     225          226           227      228   229   230   231   232

     233            234         235          236           237           238             239   240     241          242           243      244   245   246   247   248

    Recruitment, Hiring, and Promotions

     249            250         251          252           253           254             255   256     257          258           259      260   261   262   263   264

    Training

     265            266         267          268           269           270             271   272     273          274           275      276   277   278   279   280

     281            282         283          284           285           286             287   288     289          290           291      292   293   294   295   296

     297            298         299          300           301           302             303   304     305          306           307      308   309   310   311   312

     313            314         315          316           317           318             319   320     321          322           323      324   325   326   327   328

     329            330         331          332           333           334             335   336     337          338           339      340

    Supervision

     341            342         343          344           345           346             347   348     349          350           351      352   353   354   355   356

     357            358         359          360           361           362             363   364     365          366           367      368   369   370   371   372

     373            374         375          376

    Officer Wellness and Support

     377            378         379          380           381           382             383   384     385          386           387      388   389   390   391   392

     393            394         395          396           397           398             399   400     401          402           403      404   405   406   407   408

     409            410         411          412           413           414             415   416     417          418

    Accountability and Transparency

     419            420         421          422           423           424             425   426     427          428           429      430   431   432   433   434

     435            436         437          438           439           440             441   442     443          444           445      446   447   448   449   450

     451            452         453          454           455           456             457   458     459          460           461      462   463   464   465   466

     467            468         469          470           471           472             473   474     475          476           477      478   479   480   481   482

     483            484         485          486           487           488             489   490     491          492           493      494   495   496   497   498

     499            500         501          502           503           504             505   506     507          508           509      510   511   512   513   514

     515            516         517          518           519           520             521   522     523          524           525      526   527   528   529   530

     531            532         533          534           535           536             537   538     539          540           541      542   543   544   545   546

     547            548         549          550           551           552             553   554     555          556           557      558   559   560   561   562

     563            564         565

    Data Collection, Analysis, and Management

     566            567         568          569           570           571             572   573     574          575           576      577   578   579   580   581

     582            583         584          585           586           587             588   589     590          591           592      593   594   595   596   597

     598            599         600          601           602           603             604   605     606          607           608      609

    Investigatory Stops, Protective Pat Downs, and Enforcement of Loitering Ordinances

     800            801         802          803           804           805             806   807     808          809           810      811   812   813   814   815

     816            817         818          819           820           821             822   823     824          825           826      827   828   829   830   831

     832            833         834          835           836           837             838   839     840          841           842      843   844   845   846   847

     848            849         850          851           852           853             854   855     856          857           858      859   860   861   862   863

     864            865         866          867           868           869             670   871     872          873           874      875   876   877

           Preliminary       Secondary      Full          None          Not Yet Applicable     N/A    Full and Effective Compliance



                                                                                                     109
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       Attachment A:
       Office of the Illinois Attorney General
       Comments (May 13, 2024)




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                             OFFICE OF THE ATTORNEY GENERAL
                                     STATE OF ILLINOIS

KWAME RAOUL
ATTORNEY GENERAL

                                                 May 13, 2024

Margaret A. Hickey
Independent Monitor
ArentFox Schiff LLP
233 S. Wacker Drive, Suite 7100
Chicago, IL 60606
Maggie.Hickey@afslaw.com

Re:     OAG Comments on the Ninth Independent Monitoring Report
        Consent Decree, Illinois v. Chicago, 17-cv-6260 (N.D. Ill.)

Dear Ms. Hickey:

       The Consent Decree gives the Office of the Illinois Attorney General (OAG) an
opportunity to comment on the ninth Monitoring Report (Report) before the Independent
Monitoring Team (IMT) files it with the Court. The Report covers July 1, 2023 through December
31, 2023, a period in which the City of Chicago and the Chicago Police Department (CPD)
continued to make incremental progress implementing reforms mandated by the consent decree.
While the City and CPD have reached the first level of compliance with over 85% of monitorable
paragraphs, the path to operational compliance remains long as only 7% of consent decree
requirements have been fully achieved.
        The Report covers a period in which a new CPD Superintendent expressed commitment to
reform and collaboration with the OAG and IMT. OAG is hopeful that this commitment ultimately
results in a reform-oriented culture throughout CPD, and we appreciate the dedication of the
Department members and City personnel who work on implementing the consent decree every
day.
       The filing of the Report comes at a heavy moment for Chicagoans and CPD. Many
questions remain about the fatal police shooting of Dexter Reed earlier this spring after a traffic


 500 SOUTH SECOND STREET, SPRINGFIELD, ILLINOIS 62706 • (217) 782-1090 • TTY: (217) 785 -2771 • FAX: (217) 782-7046
  100 WEST RANDOLPH STREET, CHICAGO, ILLINOIS 60601 • (312) 814-3000 • TTY: (312) 814-3374 • FAX: (312) 814-3806
      1001 EAST MAIN, CARBONDALE, ILLINOIS 62901 • (618) 529-6400 • TTY: (618) 529-6403 • FAX: (618) 529-6416
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stop that also left one CPD officer wounded. Even as Chicagoans were reeling from the footage of
Reed’s death, CPD Officer Luis Huesca was killed on his way home following a late-night shift.
        These tragedies come at a time when CPD is already under significant pressure as Chicago
prepares to host the Democratic National Convention (DNC) in August. As the Department is fully
aware, the eyes of the world will be on Chicago—and CPD—this summer. OAG encourages CPD
to rise to the challenge of this moment by putting the core principles of the consent decree into
practice by using de-escalation techniques, incorporating a community policing philosophy into
crime fighting strategies, consistently supervising front-line officers, and prioritizing sufficient
resources to achieve reform.
        As in the past five years, this summer will no doubt challenge the City and CPD to ensure
public safety while also maintaining the critical work of reform. Even without the DNC, summers
in Chicago tend to bring increased violence and exhausted officers stretched thin from unrelenting
deployments. With the DNC in August, the Department’s job this summer will have an especially
high degree of difficulty. We urge the Department to continue its progress on the consent decree
because lasting improvements to public safety ultimately depend on a foundation of community
trust.
                               Critical Policies Remain Overdue
       CPD has made progress tackling important policies that OAG has emphasized in prior
monitoring periods. Nonetheless, several policies essential to CPD’s reform efforts remain
outstanding. These include:
   •   CPD’s policy ensuring meaningful access to police services for individuals with limited
       English proficiency;
   •   CPD’s policy ensuring meaningful access to police services for individuals with
       disabilities; and
   •   CPD’s policy governing investigations of officer-involved shootings and deaths in
       compliance with the Consent Decree and Illinois law.

         CPD’s delayed implementation of these policies impacts Chicagoans every day, as officers
continue to operate under outdated guidance. Furthermore, even after CPD finalizes these policies,
the Department must undertake the large task of training its officers on them, before their effects
are likely to be felt on the street. Additionally, while CPD has been conducting some community
engagement to inform these policies, we continue to hear calls for the Department to involve
community members, especially Black and brown people with lived experience, people with
disabilities, and young people, earlier in the policy development process and to listen and respond
to their concerns and recommendations. We encourage CPD to work towards obtaining this input
and prioritize finalizing these critical policies which may affect thousands of Chicagoans.
         CPD’s and the City’s Staffing Allocation Choices Have Hindered Reform
       As in prior monitoring periods, nearly every section of the Report emphasizes the staffing
shortages experienced by those divisions of CPD tasked with the nuts and bolts of police reform.
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The Office of Community Policing, the Crisis Intervention Unit, the Tactical Review and
Evaluation Division (TRED), the Training and Support Group, and Reform Management are all
critically understaffed. Furthermore, among the already inadequate staff in these divisions, staff
members are frequently deployed out to other tasks. The Bureau of Internal Affairs is also critically
understaffed and accountability sergeants in the districts struggle with competing patrol
responsibilities.
         All these units perform critical reform functions, and inadequate staffing hinders progress
towards compliance. The Crisis Intervention Unit has 50% of the staff it had just two years ago.
As the Monitor notes, the CIT District, Operations and Community Support unit “has been too
understaffed and under-resourced to meet its objectives.” (Report, p. 33). The shortage in CIT
DOCS personnel (11 officers cover the entire city) prevents them from “conducting the required
crisis-call follow-up activities that are essential to a successful diversion program” and from
adequately responding to CIT reports and building community partnerships. Id. As another
example, TRED continues to experience staffing shortfalls and backlogs that hinder its ability to
drive reform. In the sixth monitoring period, TRED’s backlog caused CPD to lose compliance
with paragraphs 574 and 575, and due to inadequate staffing and continued backlogs, CPD has
still not regained compliance with paragraph 575. While CPD has recently taken steps to increase
TRED’s staffing levels and made progress towards decreasing the backlog, the increased public
safety demands of summer threaten that progress. Finally, if the City and CPD wish to accelerate
their efforts towards operational compliance with many requirements across sections, data is
critical. The City must adequately staff CPD’s Audit Division in addition to providing personnel
with data analysis expertise where needed.
        In February, a City Council committee approved an ordinance requiring CPD to conduct a
staffing analysis 1, which is also a requirement of the consent decree. OAG is hopeful that the
results of this study assist the City and CPD in responding more quickly to 911 calls and provide
necessary data to adequately staff the units performing critical reform work.
                            Progress in the Ninth Monitoring Period
        The City and CPD made progress towards certain requirements in the ninth monitoring
period, some of which is highlighted below.
    •   The Office of the Inspector General and the Deputy Inspector General for Public Safety
        achieved full and effective compliance with their consent decree obligations.
    •   The Civilian Office of Police Accountability (COPA) continued to make progress toward
        secondary and operational compliance with its responsibilities under the consent decree.



1
 Fran Spielman and Tom Schuba, City Council Committee OKs Study on How Best to Deploy Chicago
Police as Resources Shrink, Some Crimes Spike, CHICAGO SUN TIMES (February 5, 2024), available at
City Council committee OKs study on how best to deploy Chicago police as resources shrink, some
crimes spike - Chicago Sun-Times (suntimes.com).
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   •   CPD finalized the Interactions with Youth and Children policy and the Body-Worn Camera
       policy.
   •   CPD held its annual Peer Support meeting and provided refresher training for Peer Support
       members.
   •   The City and the CPD provided a final assessment report of its current data systems and
       technology that will be used to inform the development of a Data Systems Plan.
   •   CPD developed, implemented, and trained 95% of Bureau of Internal Affairs (BIA)
       Personnel, BIA Investigators, and Accountability Sergeants on six modules of training
       about numerous Consent Decree requirements.

        As COPA approaches full compliance with many of its consent decree obligations, and
CPD has put many of the Use of Force requirements into its policies and training, the IMT will be
required to develop appropriate methodologies for assessing whether COPA and CPD have
adopted these requirements in practice. Assessing full compliance for many reform efforts will
require, in part, a comprehensive audit or other statistically sufficient review of a random sample
of investigative files and use of force incidents. OAG looks forward to working with the IMT and
City to develop a methodology and timeline for these reviews to ensure that full compliance
determinations are based on adequate data, including a qualitative analysis of a broad range of
investigations and use of force incidents. In developing appropriate methodologies, OAG
encourages the IMT to collaborate with the City’s Office of the Inspector General and Deputy
Inspector General for Public Safety, who have experience and subject-matter expertise in
conducting similar audits. Measuring whether the City has put individual requirements into
practice may be challenging, but is a vital final step in the reform process.
                                           Conclusion
        Finally, we acknowledge that CPD and the City have been working hard for months to
prepare for the DNC in August. A fundamental component of safeguarding the DNC is protecting
the exercise of First Amendment rights, and we appreciate the Department’s focus on developing
training about how to respect First Amendment freedoms amid an event of this magnitude. In the
ninth monitoring period, CPD relied on the expertise of the Monitoring Team for technical
assistance and appears committed to implementing important policy and training changes adopted
after the summer of 2020. We continue to encourage CPD to ensure that its efforts to protect public
safety and First Amendment freedoms are transparent and consistent with the philosophy of
community policing.
        OAG appreciates the Monitoring Team’s efforts to streamline the report in response to
community feedback. OAG is hopeful that the more digestible report and monthly public status
hearings provide more timely, transparent information to the public about the progress of reform.
In the coming months, OAG encourages the City and the Department to ensure that reform efforts
do not stall. We remain committed to partnering with the City and CPD in this critical work.
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                                                                                   PAGE 5 OF 5


                                                    Respectfully,

                                                    KWAME RAOUL
                                                    Attorney General of the State of Illinois

                                                    s/Mary J. Grieb
                                                    Mary J. Grieb
                                                    Deputy Chief, Civil Rights Bureau
                                                    Office of the Illinois Attorney General
                                                    115 S. LaSalle St.
                                                    Chicago, Illinois 60615
                                                    773.590.7959
                                                    Mary.Grieb@ilag.gov

cc: Jennifer Bagby, Allan Slagel, Counsel for the City of Chicago (via email)
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       Attachment B:
       City of Chicago
       Comments (May 13, 2024)




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                           May 13, 2024

                           Independent Monitoring Team
                           c/o Maggie Hickey, Independent Monitor
                           233 South Wacker Drive, Suite 7100
                           Chicago, IL 60606
                           Maggie.Hickey@afslaw.com


City of Chicago            Dear Ms. Hickey:
Brandon Johnson, Mayor
                                  The City of Chicago provides its comments to the Independent
Department of Law
Mary Richardson - Lowry    Monitoring Team’s final draft report for the reporting period July 1, 2023,
Corporation Counsel
                           through December 31, 2023, 2023 (IMR 9). The City looks forward to
                           continued compliance progress in the current monitoring period (January 1,
121 North LaSalle Street
Suite 600                  2024 – June 30, 2024).
Chicago, Illinois 60602
(312) 744-0220
(312) 744-5185 fax
                                                 City of Chicago’s Comments on the
www.cityofchicago.org                           Ninth Independent Monitoring Report

                                  Pursuant to Consent Decree Paragraph 663, the City of Chicago (“City”)
                           provides the following response to the Independent Monitoring Team’s
                           (“IMT”) final draft Independent Monitoring Report 9 (“IMR9 Report”). The
                           City’s response includes an attached chart of specific paragraph concerns by
                           CPD and a written response from COPA.

                                  Summary of the City’s Continued Increased Compliance

                                  By the close of the ninth reporting period, the City has achieved some
                           level of compliance with approximately 88% of the monitorable paragraphs
                           assessed by the IMT in IMR 9. This represents a continued steady increase in
                           the City’s overall compliance.

                                  The City’s consistently increasing rates of compliance are significant
                           but represent only a portion of the work done throughout the reporting period.
                           The City appreciates the IMT’s acknowledgement that “this report represents a
                           sixth-month assessment of the City’s compliance efforts from July 1, 2023,
                           through December 31, 2023 . . .It does not reflect all the efforts of the City, the
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                                                      C H IC A G O, I LLIN O IS 6 0602
                                         3 12 .74 2. 640 8 · J e nn i fe r. B ag b y@C it y o fC h ic a go .o rg
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                                                                                                  2

CPD, or the other relevant City entities to date.” (See IMR 9 Report – Executive Summary, pg. 2).
The City further appreciates that the IMT’s Executive Summary for IMR 9 includes major
achievements by CPD and other relevant City agencies in addition to highlighting principal
challenges.     (See IMR 9 Report – Executive Summary, Major Developments and Principal
Achievements and Challenges Impacting Compliance, pg. 5 – 8). The acknowledgement of the
efforts being made for future progress along with the additional information recognizes the
building nature of the City’s reform efforts while still noting the areas where the City has more
work to do.

        Some of the notable achievements in the Ninth Monitoring Period include:

    •   The completion / implementation of numerous CPD policies and policy suites after review
        by the IMT and OAG, including: CPD’s Interactions with Youth and Children policy
        (G02-05); Recognizing and Responding to Individuals in Crisis” (S04-20); Body Worn
        Camera (BWC) policy (S03-14); Complaint and Disciplinary Systems (G08-01);
        Complaint, Disciplinary Investigators and Investigations (S08-01); Preliminary
        Investigations (G04-01); Conducting Log Number Investigations (S08-01-05)
    •   CPD achieved the required 95% of Department members completing 40-hours of annual
        in-service training for calendar year 2023. The 40-hours of training included the following
        courses:
              o Constitutional Policing,
              o Officer Wellness,
              o 2023 Use of Force Training, and
              o Fair and Impartial Policing.
   •    CPD contracted with the University of Texas - San Antonio to complete the Use of Force
        data analysis project required by paragraphs 572 and 573.
   •    CPD increased the consistency of the Force Review Board meetings by creating a template
        to ensure effective presentations that address all Consent Decree and SOP requirements.
   •    The delivery of eight hours of the approved training to BIA investigators.
   •    Prohibition on Retaliation eLearning by training over 95% of relevant department
        members.
   •    CPD completed an assessment of its information mechanisms consistent with paragraph
        606 that touched on all sections of the Consent Decree.
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   •   COPA reached full compliance with approximately 80% of all of its assessable paragraphs.

IMT Reporting Process

       The Monitor’s current report, Report 9, documents the City’s compliance efforts for July
1, 2023 – December 31, 2023. In previous reporting periods, the City repeatedly requested that
the IMT find a way to make the reports shorter and more user friendly, to both expedite the process
of getting the report published and to create a document that was accessible to members of the
public. For the draft IMR-9 Report, the IMT appears to have tried to make the report shorter, but
actually made the process of reviewing the report more time consuming and cumbersome and in
the process also created a document that does not reflect all of the work and efforts of the City
during the period. The IMT’s new report format only addresses paragraphs where the levels of
compliance changed. Unfortunately, this means that paragraphs where the City (and CPD)
produced materials towards compliance with paragraphs during the reporting period but the IMT
did not modify the level of compliance are not addressed and no reasoning for why compliance
was not awarded in the reporting period is provided by the IMT. As the City and CPD discussed
with the IMT, this approach might work if the IMT’s review and response to the CPD’s
submissions included clear guidance of whether compliance had been achieved. Instead, the IMT
continues to issue “no objection” notices in response to certain policies and trainings but then fails
to award compliance when the policy or training is implemented. The IMT, the City and CPD
have had numerous discussions about this issue throughout IMR 10 and hopefully moving forward
the IMT’s responses to CPD’s submissions will address the paragraphs for which CPD is seeking
compliance and the IMR 10 report will address all paragraphs for which the City and CPD have
made submissions seeking increased levels of compliance in IMR 10.


Methodologies

       Consent Decree Paragraph 655 provides that the IMT will develop and share with the City
and the OAG a proposed methodology for its compliance reviews. Paragraph 655 allows for the
parties to submit comments regarding the methodology, which both the City and the OAG
consistently submitted during earlier monitoring periods. However, the City has refrained from
providing comments in more recent periods due to the IMT’s unwillingness to substantively


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address the City’s concerns, many of which are noted in the comments below. Additionally, the
OAG has also refrained from providing comments in recent periods.
         The City recognizes the complexity and difficulty of developing distinct methodologies for
several hundred Consent Decree requirements spanning numerous topics and appreciates the
IMT’s efforts to do so in a thorough manner. The City, however, believes that many of the
methodologies delineated by the IMT add substantive requirements beyond the legal requirements
stated in the Consent Decree. Other methodologies do not provide adequate detail about the data
sources and analysis methods that will be used to assess compliance.
         Consent Decree Paragraph 624 provides that the IMT’s review will determine whether the
City has substantially complied with the Consent Decree. This paragraph further notes that
“Compliance with a requirement means that the City and CPD: (a) have incorporated the
requirement into policy; (b) have trained all relevant personnel as necessary to fulfill their
responsibilities pursuant to the requirement; and (c) are carrying out the requirement in actual
practice.” Based on this paragraph, the IMT assesses whether the City and its entities are in
preliminary, secondary, or full compliance—each of these levels typically mirrors the three
subparts of ¶ 642.1
         As noted below, many of the City’s disagreements with the IMT’s current report involve
methodology descriptions that vary from the methodologies described above or that fail to give
the appropriate credit for materials developed and submitted for compliance.                           The City is
concerned that the IMT often conflates the requirements for full compliance when assessing
secondary compliance. Additionally, often the IMT’s methodologies do not provide sufficient
actionable detail to allow the City to understand what will be required to achieve the next level of
compliance. The IMT reports used to provide some specific guidance, which the City found
immensely helpful in planning their future compliance efforts. The format of the IMR9 report
however abandons that structure leaving the City uncertain as to the path for achieving compliance.
Accordingly, where guidance is unclear or based upon a methodology beyond what is contained
in the Consent Decree, it may delay the City’s compliance efforts and may present a misleading
picture to the public regarding the extent to which the City is undertaking the steps required to
achieve compliance.



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 For certain Consent Decree requirements, this three-pronged analysis is less suitable. In those situations, the
Monitor develops alternate methodologies for assessing compliance.
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       Some concerns related to specific section or paragraph assessments are addressed below,
and further concerns are contained in CPD’s attached paragraph chart and have been addressed in
prior correspondence and conversations between the parties and the IMT. The City looks forward
to future discussions with the IMT and OAG about methodologies as part of the Comprehensive
Assessment. The City believes that clearly delineated methodologies allows the City to plan for
compliance. Additionally, the City maintains that clearly established methodologies are essential
for the public to understand the work being done and how compliance is being assessed.


SPECIFIC COMMENTS
       The City provides the following responses to the IMT’s comments related to various
Consent Decree sections / specific Consent Decree paragraphs / or involved City Agencies. These
comments are specific to CPD unless otherwise noted:


Community Policing:
       Paragraphs 22, 24, 25, 46 (Clarification sought): The City and CPD produced a Beat and
DAC Follow-Up Report on December 7, 2023, for secondary compliance with these paragraphs.
Additional clarification is necessary to explain why these materials did not achieve secondary
compliance for these paragraphs. Based upon the IMT’s new report format, no mention is made
in the report about the compliance sought by CPD and why secondary compliance was not
achieved.
       See CPD’s attached paragraph chart for additional comments related to Community
Policing.

Impartial Policing:
       Paragraph 57 (Methodology): The City and CPD disagree with the IMT’s compliance
assessment for this paragraph. Consent Decree paragraph 57 requires that “CPD will continue to
prohibit CPD members from posting, displaying, or transmitting content that is disparaging to a
person or group based on race, religion, sexual orientation, or other protected class on personal
social media accounts.”      The City and CPD maintain that secondary compliance with this
paragraph was achieved through the Constitutional Policing and Communications in the Police
Environment trainings that were delivered to over 95% of required members by the end of IMR 9.
The Communications in the Police Environment training also achieved secondary compliance with
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paragraphs 54 and 56. The Constitutional Policing course also achieved secondary compliance
with paragraph 58.      Accordingly, these training courses should have achieved secondary
compliance with paragraph 57.
       See CPD’s attached paragraph chart for additional comments related to Impartial Policing.


Crisis Intervention:
       The City has raised concerns through the past few reporting periods about the
methodologies and assessment of this section of the Consent Decree. The IMT often appears to
conflate the requirements of paragraphs within this section, often appears to impose requirements
that have no connection to individual paragraphs and has removed levels of compliance using
methodologies that are inconsistent with the methodology used to award the compliance in the
first place. Below are concerns specific to CPD and OEMC.
   •   OEMC – Paragraphs 142, 143
           o Paragraph 142:
       The City and OEMC disagree with the IMT’s removal of both secondary and full
compliance with paragraph 142. The IMT’s assessment and comments on paragraph 142 in the
IMR 9 report are an example of the ongoing issues that the City has repeatedly raised with the IMT
regarding the monitoring of the Crisis Intervention section and methodologies generally. The City
continues to request that the IMT establish clear and consistent methodologies tied to the
requirements of the paragraphs. Even now, five years into the Consent Decree, the IMT’s
methodology for awarding compliance with this paragraph is unclear. The IMT’s bases for
withdrawing both secondary and full compliance with paragraph 142 appear twofold: (1) because
it only learned in IMR 9 that many OEMC telecommunicators had received the necessary training
as far back as 2016, before the current training was approved in 2020 and (2) because it has never
received or reviewed the contents of the pre-2020 training. (IMR 9 comments on paragraph 142).
Both bases are inaccurate and inconsistent with the methodology that was apparently used to award
both secondary and full compliance with this paragraph.
       OEMC achieved preliminary and secondary compliance with paragraph 142 in the first
reporting period (March 1, 2019 – August 30, 2019). At that time, in awarding both preliminary
and secondary compliance, the IMT wrote that they had “reviewed training documents provided
by the OEMC and has determined that nearly all current, active telecommunicators have received
mental-health awareness and Crisis Intervention Team (CIT) training. The documentation
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provided by the OEMC indicates that 464 call takers and telecommunicators have been trained in
CIT and Mental Health Awareness between February 21, 2016, and June 24, 2018.” (See IMR 1
Report, page 55). Thus, in IMR 1 the IMT was aware that 464 call takers and telecommunicators
had been trained prior to 2020. Additionally, by the IMT’s then methodologies, the fact that the
call takers and telecommunicators had received CIT and Mental Health Awareness training was
sufficient to award secondary compliance in August of 2019.
       OEMC achieved full compliance with paragraph 142 in IMR 4, where the IMT wrote that
“[t]he City and the OEMC achieved Preliminary and Secondary compliance with the requirements
of ¶142 based on its demonstration that all current active telecommunicators have received mental-
health and CIT awareness training. The OEMC has also memorialized this requirement into a
policy, which clearly states the requirement for all telecommunicators to receive the mental health
and CIT awareness training. The efforts by the OEMC to ensure policy, training, and operational
compliance for this paragraph are commendable. Moving forward, the IMT will continue to audit
OEMC member training records to ensure that the requirements of ¶142 continue to be fulfilled.”
(IMR 4 Report, page 255). OEMC maintained full compliance with paragraph 142 in IMR 5 and
IMR 6, where the IMT noted that full compliance was assessed by confirming that 95% of required
employees had received the required training. In IMR 7, the IMT again found OEMC to be in full
compliance with paragraph 142 but stated that in order to maintain full compliance with paragraph
142, OEMC would also need to train the fire dispatchers, despite the plain language of the Consent
Decree which only sets requirements on police call takers and dispatchers. In IMR 8, the IMT
again found OEMC to be in full compliance with paragraph 142 and appeared to accept that the
requirements of the Consent Decree only apply to the police call takers and dispatchers.
       In the IMR 9 Report, the IMT states that OEMC lost both secondary and full compliance
with paragraph 142 because OEMC appears to be relying upon the pre-2020 training, which the
IMT has never reviewed to confirm that it meets the requirements of the Consent Decree. (See
IMR 9, IMT comments on paragraph 142). The IMT maintains that the only pre-2020 materials
related to mental health training that they received from the City and OEMC were “Roll Call
Training – Self Care”; “Roll Call Training – PTSD”; and “CIT Evaluation Forms.” This is
incorrect. On August 12, 2019, the IMT requested “Copies of the curriculum, including the names
of the presenters, credentials of the presenters, topics covered, length of each module, and pre and
post evaluations for required Dispatcher/Communications Training regarding Crisis Intervention
for all telecommunications (Mental Health CIT Awareness Training)”. On August 30, 2019, the
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City produced the roll call training materials and evaluations that the IMT notes (see MONITOR
12335 – 12493 and 12616 – 12493) and also produced the “Mental Health Crisis Awareness”
training materials (see MONITOR 12494 – 12615). Additionally, the City supplemented the
August 30, 2019, production on September 11, 2019, by providing the “Lesson Plan for the 8-hour
Mental Health Crisis Awareness training” (see MONITOR16146-16155). This formal written
response to IMR 9 is now the fourth time since February 2024 that the City has pointed this out to
the IMT; however, the IMT continues to ignore the production of these materials in 2019 and to
claim that the only thing that they ever received were the roll call trainings.
       Finally, in addition to receiving the materials for the pre-2020 training, the IMT attended
the training in IMR 1. In awarding preliminary compliance with paragraph 143 in IMR 4, the IMT
wrote: “[i]n the first monitoring period, members of the IMT observed the OEMC’s delivery of
the eight-hour training. The OEMC staff and external instructors (including mental-health
clinicians and advocates) were well qualified to deliver their presentations. The external instructors
included representatives from the National Alliance on Mental Illness and from people with lived
experience.” (See IMR 1 Report, page 55).
       All of the above demonstrate the inconsistent methodologies which the IMT has applied to
OEMC and these paragraphs since IMR 1 and why the City and OEMC maintain that the
withdrawal of both full and secondary compliance with paragraph 142 in IMR 9 is contrary to the
evidence of proof of compliance. At a minimum, the IMT’s methodologies for the original finding
of secondary compliance would still stand and OEMC should maintain secondary compliance with
paragraph 142.
           o Paragraph 143
       The City and OEMC disagree with the IMT’s removal of both secondary and full
compliance with paragraph 143. As with paragraph 142, the IMT has withdrawn compliance using
different methodologies than it used to award compliance and has conflated the requirements of
other paragraphs in its reasoning. OEMC achieved both preliminary and secondary compliance
with paragraph 143 in IMR 4. At that time, the IMT wrote that “OEMC finalized their Mental
Health Training directive, which clearly states the requirements of ¶143. In the first monitoring
period, members of the IMT observed the OEMC’s delivery of the eight-hour training. The OEMC
staff and external instructors (including mental-health clinicians and advocates) were well
qualified to deliver their presentations. The external instructors included representatives from the
National Alliance on Mental Illness and from people with lived experience.” (See IMR 4 Report,
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page 256). By the IMT’s methodologies, secondary compliance was awarded based upon the
policy which set forth the requirements of paragraph 143. Therefore, the IMT’s withdrawal of
secondary compliance is inconsistent with the methodologies used to award it and OEMC should
maintain secondary compliance with paragraph 143.
       OEMC achieved full compliance with paragraph 143 in IMR 5. (See IMR 5 Report, page
139 - 140).   At that time, the IMT wrote that OEMC achieved full compliance by producing
evidence of those individuals who attended the 8-hour training since the last submission. (See Id.)
OEMC maintained full compliance with paragraph 143 in IMR 6 by producing records of training
attendance.   (See IMR 6 Report, page 149).                   IMR 6 also saw the beginning of increased
requirements from the IMT for OEMC to maintain full compliance. (See Id. at 149 – 151). In
IMR 7, OEMC maintained full compliance by producing training attendance records; however,
the IMT commented that it would begin considering OEMC’s engagement with CCMHE in
assessing full compliance, despite the plain language of the paragraph which does not involve
OEMC’s relationship with CCMHE. (See IMR 7 Report, page 188 – 191). In IMR 8, OEMC
again maintained full compliance with paragraph 143 by producing training attendance records.
(See IMR 8 Report, Appendix 3, pages 75 – 76). Again, the IMT commented that it would consider
OEMC’s engagement with CCMHE in assessing full compliance. (See Id.). The IMT then went
on to cite a number of paragraphs and requirements inapplicable to OEMC. (See IMR 8 Report at
page 75, “Full compliance was assessed in the fifth reporting period by evaluating records of
attendance, and ongoing Full compliance will also assess the City’s and the OEMC’s efforts to
engage with the community, including the CCMHE, regarding requisite policy, training, and
operations development and implementation as referenced in the Consent Decree (¶¶10, 12, 49,
52, 115, 129, 511, 531, and 633)).
       Despite its prior reports referenced above the IMT comments on paragraph 143, for IMR9
state that preliminary compliance was assessed based upon OEMC’s policy setting forth the
requirements of paragraph 143. (See IMR 9 Report, Appendix 3, comments on paragraph 143).
The IMT further report in IMR9 that secondary compliance was assessed “by determining whether
the City and the OEMC have qualified personnel fulfilling the responsibilities to achieve the goals
of the Consent Decree and the requirements of ¶143, along with reviewing training curricula.”
(Id.). It is unclear from this methodology how OEMC has lost secondary compliance with this
paragraph. The IMT includes the same claims about the pre-2020 training curriculum. As detailed
above, the IMT’s description of events is inconsistent with its prior reports.
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       The IMT’s IMR 9 comments on paragraph 143 go on to state that “[t]he IMT assessed Full
compliance by evaluating training attendance records, and by considering the City’s and the
OEMC’s efforts to engage with the community, including the Chicago Council on Mental Health
Equity (CCMHE), regarding requisite policy, training, and operations development and
implementation as referenced in the Consent Decree (see ¶¶10, 12, 49, 52, 115, 129, 511, 531, and
633). This described methodology has no connection to the plain language of Consent Decree
paragraph 143 which states that “[t]he OEMC training will be at least an eight-hour course taught
jointly by qualified OEMC staff and a mental health clinician or advocate.” Additionally, the
IMT’s citation to paragraphs 10, 12, 49, 52, 115, 129, 511, 531, and 633 have nothing to do with
OEMC and the requirements of paragraph 143.
       As stated above, the City and OEMC disagree with the IMT’s withdrawal of secondary and
full compliance with paragraph 143. At a minimum, the IMT’s own stated methodologies would
require a finding that OEMC maintain secondary compliance with this paragraph.
   •   CPD - Paragraph 92:
       The City and CPD disagree with the IMT’s removal of secondary compliance with this
paragraph. Paragraph 92 states that “[c]ertified CIT Officers are officers who receive specialized
training in responding to individuals in crisis.                Certified CIT officers retain their standard
assignment and duties but may also take on specialized crisis intervention duties and are prioritized
to respond to calls in the field identified as involving individuals in crisis, as assigned.” In
withdrawing secondary compliance with this paragraph, the IMT appears to cite staffing issues
even though the plain language of the paragraph is not tied to staffing levels. CIT staffing levels
are covered in paragraphs 93 and 95. If the IMT wishes to withdraw compliance due to staffing
issues it should be done in paragraphs 93 and 95 not paragraph 92.
       Additionally, the IMT attempts to require that CPD re-enroll officers in the Basic 40-hour
training by citing “best practices” without citing any actual authority while ignoring the fact that
best practices already control the content and the process by which officer become certified CIT
officers, which is controlled by the Illinois Law Enforcement Training and Standards Board
(ILETSB). Paragraph 95 makes clear that “[c]ertified CIT Officers, at a minimum, must complete
the specialized 40-hour Basic CIT Training (“Basic CIT Training”) and receive CIT certification
by the Illinois Law Enforcement Training and Standards Board before being identified as a
“Certified CIT Officer.” To maintain the Certified CIT Officer designation, officers must receive

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a minimum of eight hours of CIT refresher training (“CIT Refresher Training”) every three years
and maintain the eligibility requirements established by the CIT Program.”


Use of Force:
       Paragraphs 236, 237, 238 (Methodology): The City and CPD disagree with the IMT’s
compliance assessment for these paragraphs. In IMR-9, CPD finalized and implemented S03-14:
Body Worn Camera policy. The City maintains that the implementation of this policy should have
achieved preliminary compliance with 236, 237, and 238 rather than the “under assessment”
awarded by the IMT. This policy achieved preliminary compliance with paragraphs 239, 240, and
241 and likewise should have achieved preliminary compliance with paragraphs 236, 237, and
238.
       See CPD’s attached paragraph chart for additional comments related to Use of Force.

Recruitment, Hiring, and Promotions
       See CPD’s attached paragraph chart for comments related to RHP.


Training
       See CPD’s attached paragraph chart for comments related to Training.


Supervision
       See CPD’s attached paragraph chart for comments related to Supervision.


Officer Wellness
       See CPD’s attached paragraph chart for comments related to Officer Wellness.


Accountability
   •   City – Paragraph 445
       The City disagrees with the IMT’s assessment of paragraph 445 and believes the City
should be in full compliance with this paragraph. Paragraph 445 requires that the City “use best
efforts to initiate and undertake a process with the CCSAO, United States Attorney’s Office, Cook
County Public Defender’s Office, and the Federal Defender’s Office to share information on at
least a quarterly basis regarding any affirmative judicial findings made during the course of
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criminal proceedings that a CPD member was untruthful, including any findings made at
suppression hearings. Upon receipt of information from the CCSAO, United States Attorney’s
Office, Cook County Public Defender’s Office, and the Federal Defender’s Office that may
suggest misconduct COPA will initiate the intake process.” As the IMT has noted, the City and
COPA entered into an MOU to obtain the required information regarding judicial findings of
untruthfulness. Additionally, COPA developed a policy to initiate the intake process and conduct
any necessary investigation. The IMT continues to claim some requirement on CPD’s part in this
process and is withholding full compliance because it believes that CPD also has an obligation.
Paragraph 445, however, provides that the responsible parties are the City and COPA, who has
jurisdiction to investigate any claims of untruthfulness under Rule 14. Accordingly, the City as a
whole should be in full compliance with this paragraph. If the IMT continues to maintain some
responsibility on CPD to achieve full compliance with this paragraph it is necessary that the IMT
articulate CPD’s obligation under this paragraph.


   •   CPD Paragraphs 521, 528, 529, 530
       The City and CPD disagree with the IMT’s compliance assessment with these paragraphs.
CPD reopened G08-01, Complaint and Disciplinary Systems, to ensure the requirements of this
paragraph were codified consistent with the methodology for achieving preliminary compliance
with these paragraphs.
       See CPD’s attached paragraph chart for additional comments related to Accountability.


Data
       See CPD’s attached paragraph chart for comments related to the Data section.


ISRs
       See CPD’s attached paragraph chart for comments related to ISRs.


COPA
       As COPA looks ahead to the next reporting period, it believes it can realistically target full
compliance with every one of its required Consent Decree paragraphs. COPA looks forward to
working with the IMT - and the Office of the Illinois Attorney General (OAG) – to provide timely
feedback and technical assistance on what is required to demonstrate operational compliance. The
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City has repeatedly informed the IMT that clarity around these requirements has been a challenge
for COPA’s staff in the most recent reporting periods. While COPA appreciates the timely review
and comment by both the IMT and OAG on the first two levels of compliance – policy and training
– COPA is often uninformed about what is required to achieve full compliance until after the
reporting period ends, if at all. Hopefully, recent conversations between the IMT and COPA in the
current reporting period will lead to improvement in the next report.


       Thank you for the opportunity to provide this response.



                                                       Sincerely,

                                                       /s/ Jennifer K. Bagby
                                                       Deputy Corporation Counsel
                                                       City of Chicago Department of Law
                                                       Public Safety Reform Division


Cc:    Christopher Wells, Office of the Attorney General
       Scott Spears, Acting General Counsel, CPD
       Allan Slagel, Taft Law
       Ryan Nelligan, General Counsel and Deputy Director of Labor and Legal Affairs, OEMC
       Robin Murphy, General Counsel, COPA




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                                                                                                II. COMMUNITY POLICING
 Para                                          Compliance in IMR Compliance CPD
Number CPD Concern        Location in Report       9 Draft         is Seeking                                                                   CPD Comment
         Needs                                                                    CPD produced A Beat and DAC Follow-Up Report on 07 Dec 2023 for Secondary compliance and appreciates greater feedback regarding the
  22     Clarification   p. 22 (IMR 8)         Preliminary          Secondary     review of this material
         Needs                                                                    CPD produced A Beat and DAC Follow-Up Report on 07 Dec 2023 for Secondary compliance and appreciates greater feedback regarding the
  24     Clarification   p. 27 (IMR 8)         Preliminary          Secondary     review of this material
         Needs                                                                    CPD produced A Beat and DAC Follow-Up Report on 07 Dec 2023 for Secondary compliance and appreciates greater feedback regarding the
  25     Clarification   p. 29 (IMR 8)         Preliminary          Secondary     review of this material
                                                                                  CPD submitted the policy G02-05 "Interactions with Youth" through the 627 review and approval process in IMR-9. CPD codified the
                                                                                  requirements of this paragraph the policy and received No Objections from the IMT and OAG in IMR-9. The policy was finalized and
  32     Methodology                           No Compliance        Preliminary   published. CPD should achieve preliminary compliance for this paragraph.
         Needs           p. 14 (IMR 9) p. 63                                      CPD produced the SRO Evaluation Committee Meeting materials on 21 Dec 2023 for secondary compliance and appreciates greater feedback
  41     Clarification   (IMR 8)               Secondary            Secondary     regarding the review of this material
         Needs                                                                    CPD produced A Beat and DAC Follow-Up Report on 07 Dec 2023 for Secondary compliance and appreciates greater feedback regarding the
  46     Clarification   p. 74 (IMR 8)         Preliminary          Secondary     review of this material
                                                                                                 III. IMPARTIAL POLICING
 Para                                          Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report       9 Draft         is Seeking                                                                CPD Comment
                                                                                  In IMR-9 CPD completed the Communication in Police Environment eLearning and produced the 95% Compliance Report on 12 October 2023
  57     Methodology     p. 17 (IMR 8)         Preliminary          Secondary     (MONITOR1732). CPD should achieve secondary compliance for ¶57.
                                                                                                        IV. CIT
 Para                                          Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report       9 Draft         is Seeking                                                                      CPD Comment

                                                                                  The 40-hour Crisis Intervention certification course has never been completely revamped. Rather, modifications and updates have been
                                                                                  made to the original curriculum and are included in the refresher training (and will continue to do so in future iterations as is the intent of
                                                                                  the refresher training requirements in para. 95, 97, 99-101). All certified CIT officers must complete the refresher training in the 3-year
                                                                                  timeline to remain certified for deployment purposes. ILETSB has at no time required any certified officers to be re-enrolled in the 40-hour
                                                                                  certification curriculum. The report is requiring CPD to address staffing reductions in the CIU, however this paragraph does not relate to
                         p. 1 (IMR 9) p. 16    Preliminary - Lost   Secondary -   ensuring adequate staffing. That is addressed and subsequently assessed for compliance in Para 90 and 91 and eligibility requirements are
  92     Methodology     (IMR 8)               Secondary            Maintained    assessed in para 93 and 95. Consequently, consistent with the methodology, secondary compliance should not be withheld.
                                                                                                      V. USE OF FORCE
 Para                                          Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report       9 Draft         is Seeking                                                                      CPD Comment

         Factually                                                                IMT states preliminary compliance was obtained in IMR-2 with G03-03-01: Emergency Vehicle Operations – Eluding and Pursuing, however
167      Inaccurate      p. 10                 Secondary (New)      N/A           the policy submitted for preliminary compliance by R&D/CPD was U02-01: Department Vehicles (MONITOR235)

                                                                                  IMT continues recommending CPD to implement a database to track all officers who are certified Taser users, the date of their certification,
         Factually                                                                length of their certification, and requirements of their certification, searchable by reporting period. · On 15 DEC 23 during the monthly call,
197      Inaccurate      p. 22                 Operational (New)    N/A           CPD presented to the IMT/OAG that the recommendations are already in place via the CLEAR application
                                                                                  IMT states Taser use in schools should be documented somewhere in addition to the TRED report. In 2023, CPD produced the 2022-2023
201      Methodology     p. 32                 Secondary (New)      Full          Annual SRO Report and tagged paragraph 201 (MONITOR1777).

                                                                                  Assessment of full compliance moving forward is being based on review of COPA cases involving Taser use. This full compliance review
204      Methodology     p. 34 (IMR 8)         Secondary (New)      Full          differs from the methodology and assessment sources included in the previously provided IMT methodology spreadsheet.
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                                                                                   Inconsistent methodology as S03-14: Body Worn Camera (MONITOR1584) policy was submitted for preliminary compliance with this
                                                                                   paragraph and not granted, however it was awarded to Par 239 (p. 45), Par 240 (p. 48), and Par 241 (p. 50).

                                                                                   CPD completed extensive conversations and collaboration with the IMT and OAG regarding the BWC policies and received NOL from the IMT
                                                                                   05 Oct 2023 and a conditional NOL from the OAG 06 Oct 2023. CPD further received the IMT Proposed Resolution on 29 November 2023
                         p. 37 (IMR 9) p. 232                                      stating to implement the latest policy version regardless of the public safety question issue. Following this direction, CPD publicly posted
  236    Methodology     (IMR 8)                Under Assessment   Preliminary     S03-14 for public comments in December 2023 and finalized and published the policy to achieve preliminary compliance.



                                                                                   Inconsistent methodology as S03-14: Body Worn Camera (MONITOR1584) policy was submitted for preliminary compliance with this
                                                                                   paragraph and not granted, however it was awarded to Par 239 (p. 45), Par 240 (p. 48), and Par 241 (p. 50).

                                                                                   CPD completed extensive conversations and collaboration with the IMT and OAG regarding the BWC policies and received NOL from the IMT
                                                                                   05 Oct 2023 and a conditional NOL from the OAG 06 Oct 2023. CPD further received the IMT Proposed Resolution on 29 November 2023
                         p. 40 (IMR 9) p. 235                                      stating to implement the latest policy version regardless of the public safety question issue. Following this direction, CPD publicly posted
  237    Methodology     (IMR 8)                Under Assessment   Preliminary     S03-14 for public comments in December 2023 and finalized and published the policy to achieve preliminary compliance.



                                                                                   Inconsistent methodology as S03-14: Body Worn Camera (MONITOR1584) policy was submitted for preliminary compliance with this
                                                                                   paragraph and not granted, however it was awarded to Par 239 (p. 45), Par 240 (p. 48), and Par 241 (p. 50).

                                                                                   CPD completed extensive conversations and collaboration with the IMT and OAG regarding the BWC policies and received NOL from the IMT
                                                                                   05 Oct 2023 and a conditional NOL from the OAG 06 Oct 2023. CPD further received the IMT Proposed Resolution on 29 November 2023
                         p. 42 (IMR 9) p. 237                                      stating to implement the latest policy version regardless of the public safety question issue. Following this direction, CPD publicly posted
  238    Methodology     (IMR 8)                Under Assessment   Preliminary     S03-14 for public comments in December 2023 and finalized and published the policy to achieve preliminary compliance.
                                                                                        VI. RECRUITMENT, HIRING AND PROMOTION
Para                                            Compliance in IMR Compliance CPD
Number CPD Concern       Location in Report     9 Draft           is Seeking     CPD Comment

                                                                                   During the site visit on August 21, 2023, the City and CPD presented the procurement process it went through to select an Expert, in
                                                                                   compliance with IAP 07-02. At this same visit, the City and CPD declared its engagement with DCI Consulting as the Expert. On December 7,
                                                                                   2023, the City and CPD substantiated this procurement and documented compliance with its own policy via submission to the IMT under
                                                                                   (MONITOR00319708 – MONITOR00319737). This submission also included the slides presented on this very topic to the IMT and OAG on
         Factually                                                                 August 21, 2023. As Paragraph 261 requires an assessment to be done every three years and the first one was conducted in 2020, DCI
261      Inaccurate                             Secondary          Secondary       Consulting was procured to conduct an assessment in 2023. The City formally submitted the assessment on January 18, 2024

                                                                                   The City and CPD demonstrated that job descriptions and eligibility criteria are published internally and externally via MONITOR1839. Within
                                                                                   this folder are the job descriptions for Captain and Commander and the guides to how to access said job descriptions both internally within
         Factually                                                                 CPD and externally by the public (MONITOR00320054 - MONITOR00320085). These guides also remind the IMT and OAG of the letter
263      Inaccurate                             Preliminary        Secondary       submitted by Chief Novalez (MONITOR00305249) with the link to the external posting of the job description, at the beginning of IMR-9.
                                                                                                         VII. TRAINING
 Para                                           Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report        9 Draft         is Seeking                                                                    CPD Comment

         Needs           p. 3 (IMR 9) p. 145                       Secondary -     CPD had produced evidence of 95% completion of the required 40-hour curriculum formally at the beginning on 2024 as has historically been
  323    Clarification   (IMR 8)                Lost Secondary     Maintained      done and informally in December when 95% was achieved in all courses. Consequently, secondary compliance should be retained.
                                                                                                   VIII. SUPERVISION
 Para                                           Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report        9 Draft         is Seeking                                                                    CPD Comment
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                                                                                  All the paragraphs of the Supervision Section are not solely tied to the Unity of Command and Span of Control Program addressed and
                                                                                  specifically assessed through para. 357, 359-368. The requirements of the other paragraphs listed (348-355) outline supervision
         Needs                                                                    requirements for all supervisors, including ones assigned outside of the pilot districts and are reflected in Department policies and addressed
348-355 Clarification    p. 4-p. 29 (IMR 8)    Preliminary                        in pre-service and annual supervisory trainings.
                                                                                                   IX. OFFICER WELLNESS
 Para                                          Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report       9 Draft         is Seeking                                                                    CPD Comment
                                                                                  Should have preliminary compliance based on Item XI-A of E06-01; Professional Counseling Division. Item XI-A was drafted to address the
                                                                                  paragraph. This section codifies the requirement that the Director of the Professional Counseling Division provides annually a written report
                                                                                  to the Superintendent consistent with the methodology to have incorporated paragraph requirements into policy. The annual report will be
  389    Methodology     p. 25 (IMR 8)         No Compliance      Preliminary     produced this reporting period for secondary compliance.
         Needs
  391    Clarification   p. 30 (IMR 8)         Secondary          Full            CPD produced the EAP licensing renewal on 21 December 2023 to provide evidence…..
                                                                                  CPD produced the Weekly PCD Tracking Report for all of PCD services. CPD worked to develop a digital mechanism to provide this data to
                                                                                  the IMT as stated was required for secondary compliance in the IMR 8 report. It stated CPD had not provided data that reporting period and
                                                                                  the collection and providing of such data was needed to achieve secondary compliance. CPD provided the weekly reports to achieve
  394    Methodology     p. 37 (IMR 8)         Preliminary        Secondary       secondary compliance.
                                                                                  CPD produced the Weekly Chaplains Tracking Report as indicated as a requirement in the IMR 8 report to provide data reflecting the work of
  406    Methodology     p. 59 (IMR 8)         Secondary          Full            the Chaplains Unit. This data was provided and consequently should achieve full compliance.

                                                                                  CPD produced the 2023 Wellness In-Service Curriculum and 95% completion to achieve secondary compliance consistent with the training
                                                                                  methodology. The emotional resilience component was developed by C. Gabrielle Salfati, PhD, Investigative Psychology Research Unit, John
                                                                                  Jay College of Criminal Justice, CUNY, and also CPD partnered with Yoga for First Responders for the stress management training.
  412    Methodology     p.74 (IMR 8)          Preliminary        Secondary

                                                                                  CPD produced the 2023 Wellness In-Service Curriculum and 95% completion to achieve secondary compliance consistent with the training
                                                                                  methodology. The emotional resilience component was developed by C. Gabrielle Salfati, PhD, Investigative Psychology Research Unit, John
                                                                                  Jay College of Criminal Justice, CUNY, and also CPD partnered with Yoga for First Responders for the stress management training.
  413    Methodology     p. 76 (IMR 8)         Preliminary        Secondary
                                                                                  CPD produced the 2023 Wellness In-Service Curriculum and 95% completion to achieve secondary compliance consistent with the training
  414    Methodology     p. 78 (IMR 8)         Preliminary        Secondary       methodology.
                                                                                                 X. ACCOUNTABILITY

 Para                                          Compliance in IMR Compliance CPD
Number CPD Concern        Location in Report       9 Draft         is Seeking                                                                   CPD Comment
         Needs                                                                    CPD produced the BIA Audit of Investigative Timeframes for full compliance and appreciates greater feedback regarding the review of this
  446    Clarification   p. 83 (IMR 8)         Secondary          Full            material

                                                                                  On page 66 of the appendix, the status for paragraph 469 for CPD is Secondary. On page 68, the paragraph status says Preliminary. BIA
  469    Typo            p. 66-68                                  Secondrary
                                               Preliminary/Secondary              believes the status should be Secondary for this paragraph and was an error on page 68 of the report. (Pg. 68 should match pg. 66.)
         Needs                                                                    CPD produced the BIA Audit of Investigative Timeframes for full compliance and appreciates greater feedback regarding the review of this
  498    Clarification   p. 11 (IMR 8)         Secondary          Full            material
         Needs           p. 103 ( IMR 9) p. 18                                    CPD produced the BIA Audit of Investigative Timeframes for full compliance and appreciates greater feedback regarding the review of this
  500    Clarification   (IMR 8)               Secondary          Full            material
                         p. 130 (IMR 9) p. 85                                     CPD reopened G08-01 Complaint and Disciplinary Systems to ensure the requirements of this paragraph were codified consistent with the
  521    Methodology     (IMR 8)               No Compliance      Preliminary     methodology for achieving preliminary compliance.
                                                                                  CPD reopened G08-01 Complaint and Disciplinary Systems to ensure the requirements of this paragraph were codified consistent with the
  528    Methodology     p. 113 (IMR 8)        No Compliance      Preliminary     methodology for achieving preliminary compliance.

                                                                                  CPD reopened G08-01 Complaint and Disciplinary Systems to ensure the requirements of this paragraph were codified consistent with the
                                                                                  methodology for achieving preliminary compliance.

  529    Methodology     p. 119 (IMR 8)        No Compliance      Preliminary     CPD produced BIA Quarter 2 Report that includes data reflecting investigations conducted by the districts to achieve secondary compliance.
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                                                                                  CPD reopened G08-01 Complaint and Disciplinary Systems to ensure the requirements of this paragraph were codified consistent with the
  530    Methodology     p. 123 (IMR 8)        No Compliance    Preliminary       methodology for achieving preliminary compliance.

                                                                                  The "missed" box is checked and that is not accurate. CPD made timely productions of quarterly and annual reports. This should reflect
                                                                                  "Met."
         Needs
  551    Clarification   p. 54 (IMR 8)         Secondary        Secondary         CPD produced BIA Quarter 2 Report that includes data reflecting investigations conducted by the districts to achieve secondary compliance.
                                                                                                      XI. DATA
 Para                                          Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report       9 Draft         is Seeking                                                                    CPD Comment

                                                                                  CPD has submitted the FRB PPT Template – Critical Review of Incidents (MONITOR1787). This production demonstrates CPD is consistent
                                                                                  with their critical incident reviews and can conduct a decision-point analysis to enhance the Department. · CPD has submitted a response to
                                                                                  RFI IMT 435 (MONITOR1760) which includes a breakdown of all FRB findings from the eighth reporting period and status of
                                                                                  recommendations. This submission indicates policy and training are implemented department-wide and organizational change is taking
                                                                                  place. · The above productions should be sufficient to demonstrate CPD has achieved full compliance.

                                                                                  CPD produced the new template for the critical review of incidents as it was indicated in the IMR 8 report that the FRB must consistently
                                                                                  engage in a critical review of the incidents and make decision-point analysis that enhances CPD and is consistent with the TRED FRB SOP.
  577    Methodology     p. 26 (IMR 8)         Secondary        Full              FRB implemented this template in IMT 9 and continued its use presently.
                                                                                  CPD produced the new template for the critical review of incidents as it was indicated in the IMR 8 report that the FRB must consistently
                                                                                  engage in a critical review of the incidents and make decision-point analysis that enhances CPD and is consistent with the TRED FRB SOP.
  578    Methodology     p. 29 (IMR 8)         Secondary        Full              FRB implemented this template in IMT 9 and continued its use presently.
                                                                                  CPD produced the new template for the critical review of incidents as it was indicated in the IMR 8 report that the FRB must consistently
                                                                                  engage in a critical review of the incidents and make decision-point analysis that enhances CPD and is consistent with the TRED FRB SOP.
  580    Methodology     p. 34 (IMR 8)         Secondary        Full              FRB implemented this template in IMT 9 and continued its use presently.
                                                                                                           XVI. ISR
 Para                                          Compliance in IMR Compliance CPD
Number    CPD Concern     Location in Report       9 Draft         is Seeking                                                                    CPD Comment

                                                                                  ISR-A's programming logic did not allow the ISR-A application to calculate the 5% · When the result of the daily hand tabulation was .5 or
                                                                                  higher, the reviewer rounded up to the next whole number, resulting in 4ASRU conducting 1,396 reviews · As of 25 March 2024, 500 (96%) of
         Needs                                                                    the 521 registered author/approver have completed the e-Learning. · As of 25 March 2024, 21 (4%) follow-up emails were sent to the
854      Clarification   1                     Secondary                          affected author/approver (emails CC to Unit Commander and Unit Admin) who have not completed the e-Learning.

                                                                                  ISR-A's programming logic did not allow the ISR-A application to calculate the 5% · When the result of the daily hand tabulation was .5 or
                                                                                  higher, the reviewer rounded up to the next whole number, resulting in 4ASRU conducting 1,396 reviews · As of 25 March 2024, 500 (96%) of
         Needs                                                                    the 521 registered author/approver have completed the e-Learning. · As of 25 March 2024, 21 (4%) follow-up emails were sent to the
855      Clarification   1                     Secondary                          affected author/approver (emails CC to Unit Commander and Unit Admin) who have not completed the e-Learning.
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